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                                                                                                                          review articles

violations in other places and times on                                                    are moving to be encrypted from end to
the network or may belong to commu-                                                        end. Consequently, since the content
nities prone to creating or even coordi-                                                   of the messages is no longer visible to
nating violating content.                                                                  the service provider, any analysis for
    Techniques for analyzing network
behaviors are based on graph repre-                   Advances in                          integrity violations would need to be
                                                                                           performed on the device itself. The ma-
sentations of the social network. The
nodes in the graph correspond to us-
                                                      computer vision                      chine learning model that is used for
                                                                                           the inference would need to be trained
ers and to content, and the edges rep-                have pushed the                      offline on publicly available datasets
resent behavior in response to posts
(for example, share, comments, re-
                                                      state of the art in                  and then shipped to devices. On-device
                                                                                           inference is limited by the memory and
actions) and relationships between                    supervised learning                  processing power of the device as well
pairs of actors on the network. Some
of the most effective works have con-
                                                      to a point where                     as potentially having an adverse effect
                                                                                           on its battery life. On-device inference
sidered automatically extracting user                 it is feasible to do                 also poses a challenge to measure-
embeddings, by running graph learn-
ing algorithms such as Node2Vec9 on                   image and video                      ment—the effectiveness of a model
                                                                                           trained offline and shipped to clients
those networks. Those embeddings                      understanding                        will typically degrade over time, and if
are then used in downstream tasks
such as that of detecting misinforma-                 with a high degree                   its performance cannot be measured
                                                                                           it would be difficult to know when it
tion or abusive language detection22,38
or hate speech. In a system that was
                                                      of accuracy.                         needs to be fixed.
                                                                                               External knowledge can be extremely
used in practice in several integrity                                                      useful for detecting violations. As a simple
tasks at Facebook, Noorshams et al.24                                                      example, in the context of misinforma-
built a model that enriches the user                                                       tion, a system can try to decide whether
embeddings with a temporal model                                                           a claim being made in a post is similar
of reactions to a post.                                                                    to one that has already been validated
    Coordinated action. Coordinated                                                        or debunked. Building on this idea,
actions among multiple actors have                                                         we believe that an interesting avenue
become a common strategy to pro-                                                           for research is to endow integrity al-
mote integrity violating content with                                                      gorithms with broader knowledge
possibly severe consequences. Coor-                                                        about the real world and its subtle-
dinated behaviors refer to sets of ac-                                                     ties. Indeed, deciding whether a post
tors that to either try to ensure a post                                                   is violating often requires knowledge
gets wider distribution and appears                                                        about current events, long-standing
more authoritative. For example, ac-                                                       conflicts and troubled relationships
tors may band together to spread                                                           in the world and sensitivities of cer-
misinformation that election polling                                                       tain populations.
locations have closed earlier to pre-                                                          Management of human content re-
vent people from voting. Often, these                                                      view workforce. One of the critical steps
coordinated actions are achieved                                                           in enforcing integrity is inspection
through social bots.2,32,37 Pacheco et                                                     of content by human content review-
al.26 describe one method for exploit-                                                     ers who recognize violations. These
ing the network structure to uncover                                                       reviewers receive content from either
coordinated activities within a social                                                     the enforcement systems or from us-
network, that is based on the surpris-                                                     ers reporting violations, and the labels
ing lack of independence of actions by                                                     they produce are crucial to training the
users and exploiting this analysis to                                                      machine learning models that are used
cluster together users that are likely to                                                  by the enforcement systems. In paral-
coordinate against some targets.                                                           lel, there is a set of content reviewers
                                                                                           who work for third-party organizations
Emerging Topics and Challenges                                                             and fact-check content suspected to be
Here, we briefly touch upon several                                                        misinformation.
emerging challenges.d                                                                          One challenge with operating such
   Integrity while maintaining privacy.                                                    a workforce is the high volume of con-
In response to user sentiment about                                                        tent that needs to pass their judgment.
privacy, most messaging applications                                                       In addition, we need to be able to adapt
                                                                                           and respond to scenarios when there is
d In Figure 2, the image on the left is fried broc-                                        a sudden drop in workforce availability,
  coli and the image on the right is marijuana.                                            as has happened during the COVID-19

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Executive
                                         T
                                                he internet is the primary source of information, economic
                                                opportunity, and community for many around the world.

Summary                                         However, the automated systems that increasingly mediate our
                                                interactions online — such as chatbots, content moderation
                                         systems, and search engines — are primarily designed for and work far
                                         more effectively in English than in the world’s other 7,000 languages.

                                         In recent years, large language models have become the dominant
                                         approach for building AI systems to analyze and generate language
                                         online, but again, they have been built primarily for the English
                                         language. A large language model (e.g., Open AI’s GPT-4, Meta’s
                                         LLaMa, Google’s PaLM) is a machine learning algorithm that scans
                                         enormous volumes of text to learn which words and sentences
                                         frequently appear near one another and in what context. Large language
                                         models can be adapted to perform a wide range of tasks across different
                                         domains. They are most known for being used to build chatbots,
                                         such as ChatGPT, but researchers and technology companies also
                                         use them for content analysis tasks, such as sentiment analysis, text
                                         summarization, and hate speech detection. Google, Meta, Microsoft,
                                         and other companies have already incorporated large language models
                                         into their core product functions, such as content moderation and
                                         search. Other vendors soon may incorporate them into automated
                                         decision-making systems, such as resume scanners.

                                         Recently though, researchers and technology companies have attempted
                                         to extend the capabilities of large language models into languages other
                                         than English by building what are called multilingual language models.
                                         Instead of being trained on text from only one language, multilingual
                                         language models are trained on text from dozens or hundreds of
                                         languages at once. Researchers posit that multilingual language models
                                         infer connections between languages, allowing them to apply word
                                         associations and underlying grammatical rules learned from languages
                                         with more text data available to train on (in particular English) to
                                         those with less. In some applications, multilingual language models
                                         outperform models trained on only one language — for instance, a
                                         model trained on lots of text from lots of languages, including Hindi,
                                         might perform better in Hindi contexts than a model just trained on
                                         Hindi text.

                                         Multilingual language models give technology companies a way to scale
                                         their AI systems to many languages at once, and some have already
                                         begun to integrate them into their products. Online service providers
                                         in particular have deployed multilingual language models to moderate




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                   content: Meta uses a multilingual language model to detect harmful content on its
                   platforms in over 100 languages; Alphabet’s Perspective API uses one to detect toxic
                   content in eighteen different languages; Bumble uses one to detect and take action on
                   unwanted sexual messages around the world.

                   Multilingual language models allow technologists to attempt to build models in languages
                   for which they otherwise might not have enough digitized text. Languages vary widely
                   in resourcedness, or the volume, quality, and diversity of text data they have available to
                   train language models on. English is the highest resourced language by multiple orders of
                   magnitude, but Spanish, Chinese, German, and a handful of other languages are sufficiently
                   high resource enough to build language models in. Medium resource languages, with fewer
                   but still high-quality data sets, such as Russian, Hebrew, and Vietnamese, and low resource
                   languages, with almost no training data sets, such as Amharic, Cherokee, and Haitian
                   Creole, have too little text for training their own large language models. Language data in
                   low resource languages is also often of particularly poor quality: either it is mistranslated or
                   even nonsensical language scraped from the internet, or is limited to sources with narrow
                   domains, such as religious texts and Wikipedia. This gap in data availability between
                   languages is known as the resourcedness gap.

                   Multilingual language models are designed to address these gaps in data availability by
                   inferring semantic and grammatical connections between higher- and lower-resource
                   languages, allowing the former to bootstrap the latter. However, this architecture
                   raises its own concerns. Multilingual language models are still usually trained
                   disproportionately on English language text and thus end up transferring values and
                   assumptions encoded in English into other language contexts where they may not
                   belong. For example, a multilingual model might associate the word “dove” in all
                   languages with “peace” even though the Basque word for dove (“uso”) can be an insult.
                   The disparity in available data also means multilingual language models work far better
                   in higher resource languages and languages similar to them than lower resource ones.
                   Model developers will sometimes try to fill in these gaps with machine-translated text,
                   but translation errors may further compound language misrepresentation. And when
                   multilingual language models do fail, their unintuitive connections between languages
                   can make those problems harder to identify, diagnose, and fix.

                   Large language models’ general use in content analysis raises further concerns.
                   Computational linguists argue that large language models are limited in their capacity
                   to analyze forms of expression not included in their training data, meaning they may
                   struggle to perform in new contexts. They may also reproduce any biases present in
                   their training data. Often, this text is scraped from the internet, meaning that large
                   language models may encode and reinforce dominant views expressed online.




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Executive Summary                                                                                                               7



                                      ​​ ompanies, researchers, and governments each have a role to play in protecting the
                                      C
                                      public from the potential dangers of multilingual language model content analysis
                                      systems. To ensure better public accountability, companies that deploy large language
                                      models should always be transparent about how they use them and in which languages.
                                      Companies should deploy language models with narrow remits and adequate channels
                                      for human review.

                                      Researchers and research funders meanwhile should invest in efforts to improve the
                                      use and performance of language models in languages other than English, in particular,
                                      to reduce failures that disparately impact speakers of lower-resourced languages. The
                                      best way to do this is by supporting language-specific research communities, who can
                                      promote the virtuous cycle of collecting data, curating datasets, training language
                                      models, publishing, and building applications. Local language speakers and context
                                      experts need to be part of each step of this process and also be curating the data and
                                      assessing the language models deployed by large, global online services.

                                      Finally, governments need to be careful about how they use or encourage the use of
                                      large language models. Large language models should never power systems used to make
                                      high-stakes decisions without oversight, such as decisions about immigration status or
                                      healthcare, nor should governments mandate or inadvertently require by law the use of
                                      large language model-powered systems to moderate content from online services. Instead,
                                      governments should convene different stakeholders to align on what norms and guardrails
                                      should be around developing and deploying large language models.

                                      Large language models in general and multilingual language models in particular
                                      have the potential to create new economic opportunities and improve the web for
                                      all. However, mis- or over-application of these technologies poses real threats to
                                      individuals’ rights, such as undermining their right to free expression by inaccurately
                                      taking down a person’s post on social media or their right to be free of discrimination
                                      by misinterpreting an individual’s job or visa application. Multilingual language
                                      models specifically can inadvertently further entrench the Anglocentrism they are
                                      intended to address. In light of these limitations, technology companies, researchers,
                                      and governments must consider potential human and civil rights risks when studying,
                                      procuring, developing, or using multilingual language models to power systems, in
                                      particular when they are used to make critical information available or play a role
                                      in decisions affecting people’s access to economic opportunities, liberty, or other
                                      important interests or rights.




Large Language Models in Non-English Content Analysis
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Introduction
                                D
                                          espite the modern internet’s power to mobilize and connect
                                          people around the world, the web still does not reflect the
                                          linguistic diversity of its users. In particular, the automated
                                          systems that increasingly mediate our interactions online —
                                 such as chatbots, search engines, and content moderation systems —
                                 are built using and perform far better on English-language text than
                                 the world’s other 7,000 languages (Kornai, 2013; Sengupta, 2022).
                                 Individuals speaking languages other than English face barriers to
                                 expressing themselves freely online and may face greater challenges
                                 when it comes to accessing critical information, public services, and
                                 even asylum and safety (Torbati, 2019).

                                 In the last few years, however, there have been rapid advancements in
                                 developing machine learning tools that can analyze content in a wide
                                 variety of languages and across different domains. Large language
                                 models, machine learning tools trained on enormous amounts of text
                                 to recognize patterns in language, power many of these systems. Large
                                 language models already underlie translation apps, search autocomplete,
                                 and chatbots such as ChatGPT. They are known for being adaptable to
                                 many different language tasks, and today, researchers and technologists
                                 are constantly on the lookout for new applications and contexts
                                 in which to deploy them. Since the late 2010s, major U.S.-based
                                 technology companies have mostly invested in building large language
                                 models that work primarily for English, such as Open AI’s GPT-4,
                                 Meta’s LLaMa, and Google’s PaLM.

                                 Recently, companies and researchers have begun building and researching
                                 multilingual language models, large language models trained on text
                                 data from several different languages at once. Meta’s XLM-RoBERTa
                                 (XLM-R) for instance is trained on text from 100 languages (Meta AI,
                                 2019) at once. Google’s mBERT, a multilingual version of its popular
                                 BERT model, is trained on 104 languages. Researchers claim that these
                                 models extend the multifaceted capabilities of large language models to
                                 languages other than English, even to languages for which there is little or
                                 no text data for the model to learn from (Artetxe & Schwenk, 2019; Wu
                                 & Dredze, 2019).

                                 Technology companies have their own interests in improving how
                                 well large language models work in different languages. Some may
                                 want to make their products available in multiple languages to gain a
                                 competitive edge in emerging and populous markets. Online services




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                                      that host user-generated content may especially be interested in using multilingual
                                      language models to detect and take action on hate speech, disinformation, and other
                                      content that violates their policies or the law (Dulhanty et al., 2019). This is top of
                                      mind for services after facing criticism for not taking more aggressive action against
                                      content that incited violence and genocide in Ethiopia, Nigeria, and Myanmar, among
                                      others. Services have begun to deploy multilingual language models into their content
                                      moderation systems: Meta claims their XLM-R model can detect harmful content
                                      in all 100 languages it is trained on (Meta AI, 2021); Alphabet’s Perspective API uses
                                      a large language model to detect toxic content in eighteen different languages (Lees
                                      et al., 2022); Bumble uses one to detect rude and abusive messages in at least fifteen
                                      languages (Belloni, 2021). Technology companies are also repurposing these models to
                                      make health care information available and soon may reach into other domains as well
                                      (Lunden, 2023).

                                      In the future, governments could also seek to use automated systems built using
                                      large language models to make information available, answer questions in languages
                                      spoken by their constituents (in the form of chatbots), or, more dangerously, analyze
                                      information to make critical decisions such as benefits allocation or refugee status
                                      determinations (Kinchin & Mougouei, 2022).

                                      Still, studies show that even multilingual language models struggle to deal with the
                                      wide disparities between different languages in how much text data they have available
                                      to train and test language models. English has, by multiple orders of magnitude, more
                                      text data available than any other language and commands most of the attention of the
                                      natural language processing research community. The abundance of English language
                                      data stems from its position as the official or de facto language of international business,
                                      politics, and media, itself a legacy of British colonialism and American neocolonialism
                                      and the subsequent erasure of regional and indigenous languages. American technology
                                      companies have further entrenched English as the predominant language of the internet
                                      by rolling out early standards, coding languages, and social media platforms in English
                                      long before other languages.

                                      The hegemony of English data means that most large language models, even
                                      multilingual ones, are built predominantly using Standard English language text and
                                      work best in Standard English language contexts. Spanish, Chinese, Arabic, and a few
                                      other “high resource” languages also have significant amounts of text data available, but
                                      many “medium resource” languages, such as Hindi and Portuguese, and “low resource”
                                      languages, such as Haitian Creole and Swahili, have hardly any data available at all, and
                                      multilingual language models perform much worse in those languages. This skewed
                                      emphasis fails to reflect the diversity of languages spoken by the world’s internet users
                                      and further perpetuates the dominance of the English language.




Large Language Models in Non-English Content Analysis
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                    Despite being deployed in real-world systems, multilingual language models have largely
                    been absent from public discourse, particularly about digital rights and public policy,
                    and have instead been relegated to computer science academia and tech company public
                    relations. This paper seeks to address this gap by offering several resources to bolster
                    policy discussions. Part I provides a simple technical explanation of how large language
                    models work in general, why there is a gap in available data between English and other
                    languages, and how multilingual language models attempt to bridge that gap. Part II
                    accounts for the challenges of doing content analysis with large language models in
                    general and multilingual language models in particular, namely:
                    1. Multilingual language models often rely on machine-translated text that can
                       contain errors or terms native language speakers don’t actually use.
                    2. When multilingual language models fail, their problems are hard to identify,
                       diagnose, and fix.
                    3. Multilingual language models do not and cannot work equally well in all languages.
                    4. Multilingual language models fail to account for the contexts of local language
                       speakers.

                    Finally, Part III provides recommendations for companies, researchers, and
                    policymakers to keep in mind when considering studying, developing, and deploying
                    large and multilingual language models to do content analysis. These recommendations
                    offer guidance concerning when large language models should or should not be
                    deployed, how to improve their performance in non-English languages, and how to
                    ensure better accountability and transparency to local language stakeholders.

                    Before proceeding, two notes on the terminology used in this primer. First, this paper
                    focuses specifically on one category of applications for large language models: content
                    analysis, or, the inference and extraction of information, themes, and concepts from
                    text. The Center for Democracy & Technology (CDT) has written many times about
                    the limitations of automated content analysis systems (Duarte et al., 2017; Shenkman
                    et al., 2021) and the civil liberty risks they can pose, particularly in areas such as content
                    moderation, student activity monitoring, hiring and more (Grant-Chapman et al.,
                    2021; Nicholas, 2022; Vallee & Duarte, 2019). Large language models are already deeply
                    integrated into many of these technical systems, particularly content moderation, and will
                    soon become part of many more. Public discourse about large language models has so far
                    disproportionately focused on text generation, an important area but not the only one.
                    Many of the shortcomings of large language models presented in this report also apply
                    to text generation. As such, this report can be read as a primer on some of the limits of
                    generative AI systems as well. However, we choose to focus on content analysis for this
                    report because of the potential dangers associated with using these models to host and
                    make information available and the impacts on free expression rights.




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                                      Second, this paper focuses on how multilingual language models perform in languages
                                      other than English. We use the shorthand of “non-English languages” for easy reading
                                      and because it is the terminology used in the machine learning and policy literature.
                                      We recognize the irony that this term centers the English language and misleadingly
                                      implies all other languages are a monolith. Where possible, we elaborate upon the types
                                      of languages we are writing about and make distinct references to specific languages and
                                      cultural contexts that will elude models trained primarily in English. In some instances,
                                      we think the term “non-English” captures the sheer Anglocentrism of many of these
                                      models well by articulating the limited scope in which they are trained and tested.




Large Language Models in Non-English Content Analysis




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I. Background                     A. How Large Language Models Work

                                  Natural language processing (NLP) is a subfield of artificial intelligence
                                  and linguistics concerned with building computer systems that can
                                  process and analyze language. NLP underlies many technologies we
                                  encounter every day — spellcheck, voice assistants like Siri or Alexa,
                                  resume scanners, language translators, and automated hate speech
                                  detection tools, to name a few. Until only a few years ago, when
                                  technologists wanted to teach a computer to perform a given NLP task,
                                  they would build a system specifically tailored to that task. To create a
                                  spam detection system for instance, a technologist might gather many
                                  emails, mark which ones are and are not spam, use some of those emails to
                                  train an algorithm and use others to test how well that algorithm works.

                                  Today though, the field has fundamentally reoriented itself around
                                  repurposing large language models to solve nearly every problem.
                                  A language model is a mathematical function trained to solve a text
                                  prediction task like the following, “Given a sequence of words, predict
                                  what word will likely come next.” For example, a language model might be
                                  given the phrase “I was a bad student, I used to skip ____,” and generate
                                  as an output that there is a high percent chance the missing word is
                                  “class,” a low percent it is “rope,” and a near zero percent it is “clamoring.”

                                  The distribution of language that the model learns in the process can
                                  easily be repurposed to many different language tasks. The most often
                                  discussed application is text generation: conversational agents like
                                  ChatGPT can repurpose this text prediction task to answer questions,
                                  summarize text, and generate overall “human”-sounding speech.
                                  However, chatbots are just one application of large language models.
                                  Once a large language model is built, it can be further trained on a
                                  smaller dataset to improve its performance in a specific task, a process
                                  called fine-tuning. Today, for example, a developer building a spam
                                  detection system might take a general large language model already
                                  built by someone else — say Google’s BERT — and fine-tune it to the
                                  specific task of spam detection using a handful of emails already labeled
                                  spam or not spam. By building it on top of a language model, the spam
                                  detection system will do a better job of detecting spam that doesn’t
                                  perfectly match the language available in the email dataset.

                                  Language models are not new. Computational linguists have used
                                  statistical models to try to infer rules about language since the 1980s
                                  (Nadkarni et al., 2011) and have used “neural networks” (an algorithm
                                  loosely modeled on how neurons connect in the brain) to do so since
                                  the early 2010s (Mikolov et al., 2013). What is new though is their


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I. Background                                                                                                                    13



                                      largeness. Early language models could not be trained on as much data, since they had
                                      to read text in sequence, a process that could not be sped up by using more computing
                                      power. These early language models struggled to analyze words within the broader
                                      context of a sentence or document: for instance, one fine-tuned to detect suicidal
                                      ideation might have difficulty distinguishing between expressions of self-harm (“I
                                      just wish I was dead”) and humor (“omg I’m dead”). But in 2017, Google researchers
                                      released a paper on a new architecture called transformers, which allowed language
                                      models to train on lots of data at the same time, in parallel rather than in sequence
                                      (Vaswani et al., 2017). These transformer-based language models could ingest so much
                                      data simultaneously that they could learn associations between entire sequences of
                                      words, not just individual words. Instead of being shown just {“dead”}, the model
                                      would see a word in its entire context, {“dead”, [“omg”, “I’m”, “_____”]}, thus creating
                                      a much richer representation of language. Today, the only limit on the size of a language
                                      model — how much data it ingests and how many connections it makes between
                                      different sequences of words (i.e. parameters) — is how much data one can find and
                                      how much developers are willing to spend on processing power.

                                      The output a language model produces is called a representation space, a map of the
                                      sequences of words that commonly appear near one another in the training text. For
                                      example, the phrases “It’s so cold outside!” and “I better wear a jacket” may be near one
                                      another in a language model’s representation space, since those sentences often appear
                                      close to one another in writing. This kind of proximity can lead to language models
                                      inferring patterns within language that can then help them conduct tasks that it is not
                                      explicitly trained in. In this case, sentences about cold weather being mapped near each
                                      other mean the large language model could be trained to detect whether a given phrase
                                      is about temperature.

                                      With enough data, a large language model may have such a rich and multifaceted
                                      representation of a language that it can learn to do new tasks with only a few, or even
                                      zero examples to fine-tune on. For instance, the spam detection system described earlier
                                      could be built with little to no spam to fine-tune on. This capability is called “few-shot”
                                      or “zero-shot learning” and is one of the greatest promises of large language models, so
                                      much so that the original GPT-3 white paper is entitled “Language Models are Few-
                                      Shot Learners” (Brown et al., 2020).

                                      Importantly though, large language models only learn the distribution of language, not
                                      its meaning (Bender & Koller, 2020). In the previous “cold” example, the model has not
                                      learned that when one is cold, one puts on a jacket or anything about the deeper meanings
                                      of “cold” and “jacket,” only that the words often appear near one another. If one of the
                                      documents a large language model trains on is a humorous blogpost about the best shorts
                                      to wear in cold temperatures, the model could just as easily learn that “shorts” and “cold”
                                      are related. Similarly, if a model is trained only on very formal language data, it may never
                                      learn that “nippy” or “brick” (New York City slang) can refer to cold as well.




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I. Background                                                                                                                     15



                                      Models are expensive to initially train, but once built, their representations are relatively
                                      cheap to use and be fine-tuned for different tasks. Thus, many technologists simply
                                      use pretrained large language models built by others (usually large companies, with the
                                      expertise and resources) instead of paying to create their own. The few big pretrained
                                      models that exist have thus become a sort of infrastructure, known as “foundation
                                      models” (Bommasani et al., 2021). This gives many technologists access to the state of
                                      the art capabilities, but it also creates a single point of failure for the sector as a whole:
                                      if a foundation model has a problem, it will persist across many applications. And these
                                      models are so large and complicated that even when they are open source, researchers
                                      cannot understand the underlying logic they use to come up with individual decisions.

                                      Many of the largest and most advanced of these foundation models — such as
                                      OpenAI’s GPT-4, Google’s PaLM, and Meta’s LLaMa — are trained primarily on
                                      English language data. In the next section, we explore one reason why that may be: the
                                      resourcedness gap.


                                      B. The Resourcedness Gap: Why the Largest
                                      Language Models are in English

                                      English is the closest thing there is to a global lingua franca. It is the dominant language
                                      in science, popular culture, higher education, international politics, and global
                                      capitalism; it has the most total speakers and the third-most first-language speakers
                                      (Ethnologue, 2023b). It is the primary language spoken on the internet, accounting
                                      for 63.7% of websites, despite being spoken by only 16% of the world’s population
                                      (Richter, n.d.). This dominance does not stem from any sort of inherent linguistic
                                      superiority: rather it is the colonial and neocolonial legacy of nearly three hundred
                                      years of the preeminent global superpower speaking English — first Great Britain,
                                      then the United States. The British government prioritized the English language
                                      through official language policies to facilitate trade and in an attempt to “modernize”
                                      its colonies, and as British, and later American trade became globally dominant, so too
                                      did English (Corradi, 2017; Phillipson, 1992). Prioritization of the English language
                                      came at the expense of other regional and indigenous languages and accelerated
                                      language endangerment and economic marginalization, which still impedes digital
                                      investment into these languages worldwide (Rowe, 2022; S. Zhang et al., 2022).
                                      American companies continue to perpetuate the dominance of the English language in
                                      a new more insidious form, by making online services available to global users without
                                      comparable investment into the languages they speak (Amrute et al., 2022; Kupfer &
                                      Muyumba, 2022).




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                    As a result of these forces, English also dominates the field of natural language
                    processing, and there is vastly more raw text data available in English than in any other
                    language by orders of magnitude (Joshi et al., 2020). English has the most digitized
                    books and patents, the largest Wikipedia, and the biggest internet presence. English is
                    also by far the language paid the most attention by the global NLP research community.
                    It is so hegemonic within the field that NLP papers about the English language
                    typically do not even mention the language in the title or abstract (Bender, 2019). As
                    Figure 2 shows, even among NLP papers that do mention a language in the abstract,
                    English is mentioned over ten times as often as the next most mentioned language,
                    German (ACL Rolling Review Dashboard, 2022).

                    This wealth of data and research makes it significantly easier to build large language
                    models in English than in any other language. More raw text data, also known as
                    unlabeled data, means more data for the model to be trained on; more research means
                    that there are more datasets annotated with information, also known as labeled data,
                    that can be used to test how well models complete different types of language tasks.
                    This creates a virtuous cycle for English-language NLP — more labeled and unlabeled
                    data leads to more research attention, which leads to increased demand for labeled and
                    unlabeled data, and so on.

                    English is the prime example of a high resource language, a language for which a lot of
                    high-quality data resources exist. Though it has the most data available of any language
                    (English could be called an “extremely” high resource language), there are six other
                    languages that could be considered high resource — the official UN languages list,
                    minus Russian, plus Japanese (see Table 1). There are also a few dozen medium resource
                    languages, such as Urdu, Italian, and Tagalog, with another one or two orders of
                    magnitude less data, or about one hundredth or one-thousandth of available English data.
                    The rest of the world’s 6,000 plus languages can be considered low resource or extremely
                    low resource, with only small amounts of written text available (Joshi et al., 2020).

                    Resourcedness can vary within languages as well. Languages such as Arabic and Spanish
                    differ so much between dialects that many are mutually incomprehensible, even if
                    they mostly use the same written form. Languages can also have different sociolects,
                    varying across different social groups, identity groups, and contexts (e.g. formal versus
                    informal). Regional dialects and sociolects can vary in degrees of difference from
                    having different vocabulary and grammatical structures (e.g. Australian English or
                    African American English versus Standard American English) to make extensive use of
                    borrowed words from other languages (e.g. Nigerian English, Indian English), to fully
                    hybrid bilingual dialects (e.g. Spanglish, Hinglish). However, the available digitized
                    text of language often doesn’t reflect the full spectrum of variation that exists within a
                    language. (Bergman & Diab, 2022). Data scraped from the internet in particular over-
                    indexes Standard English spoken by younger people in developed countries (Luccioni
                    & Viviano, 2021). Other languages have just as much dialectical diversity as English and
                    also likely over-index on certain dialects.



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I. Background                                                                                                                   19



                                      Many scholars have worked to try to close this resourcedness gap between high and low
                                      resource languages. Individual NLP communities have formed around many languages in
                                      order to kickstart and perpetuate the virtuous cycle of research attention and benchmark
                                      development, including collectives such as IndoNLP for languages spoken in Indonesia
                                      and Masakhane for African languages (Cahyawijaya et al., 2022; Nekoto et al., 2020; Orife
                                      et al., 2020), and conferences such as the Association for Computational Linguistics’
                                      low resource language track, and AmericasNLP for indigenous languages (ACL, 2021;
                                      AmericasNLP, 2022; Masakhane, n.d.). Tech companies have also sought to expand the
                                      number of language models their models work in, in part by creating more data sets,
                                      including with projects like Facebook’s No Language Left Behind project and Google’s
                                      1000 Languages Initiative (NLLB Team et al., 2022; Vincent, 2022). DARPA even
                                      funded the Low Resource Languages for Emergent Incidents (LORELEI) program in
                                      2014 to improve translation about emergency incidents into low resource languages
                                      (Corvey, 2014). But the gaps between English, other high resource languages, and low
                                      resource languages remain large and are growing exponentially greater by the day, at least
                                      in terms of available, raw digitized data.

                                      The response by the NLP community has not just been to collect more language
                                      data but also to employ technical tricks to help language models squeeze the most
                                      performance out of the little data they have. In the next section, we discuss the primary
                                      technical architecture developers use to do this: multilingual language models.


                                      C. Multilingual Language Models: Efforts to
                                      Bridge the Resourcedness Gap

                                      In English, most large language models are monolingual, meaning that they train mostly
                                      on data from one language. Researchers have also built monolingual models in non-
                                      English languages: for instance, the architecture for Google’s BERT model — one of
                                      the most popular and cheapest to train — has been utilized for French (CamemBERT),
                                      Italian (AlBERTo), Arabic (AraBERT), Dutch (BERTje), Basque (BERTeus), Maltese
                                      (BERTu), and Swahili (SwahBERT), to name a few (Agerri et al., 2020; Antoun et al.,
                                      2020; de Vries et al., 2019; G. Martin et al., 2022; L. Martin et al., 2020; Micallef et al.,
                                      2022; Polignano et al., 2019). However, in general, these monolingual models perform
                                      worse in their respective languages than the best English models do in English because
                                      they don’t have as much data to train on.

                                      This lack of data manifests in different ways depending on the specific task a model is
                                      fine-tuned to perform. Some language model capabilities — usually ones that depend
                                      on fact retrieval — improve linearly with size. For instance, the more data a language
                                      model is exposed to, the better it is at answering trivia questions or reformatting
                                      data (Srivastava et al., 2022). Other capabilities — usually ones with multiple steps




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                     or components — exhibit a “breakthrough” behavior, where once a model reaches a
                     certain size, it improves sharply at the task. For instance, language models typically are
                     unable to write code or add three digit numbers until they train on a certain amount
                     of data, at which point their performance improves dramatically (Ganguli et al., 2022).
                     Low and extremely low resource languages often do not have enough data to train a
                     large language model at all, but medium and even high resource languages may not
                     have the hundreds of millions, or billions of words of text data necessary to achieve the
                     breakthroughs that English can (Y. Zhang et al., 2021).

                     Besides technical limitations, companies may not be interested in deploying a different
                     monolingual model for every language their product is available in for business reasons
                     as well. Maintaining and debugging one large language model for each language
                     introduces costs that scale per language introduced, introducing complexity and
                     additional overhead costs. Companies that seek to expand into new global markets
                     will likely try to keep their costs fixed by reusing as much infrastructure as possible,
                     including language models.

                     Therefore, instead of using monolingual models to do NLP tasks in non-English
                     languages, researchers and developers most often use multilingual language models,
                     such as Google’s mBERT and Meta’s XLM-R, which are trained on texts from
                     many different languages at once. Like their monolingual counterparts, multilingual
                     language models are trained on a fill-in-the-blank task. However, by training on text
                     from several different languages, multilingual language models can, at least in theory,
                     infer connections between languages, acting as a sort of bridge between high and low
                     resource languages, allowing the former to bootstrap the latter.

                     For instance, imagine that an Indian climate change researcher wants to use a language
                     model to collect all Hindi-language tweets about the weather. A monolingual language
                     model trained on just Hindi text may not have enough data to have seen the words
                     “thaand” (“cold” in Hindi) and “shaal” or (“shawl” in Hindi) appear near one another
                     in text, so it may miss that tweets to the effect of “Main Agast mein shaal pahanta
                     hoon” (“I put a shawl on in August”) is a sentence about cold weather.1 A multilingual
                     model, trained on data from English, Hindi, and many other languages may have seen
                     text where “thaand” appears near “cold,” “shaal” appears near “shawl,” and “cold”
                     appears near “shawl,” thereby allowing the model to infer that “thaand” and “shaal” are
                     interrelated terms.

                     Multilingual language models are usually not trained on equal volumes of data from
                     each language: mBERT for instance is trained on 15.5 GB of English text but as little
                     as 10 MB of Yoruba text (Wu & Dredze, 2020). Even BLOOM, a popular multilingual
                     model by BigScience with a particular focus on language representation, has 30% of its



                     1 Transliterated into Roman script for ease of reading for an English-language reader.




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                    Imagine, for example, a developer building a language model to detect terrorist content
                    in the Basque language with a handful of examples of terrorist content in Basque
                    but not enough Basque text data to properly fine-tune a language model. With the
                    translate-train approach, a developer would take a large volume of English text data,
                    machine translate it into Basque, use that data to fine-tune a pretrained multilingual
                    language model, and then further fine-tune it to the task of terrorist content detection
                    using the native Basque data. With translate-test, a developer would fine-tune a
                    pretrained English language model on data translated from Basque to English, and
                    then further fine-tune it by translating the terrorist content data they have into English.
                    Subsequently, to analyze Basque text, it would first have to be translated into English
                    before being evaluated by the model. Reliance on translated data raises many concerns,
                    as discussed in Part II.C.1.

                    However, translated texts can help multilingual language models learn connections
                    between languages. By feeding a model parallel texts — for instance, explicitly
                    informing it that “baahar bohut thand hai” and “It’s so cold outside” have the same
                    meaning — it can better extrapolate other language parallels as well (e.g. NLLB Team et
                    al., 2022; Reid & Artetxe, 2022). Multilingual language models can learn connections
                    between languages without explicit labeling, instead inferring relationships between
                    languages on its own through borrowed words, numbers, and URLs (Pires et al., 2019).

                    In general, NLP researchers understand little about why it is that multilingual language
                    models can be effectively fine-tuned to work in languages that they have relatively little
                    data for (Conneau, Khandelwal, et al., 2020; Pires et al., 2019; Wu & Dredze, 2019).
                    Some argue that it is because multilingual language models have inferred language-
                    agnostic concepts and universal rules that can be applied to any language (Artetxe, Ruder,
                    et al., 2020; Chi et al., 2020; Conneau, Wu, et al., 2020; Tsvetkov et al., 2016). Others
                    say that multilingual language models are just effective imitators (Bender et al., 2021;
                    Lauscher et al., 2020). The debate is impossible to fully resolve because of the overall
                    complexity and opacity of large language models, but so far evidence suggests that at
                    best, the linguistic universals they learn are limited to narrow semantic and syntactic
                    domains (Libovický et al., 2019; Wu & Dredze, 2019), such as learning plural/singular
                    verb agreement across multiple languages (de Varda & Marelli, 2023). But even if a model
                    can infer syntactic or semantic commonalities between languages, such inferences will
                    not necessarily help it manage more complex, context-dependent tasks (Choi et al., 2021).
                    For instance, in some languages, multilingual language models do no better than random
                    guessing at detecting hate speech (Lin et al., 2022). As will be discussed in the next section,
                    these are hardly the only limits of multilingual language models.




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II. Limitations of
                                         T
                                                 he press, technology companies, and social media are abuzz
                                                 about the potential of large language models. In this section,

Language Models                                  however, we discuss the shortcomings of these models,
                                                 particularly as they operate in non-English language contexts.

in English and Non-                      In the first section, we discuss general concerns with building and
                                         deploying large language models. These concerns apply both to the

English Contexts                         English and non-English contexts. In the second section, we look at the
                                         problems more specifically raised by multilingual language models.


                                         A. Concerns with Building and
                                         Deploying Large Language Models

                                         1. LARGE LANGUAGE MODELS ARE BOUND BY
                                         LANGUAGE THEY HAVE SEEN BEFORE AND STRUGGLE
                                         TO PERFORM IN NEW CONTEXTS.

                                         A large language model does not understand language; instead, it makes
                                         probabilistic inferences about text based on the distribution of language
                                         within the data it is trained on. Bender and Koller argue that this means
                                         language models are limited to contexts they have encountered before
                                         and struggle greatly in those they have not (2020). NLP researchers have
                                         already proven this is the case in generative AI by demonstrating several
                                         unintuitive outcomes: for instance, language models are better able to
                                         perform mathematical operations with numbers that appear frequently
                                         in written language (e.g., multiplying numbers by 24), than numbers
                                         that appear infrequently (e.g. multiplying numbers by 23) (Razeghi
                                         et al., 2022). Large language models may exhibit similar limitations in
                                         content analysis as well. For instance, if a large language model were
                                         used to analyze a candidate’s resume, it may struggle to account for
                                         lesser-known companies or newer skill sets without up-to-date, domain-
                                         specific data to fine-tune on. These tasks are reliant on in-context
                                         knowledge and without domain-specific training, i.e. training an off-
                                         the-shelf large language model with text relevant to the task at hand,
                                         these models are likely to perform poorly and their purported domain-
                                         agnostic abilities should garner skepticism (Duarte et al., 2017).




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                    2. LARGE LANGUAGE MODELS REPRODUCE THE BIASES, VALUES,
                    AND HARMS OF THE DATA THEY TRAIN ON.

                    Large language models are built using vast quantities of text scraped from the internet
                    and exhibit all the biases and limitations of their data source (Okerlund et al., 2022).
                    Some commonly used datasets, such as Common Crawl, include large volumes of
                    hate speech and sexually explicit content (Luccioni & Viviano, 2021). Other problems
                    are more nefarious. For example, researchers found that when GPT-3 generated
                    completions for the prompt “Two Muslims walked into a___,” 66% of completions
                    included violent language, three times more than for other religious groups (Abid et
                    al., 2021). Others have found similar entrenched biases against people with disabilities,
                    for example inferring negative sentiment from sentences that include disability-related
                    terms (Hutchinson et al., 2020).

                    Though technologists often try to pull out explicitly harmful data from training
                    sets, models can still reify harms, such as referring to “women doctors” or calling
                    undocumented immigrants “illegals” (Bender et al., 2021). Removing these instances
                    of harmful data from training datasets, which are disproportionately outsourced
                    to underpaid staff around the world, also imposes labor and psychological burdens
                    (Williams et al., 2022).

                    Even if datasets are rid of specific examples of harmful text, they will nonetheless
                    contain values and assumptions that are encoded into the language we speak and the
                    dominant perspectives that exist in many pieces of written text, particularly government
                    documents or state-run media pieces that may make up the bulk of text available for
                    low resource languages (Bender et al., 2021). Many machine learning researchers fail to
                    consider these problems in their work — one study found that 98% of machine learning
                    papers mention no negative potential of the technologies they are describing (Birhane
                    et al., 2022). Yet the risks are very real: as Birhane & Prabhu put it, “Feeding AI systems
                    on the world’s beauty, ugliness, and cruelty, but expecting it to reflect only the beauty
                    is a fantasy” (2021). When these problems exist in any particularly popular foundation
                    model, they proliferate across many different applications built on top of that model.

                    3. THE DATA LARGE LANGUAGE MODELS TRAIN ON RAISE
                    COPYRIGHT AND PRIVACY CONCERNS.

                    Legal experts also raise concerns about copyright and ownership of text that make up
                    the vast quantities of data that train and distinguish large models (Ebers et al., 2022;
                    Okerlund et al., 2022). Getty Images has sued the creators of Stable Diffusion, an AI
                    tool that creates images based on written prompts, claiming that the toolscraped Getty’s
                    databases of proprietary images and photos without permission (Vincent, 2023a). Legal
                    questions about ownership of text and whether scraping proprietary text is lawful (e.g.,
                    because it constitutes fair use) or not remain unanswered (Kublik, n.d.).




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II. Limitations of Language Models in English and Non-English Contexts                                                            25



                                       Some datasets that large language models train on are likely to capture examples of
                                       language from sites such as social media, raising personal data privacy concerns. There
                                       is a high possibility that in gathering exchanges from social media networks, training
                                       datasets inadvertently contain private and even sensitive information, which increases
                                       the risk of models leaking details like names, phone numbers, or addresses from the data
                                       on which they’re trained (Carlini et al., 2021, 2023).

                                       4. TRAINING LARGE LANGUAGE MODELS COULD HAVE A
                                       SIGNIFICANT ENVIRONMENTAL IMPACT.

                                       Finally, there are increasing concerns about the environmental cost of producing large
                                       language models. Scholars and advocates have raised concerns about the environmental
                                       impact of training these models, particularly the largest ones with billions of
                                       parameters, due to their intense computation requirements (Crawford, 2021; Okerlund
                                       et al., 2022). There is preliminary research attempting to quantify the energy impacts
                                       of computation at this scale (Kaack et al., 2022), but some early estimates suggest that
                                       training a single BERT model, one that serves as the foundation for some multilingual
                                       language models, requires as much energy as a trans-American flight (Strubell et al.,
                                       2019). Large language models, like GPT-3, require thousands of times more (Heikkilä,
                                       2022). Png writes that these costs may be concentrated in poorer countries, where
                                       server farms and raw materials required to build necessary infrastructure are often
                                       located (2022).


                                       B. Limitations of Multilingual Language Models

                                       1. MULTILINGUAL LANGUAGE MODELS OFTEN RELY ON MACHINE-
                                       TRANSLATED TEXT THAT CAN CONTAIN ERRORS OR TERMS NATIVE
                                       LANGUAGE SPEAKERS DON’T ACTUALLY USE.

                                       Incorporating machine-translated data into the training and fine-tuning of multilingual
                                       language models creates various opportunities for the model to malfunction.
                                       Multilingual language models that depend on translation may struggle to build
                                       accurate representations of words or concepts which have different connotations in
                                       different languages. For instance, in English, “dove” is a term associated with peace, but
                                       its equivalent in Basque, “uso,” is an emasculating insult. A translation-based cross-
                                       lingual model that does not train on the word “uso” used in its native context could
                                       potentially fail to see it used in a call for violence since the English mapping is so closely
                                       associated with “peace.”




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                    Another issue is what NLP practitioners call the “translationese” problem (Yu et al.,
                    2022) — that is, machine-translated language materially differs from how human
                    native speakers naturally use language (Bizzoni et al., 2020; Teich, 2003). In generative
                    AI, translationese can result in mono- or multilingual language models simplifying
                    or overcomplicating sentences, producing repeated words, using too common or too
                    uncommon words, borrowing too much or too little from the original language, and
                    other patterns of speech native speakers would not use (Volansky et al., 2015). These
                    mistakes are not consistent between languages or systems, so it would be difficult for
                    models to be able to systematically root them out, though some argue that it is possible
                    (Yu et al., 2022).

                    The problems of machine translation spread beyond models that intentionally train on
                    it. The web is filled with machine-translated text, and models that train on web-scraped
                    data will inadvertently encounter a lot of it, particularly in low resource languages
                    (Kreutzer et al., 2022). For instance, a lot of the Catalan data that exists on the web,
                    particularly on websites using the .cat top-level domain, is translated using Google
                    Translate, even on official government websites (Pym et al., 2022). Even benchmarks to
                    test how well multilingual language models work in high and low resource languages are
                    often translated from another language, leaving researchers with less of a sense of how
                    well these models work on language as spoken by native speakers. For instance, OpenAI
                    tested GPT-4’s capabilities in 26 languages, but using only benchmarks translated from
                    English (OpenAI, 2023).

                    2. MULTILINGUAL LANGUAGE MODELS FAIL TO ACCOUNT FOR THE
                    CONTEXTS OF LOCAL LANGUAGE SPEAKERS.

                    As discussed earlier, large language models only work well in contexts similar to
                    contexts of the data they are trained on. A language model trained on legal texts,
                    for instance, will perform much better on law-related tasks than medical tasks
                    or interpreting the Quran (Koehn & Knowles, 2017). This poses a problem for
                    multilingual language models, which, particularly in low resource languages, are trained
                    on text that is translated from other language contexts or comes from a few distinctive
                    contexts, such as Wikipedia and the Bible. Multilingual language models that are not
                    trained on large volumes of text from native speakers of a given language will more
                    often fail at tasks that require knowledge of an individual speaker’s local context, such
                    as hate speech detection and resume scanning (Lin et al., 2022).

                    Imagine, for example, a multilingual language model fine-tuned to detect anti-
                    Muslim content in Assamese, a low-resource language with fifteen million speakers,
                    predominantly in northeast India (Ethnologue, 2023a). Assamese and Bengali are both
                    medium resource languages, so a multilingual model may draw connections between
                    the two. However, anti-Muslim hate speech is very closely tied to historical events and
                    the specific political conditions of Assam. For instance, the term “Bangladeshi Muslim,”




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                    3. MULTILINGUAL LANGUAGE MODELS DO NOT AND CANNOT WORK
                    EQUALLY WELL IN ALL LANGUAGES.

                    Multilingual language models not only do not work equally well in all languages but
                    they cannot, since the more languages a multilingual model is trained on, the less it
                    can capture unique traits of any specific languages. This problem is called the curse
                    of multilinguality (Lauscher et al., 2020). Large language model developers are thus
                    forced to trade off performance between disparate languages; making a model work
                    better in Hindi for example, may come at a cost to its performance in English. In
                    practice, when technology companies must choose which languages to deprioritize
                    within their multilingual language models, they may be incentivized to have them
                    be languages where speakers tend to be less wealthy, have less political power, or live
                    outside of the company’s priority markets, thus exacerbating the resourcedness gap they
                    are designed to address.

                    In general, semantic and syntactic similarity to a high resource language protects
                    from the curse of multilinguality (Eronen et al., 2023). For instance, Muller et al.
                    tested mBERT on languages it had not explicitly trained on before and found that it
                    worked better in Swiss German (related to German, a high resource language), than
                    it did in Estonian (a Uralic language, like medium resource languages Hungarian and
                    Finnish), than it does Uyghur (a Turkic language, distant from any high or medium
                    resource language, with four alphabets) (2021). In general, multilingual language
                    models struggle with languages written in non-Latin scripts (Pires et al., 2019; Ruder
                    et al., 2021), language isolates (languages etymologically distinct from all other
                    languages, such as Basque), and families of languages less connected to those of high
                    resource languages. This threatens to create a poor-get-poorer dynamic for languages
                    that are only similar to other low resource languages, as is the case with many widely
                    spoken African languages including Swahili, Amharic, and Kabyle (Joshi et al., 2020).
                    This dynamic further strengthens the post-colonial structural inequality discussed
                    throughout this report.

                    Multilingual language models are also forced to trade off between languages in the
                    vocabulary they use. Large language models train on the problem of predicting the next
                    word in a sentence. If a model is trying to guess the word to fill in “Today I feel ___,” it
                    will have a harder time doing so if it has to choose between ten million possible words
                    from any language instead of just a few hundred thousand English words. The total
                    number of words a language model has to choose from is called its vocabulary size. The
                    larger a model’s vocabulary size, the more different possible words it can generate and
                    recognize, but also the more computational resources it takes to train. Multilingual
                    language models use all kinds of shortcuts to get their vocabulary size down. For instance,




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II. Limitations of Language Models in English and Non-English Contexts                                                              29



                                       they will often transliterate languages into Latin scripts or train the model to guess the
                                       next subword (e.g. breaking “tasks” into “ta” and “##sks”) or letter instead of the full
                                       word, thus collapsing the barrier between languages (Tay et al., 2022; C. Wang et al.,
                                       2020). These shortcuts cut down on costs, but they also reduce a model’s ability to
                                       capture semantic relationships between words, thus degrading its performance overall.

                                       Vocabulary is often decided by how frequently different words, subwords, and
                                       letters appear in a model’s training text, and since multilingual language models are
                                       trained mostly on English data, their vocabularies will skew towards English as well.
                                       A multilingual model may have a relatively obscure word like “riposte” in its English
                                       vocabulary, but be may missing common words in other high resource languages (e.g.,
                                       “escritorio” in Spanish), common subwords in medium resource languages, (e.g., “tzv”
                                       in Hebrew), and entire letters in low resource languages (e.g., a character that appears in
                                       Tigrinya but not other Ge’ez-based scripts). This inferior representation makes models
                                       perform worse in a variety of tasks, and makes content analysis systems far easier to trick
                                       by doing things like changing white space, using typos, or in the case of toxic content
                                       detection, adding common, positive words like “love” (Gröndahl et al., 2018; Lees et al.,
                                       2022).

                                       4. WHEN MULTILINGUAL LANGUAGE MODELS FAIL, THEIR
                                       PROBLEMS ARE HARD TO IDENTIFY, DIAGNOSE, AND FIX.

                                       NLP practitioners depend on benchmarks to determine both how well a language
                                       model performs at specific tasks and how close it is in general to achieving “natural
                                       language understanding” (Bender & Koller, 2020). This latter type of benchmarking
                                       is very difficult in all languages, since it is hard to generalize about a language model’s
                                       capabilities from only a handful of disparate tests (Raji et al., 2021). However, the
                                       challenges of both types of benchmarks are exacerbated in the multilingual context.
                                       The disparities in NLP research attention and labeled data between languages mean
                                       that there are far more benchmarks and tasks that can be used to test models in English
                                       than in other languages, particularly low resource ones. Models developed to operate in
                                       non-English contexts are still usually tested with benchmarks translated from English
                                       which, as discussed earlier, is often markedly different from the target language.

                                       The alternative to translation is hiring people local to the contexts a model is being
                                       applied to and paying them to create data sets and develop benchmarks. This works
                                       particularly well for models built to do a specific task in a specific language (Nguyen,
                                       2020; Tattle, n.d.), but is very expensive and resource intensive to scale up for models
                                       meant to work in many languages and contexts. It also raises challenging questions
                                       for detecting bias in language models (Talat et al., 2022) and performing inherently




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                       political tasks, such as content moderation. For instance, a social media company trying
                       to create a dataset of inflammatory content posted in Bosnia and Herzegovina needs
                       people who are experts in multiple ethnic conflicts and languages (Bosnian, Serbian,
                       Montenegrin, and Macedonian) but also unbiased in those conflicts, all in a country
                       that lacks media pluralism or a strong civil society sector (Article 19, 2022). Scaling this
                       to every geopolitical problem discussed in all languages on a given online service is a
                       daunting, if not impossible, task.

                       When problems with multilingual language models can be found, it is often difficult
                       to determine why they are occurring. Large language models are already opaque, even
                       to those who develop them — neural networks, the core technology underlying large
                       language models, are known for being particularly obtuse and for representing language
                       in a way that doesn’t map cleanly onto human-understandable concepts (Nicholas,
                       2020). However, multilingual language models are particularly opaque because they
                       make unintuitive, hard-to-trace connections between languages. Take for instance,
                       this case from an NLP paper: the Google researchers behind the Perspective API, a
                       model for detecting “toxic” content, found that their model flagged tweets that used
                       the Italian word “sfiga” (which roughly translates to “bad luck”) as hate speech because
                       two of the three examples included in the training dataset that contained the subword
                       “sfiga” were labeled as hate speech (“sfigati” is an insult meaning “loser”) (Lees et
                       al., 2020). If this were a multilingual model that had mapped Italian learnings onto
                       Turkish analysis, perhaps sentences with the equivalent Turkish word for “unlucky”
                       (“şanssız”) would also be flagged as hate speech. Even if researchers had access to all the
                       data used to train that multilingual model, it would be extremely difficult to locate and
                       fix this bug without knowing Italian or understanding how the model had mapped
                       these relationships.




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                                                fforts to improve language models’ performance in various
                                                languages and contexts are exciting, as they may boost
                                                connectivity and information exchange for billions of users
                                                around the world. However, language models are limited in their
                                         capabilities, and employing them too widely, without safeguards, or for
                                         the wrong kinds of tasks has the potential to raise civil liberties concerns
                                         and erect new barriers (Maundu, 2023). Unthinking deployment
                                         of large language models may impede peoples’ ability to access
                                         information, employment, and public benefits, with disparate impacts
                                         for individuals in the Global South where many of the low resource
                                         languages are spoken. We should be cautious about the rapid adoption
                                         of these technologies, especially as building blocks for other types of
                                         automation in high-stakes arenas like content moderation, employment
                                         software, and resource allocation.

                                         In this section, we offer recommendations for companies, researchers, and
                                         governments to take into consideration as they build, study, and regulate
                                         large language models, particularly in non-English language contexts.


                                         A. Companies

                                         TECHNOLOGY COMPANIES SHOULD DISCLOSE WHEN,
                                         HOW, AND IN WHAT LANGUAGES THEY USE LARGE
                                         LANGUAGE MODELS.

                                         To better understand the problems and challenges with deploying large
                                         language models in different languages, researchers and the public need
                                         to know where to look. Companies that incorporate language models
                                         into their technical systems should always disclose how they are using
                                         them, which languages they are using them in, and what languages they
                                         have been trained on. Currently, the approach of many companies to AI
                                         transparency consists of trumpeting the capabilities of their AI systems
                                         in blog posts and press releases, and, for a few larger firms, releasing
                                         research versions of their language models that still differ from the ones
                                         they use in production. Despite publishing on AI and pushing the field
                                         forward, technology companies tend to hold information about their
                                         production AI systems, even basic information about what languages
                                         they are used in, close to the chest.




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                      Academics and civil society have written extensively about how technology companies,
                      particularly online service providers, could offer better transparency and accountability
                      for their AI systems, including language models. The Santa Clara Principles, a set of
                      principles developed and revised by global civil society groups, provides examples of
                      the types of disclosures companies can make about their content moderation policies
                      and processes (2021). Groups like BigScience also pave the way, exemplifying the type
                      of documentation other model-developers can publish about their content analysis
                      systems, including model cards, transparency reports, and other avenues to disclose
                      more information about the linguistic makeup of a model’s training data (e.g. what
                      languages it has trained on, how much data from each language, where those datasets
                      come from). Better transparency creates opportunities for external actors to more
                      immediately identify potential risks and impacts on users and for technology companies
                      to mitigate the potential dangers of deploying large language models in English and
                      non-English contexts.

                      WHEN DEPLOYED, LARGE LANGUAGE MODELS SHOULD BE
                      ACCOMPANIED BY ADEQUATE REMEDIAL CHANNELS AND
                      MECHANISMS THAT ENSURE INDIVIDUALS CAN APPEAL OUTCOMES
                      AND DECISIONS MADE BY THESE SYSTEMS.

                      Because of the complexities of human speech and the error-prone nature of automated
                      tools, decision-making systems built on top of large language models should be used
                      within narrow remits and with adequate remedial channels for users encountering
                      them. Those remedial channels and processes should have human reviewers with
                      the same language proficiencies that their systems are deployed in. Language- and
                      context-specific remedial channels are particularly important for allowing users to
                      appeal decisions made by online services, especially when those decisions either restrict
                      their expression or access to information or fundamentally determine their access
                      to economic or social rights like the right to housing, education, and social security
                      (United Nations Human Rights Office of the High Commissioner, n.d.).

                      Technology companies can also offer accountability at a system level, not just the
                      level of individual decisions. One way to do this is to conduct and publish human
                      rights impact assessments at the different phases of the language model’s life cycle
                      — development, testing, deployment, and evaluation (Prabhakaran et al., 2022).
                      Publishing human rights impact assessments will also aid in other actors’ decisions
                      when procuring these systems to conduct tasks in different domains and contexts. In
                      particular, these human rights impact assessments should consider the disparate risks
                      to different language speakers in advance of a model being deployed in those languages.
                      Online service providers can provide transparency by disclosing the systems and
                      languages they use large language models in.




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                                      COMPANIES SHOULD INVEST IN IMPROVING LANGUAGE MODEL
                                      PERFORMANCE IN INDIVIDUAL LANGUAGES BY BRINGING IN
                                      LANGUAGE AND CONTEXT EXPERTS.

                                      Recently, an arms race has begun between Google and Meta to see who can include
                                      more languages in their multilingual language model. Meta’s “No Language Left
                                      Behind” initiative trained a model on over 200 languages (NLLB Team et al., 2022);
                                      months later, Google one upped Meta with its “1,000 Languages Initiative” (Vincent,
                                      2022). This race puts a premium on the number of languages the model trains on,
                                      rather than how well it works in each language. In particular, it is unclear how these
                                      models will handle the “curse of multilinguality,” where, as explained in II.B.3, the
                                      more languages a model trains on, the less it can capture the idiosyncrasies of each
                                      language. It is also unclear how these companies define a model “working” in any of
                                      these languages.

                                      Companies building large language models should not just focus on the number of
                                      languages their model is trained on but the quality of its performance in each language.
                                      In part, that means better benchmarks, but benchmarks can only go so far. To evaluate
                                      the full range of potential applications and pitfalls that could come with applying a
                                      language model in a specific language context, it is necessary to involve language experts,
                                      civil society, local experts, heritage and language preservation advocates, linguists, and
                                      human rights experts. These actors are crucial to ensuring that labeled training datasets
                                      adequately capture the nuances and variations of a given language. Many organizations
                                      are already doing this type of work. Uli is an example of this, where two India-based
                                      nonprofit organizations — Tattle and Centre for Internet & Society — convened a
                                      range of gender, gender-based violence, communal violence, and other language experts
                                      to annotate training datasets in Indian English, Tamil, and Hindi to build a tool capable
                                      of parsing sentiment and toxicity on Twitter. Other researchers have also pointed to
                                      using annotators to label training datasets as a way to equip models with the ability to
                                      parse variations in the speech of a certain language (Bergman & Diab, 2022; Nkemelu
                                      et al., 2022).


                                      B. Researchers and Funders

                                      RESEARCH FUNDERS SHOULD INVEST IN SPECIFIC NLP LANGUAGE
                                      COMMUNITIES TO KICKSTART THE VIRTUOUS CYCLE OF
                                      DEVELOPMENT.

                                      Developing NLP capabilities in any language is a cyclical process, and for high resource
                                      languages — particularly English — that cycle is virtuous. When a language has lots
                                      of clean, human-annotated datasets, researchers and developers are better equipped
                                      to build models and benchmarks to test models in that language. More models and



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                    benchmarks lead to more publications, conferences, and real-world use cases. And
                    finally, increased demand for research and software in a language drives demand for
                    more datasets. For low resource languages, however, the virtuous cycle is hard to
                    kickstart. Without tools, annotators, and financial investment earmarked for different
                    language communities, NLP researchers cannot create the datasets needed to build
                    models or benchmarks, and even if they could, they face difficulties publishing or
                    getting attention for their work in popular journals and conferences. The most
                    prestigious NLP publications focus disproportionately on English; languages without
                    their own self-sustaining NLP communities end up to a handful of specialized outlets.

                    Investments into non-English NLP should particularly focus on creating self-sustaining
                    scholarly NLP communities, and doing this requires investing in all levels at once. The
                    groups that are best set up to properly allocate these investments are the language- and
                    geography-specific NLP research communities that have cropped up over the years,
                    such as such as Masakhane, AmericasNLP, ARBML, and others who can convene
                    practitioners around common goals to advance the field (Alyafeai & Al-Shaibani, 2020;
                    AmericasNLP, 2022; Orife et al., 2020). These communities know what kind of data
                    sets should be built, which community actors are needed to properly vet them, and
                    what kind of competitions and conferences should be run to keep the virtuous cycles
                    going. One model for how this can work is exemplified by EVALITA, an event hosted
                    by the Italian Association for Computational Linguistics. In it, researchers first submit
                    data sets for new language tasks, such as identifying misogyny or dating documents.
                    Then, researchers compete to train models to perform those tasks the best. Finally,
                    those results get published, thus generating interest and attention toward Italian NLP
                    and ensuring researchers continue to build tools for the language (Basile et al., 2020).

                    Private companies can contribute not only by financially supporting these efforts
                    but by sharing more of the non-English datasets they use to train their large language
                    models, both for transparency and to support research. Large tech companies have
                    already shared the code for training many of their multilingual language models
                    — Meta’s XLM-R and Google’s mBERT are the subjects of most multilingual
                    model research in publication — and disclosed the data they train them on —
                    CommonCrawl, and Wikipedia and BooksCorpus, respectively. However, the models
                    that Google, Meta, OpenAI, and other large companies use in their products train on
                    other, proprietary, language data. Companies should share more of their training data,
                    both for public accountability and to bolster research.

                    Large language models have by and large been built by private companies, but private
                    incentives may be at odds with developing these models in safe and equitable ways.
                    Government investment into non-English large language model research could lead
                    to improvements in areas private companies may be underinvesting in (Mazzucato,
                    2014). DARPA’s late 2010’s LORELEI project, aimed at spurring research into low




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                                      resource languages to improve translation for humanitarian efforts, is a good first step,
                                      but further government incentives could help assure that NLP researchers invest in
                                      a broad range of approaches and languages, rather than focus disproportionately on
                                      English. BigScience’s BLOOM is a good example of how large language models can
                                      be developed in the open and with public support. The French government is one of
                                      many funders which has allowed BLOOM to remain open to inquiry by other NLP
                                      practitioners. The multilingual language model was trained using ROOTs, a 1.6TB
                                      multilingual dataset that is clearly documented and available for NLP practitioners to
                                      analyze (Laurençon et al., 2022).

                                      RESEARCHERS SHOULD FOCUS ON MEASURING AND ADDRESSING
                                      THE IMPACTS OF LARGE LANGUAGE MODELS.

                                      Technologists understand little about the internal logic of how large language models
                                      operate and therefore have a difficult time predicting when they make mistakes,
                                      what the effects of these mistakes will be, and how to fix them. Multilinguality only
                                      exacerbates this problem. Better tools are needed to interrogate large language models,
                                      particularly multilingual language models, about why they make the decisions and
                                      mistakes they do, and how to fix them.

                                      In particular, the increased use of multilingual language models has the potential to
                                      help and harm language communities. Enabling greater digital participation amongst
                                      a language community raises something that researchers call the “Janus-face nature
                                      of digital participation” (NLLB Team et al., 2022): it allows more to participate and
                                      benefit from the digital economy, however, it may also expose more people to the harms
                                      present online, often without their consultation and consent (Hao, 2022; Toyama,
                                      2015). More research on the effects and externalities of the increased use of language
                                      models and specifically multilingual language models must grapple with the impacts
                                      these tools have on different linguistic communities, linguistic preservation and
                                      diversity efforts, and access to opportunity for all.

                                      Different actors have different roles to play here. Civil society has a role in documenting
                                      the impacts of these models and imagining what these “better” models should look like.
                                      There are many open questions around the types of problems that need automated
                                      solutions, what more representative datasets might look like, how to manage the tradeoffs
                                      between languages, how large language models affect linguistic preservation efforts, and
                                      what the rights implications are of using large language models, among other things.
                                      Academics and corporate researchers have a role in better defining the contexts and tasks
                                      these models hope to address, and developing quantitative and qualitative methods to
                                      evaluate these desired normative values. And companies that deploy language models
                                      can provide researchers more transparency into how their models work, what data they
                                      are trained on, and in what situations they use them so researchers can better tailor their
                                      research to reflect what is happening in real-world systems.




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                     C. Governments

                     GOVERNMENTS SHOULD CAUTION AGAINST USING AUTOMATED
                     DECISION-MAKING SYSTEMS THAT RELY ON LARGE LANGUAGE
                     MODELS TO MAKE HIGH-STAKES DECISIONS.

                     Many governments have deployed or are considering deploying systems that use natural
                     language processing technology as part of AI systems to make high-impact decisions,
                     such as determining immigration status or selecting judicial cases to try (Patel et al.,
                     2020; Rionda & Mejia, 2021). Vendors who build these systems may soon follow the
                     larger industry trend of incorporating large language models since they are relatively
                     cheap to build and easy to adapt as requirements change. However, as discussed
                     throughout this paper, large language models are a relatively novel technology that has
                     technical limitations. These tools pose serious civil liberty concerns that are magnified
                     in non-English contexts and when used to make decisions that may affect a person’s
                     livelihood. For instance, if a large language model is used as the basis of an algorithm
                     to evaluate affordable housing applications and the text that large language model was
                     trained on exhibits anti-Muslim bias, the resulting affordable housing algorithm may
                     disproportionately deny Muslims’ applications. Relying on large language models to
                     make high-stakes decisions can have outsized, negative impacts on individuals’ lives,
                     impeding safety and access to economic opportunities.

                     Governments should therefore never rely solely on automated systems that incorporate
                     large language models to make high-risk decision-making areas, such as pretrial risk
                     assessment, allocation of social services, and immigration status. Policymakers should
                     consider the impact on rights and access to services when procuring new tools and
                     vendors to build these systems and conduct and disclose any assessments conducted
                     on these systems. They should also be cautious when adopting these systems for
                     information sharing services, such as chatbots about social services or that provide
                     healthcare information, and test them extensively in every language in which they are
                     deployed, and never use them to entirely replace human intermediaries.

                     GOVERNMENTS SHOULD NOT MANDATE OR INADVERTENTLY
                     REQUIRE BY LAW THE USE OF AUTOMATED CONTENT ANALYSIS
                     SYSTEMS TO DETECT OR REMOVE CONTENT IN ANY LANGUAGE.

                     Governments around the world are increasingly pressuring online service providers to
                     limit content they find to be inaccurate or harmful, such as misinformation related to
                     health care, or preemptively monitor online speech which may incite violence. Given
                     the scale of content available on social media and other services, this has driven an
                     interest amongst governments to mandate that online service providers use automated
                     content analysis systems to detect or remove content they deem as “illegal” or harmful
                     to their constituents.


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                                      This is ill-advised. Mandating the use of automated content moderation technologies
                                      or requiring companies to take down content in a limited time period (effectively
                                      requiring the use of automated technologies) opens the door for the overbroad removal
                                      of speech. Large language models, especially in non-English language contexts, are not
                                      a magical technology that can perfectly distinguish between “good” and “bad” speech.
                                      At best, they are an imprecise technology that fails to understand the context of speech
                                      — for instance, when an individual uses a slur versus when a journalist documents
                                      the use of a slur by that individual. At worst, they are tools that can be appropriated
                                      by governments to squash dissent and freedom of expression. Efforts to persuade tech
                                      companies to improve their automated systems, clarify their policies, introduce more
                                      accountability, and promote parity between languages are all welcome, but requiring
                                      companies to adopt certain technologies is not an effective way to achieve those ends.

                                      INTERNATIONAL AND MULTILATERAL STANDARDS BODIES,
                                      REGULATORY AGENCIES, AND OTHERS SHOULD CONVENE
                                      MULTI-STAKEHOLDER DISCUSSIONS ABOUT STANDARDS AND
                                      GUARDRAILS FOR THE DEVELOPMENT AND USE OF LARGE
                                      LANGUAGE MODELS.

                                      The norms around when and how multilingual language models should be deployed
                                      are very much in flux. Those norms so far have mostly been established implicitly by
                                      technology companies in the ways they build and deploy these models, but trends in
                                      these norms may be at odds with the public interest. For instance, OpenAI revealed
                                      some information about the training data they used for GPT-3 but almost nothing
                                      about GPT-4; Open AI co-founder Ilya Sutskever described having shared information
                                      about GPT-3’s training data as “just not wise” and something the company would
                                      unlikely do again (Vincent, 2023b).

                                      Companies should not have a monopoly on the norms around language models.
                                      Governmental and nongovernmental convening bodies need to organize and push back
                                      to establish counter-norms that better serve the public’s interests. This field is early on
                                      enough that these bodies should discuss what positive outcomes even look like. Users
                                      affected by the deployment of large language models need to be at the table for those
                                      conversations. Government agencies and multilateral organizations (e.g. the Internet
                                      Engineering Task Force, United Nations) can play a coordinating role to get together
                                      the relevant stakeholders to come up with such standards.

                                      There are also larger questions to reckon with when it comes to the use of large
                                      language models in non-English contexts. At once, companies are increasingly
                                      deploying multilingual language models to bridge the gap between the functionality in
                                      English and other languages across a myriad of tasks, such as harmful content detection,
                                      sentiment analysis, and content scanning. However, as we show in this paper, these
                                      multilingual systems are relatively new and perform inconsistently across languages.




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                       If deployed prematurely and without guardrails, these models pose real risks to
                       individuals around the world and in particular their ability to express themselves freely.
                       These risks have the potential to compound existing challenges in the information
                       environment for individuals in Western democracies where there are real vacuums of
                       available information in languages other than English and in countries in the Global
                       South where there are already real threats to the free expression and exchange of
                       information posed by majoritarian and institutional powers (Golebiewski & boyd,
                       2018). Alternatively, companies may decide to only roll out systems that have been
                       fine-tuned for English and wait until there is enough data and tooling available for non-
                       English language tools — something that will take an enormous amount of financial
                       investment, time, effort, and rare consensus — further entrenching the digital divide
                       and Anglocentrism present online. Both scenarios are lose-lose for all speakers on the
                       web. This is a wicked problem and the current incentives are at play to build bigger
                       models, and with more languages. Multi-stakeholder bodies are much better positioned
                       than companies to determine when the risks associated with building larger, more
                       multilingual language models are worth taking.




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                 DATA INFRASTRUCTURE                                                                                  MAR 18, 2024

                 Logarithm: A logging engine for AI training workflows and services




                 AI RESEARCH                                                                                          MAR 12, 2024

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                 SECURITY                                                                                                                        MAR 6, 2024

                 Making messaging interoperability with third parties safe for users in Europe




                 CULTURE                                                                                                                         FEB 26, 2024

                 How DotSlash makes executable deployment simpler




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Deep Entity Classification: Abusive Account Detection for Online Social Networks


    Teng Xu          Gerard Goossen              Huseyin Kerem Cevahir              Sara Khodeir             Yingyezhe Jin
           Frank Li            Shawn Shan              Sagar Patel        David Freeman               Paul Pearce

                  Facebook, Inc           University of Chicago            Georgia Institute of Technology


                          Abstract                                   more than two billion active users sharing content each
   Online social networks (OSNs) attract attackers that use          month [45]. The vast scale of these networks in turn attracts
abusive accounts to conduct malicious activities for economic,       adversaries that seek to exploit the platforms for economic,
political, and personal gain. In response, OSNs often deploy         political, and personal gain. While most OSN activity comes
abusive account classifiers using machine learning (ML) ap-          from legitimate users, attackers invest significant resources in
proaches. However, a practical, effective ML-based defense           signing up fake accounts (i.e., accounts not representative of
requires carefully engineering features that are robust to ad-       a real person), creating accounts that impersonate real people,
versarial manipulation, obtaining enough ground truth labeled        or compromising the accounts of real users. These abusive
data for model training, and designing a system that can scale       accounts are used to drive a range of negative behaviors in-
to all active accounts on an OSN (potentially in the billions).      cluding spam, fake engagement, pornography, violence, and
   To address these challenges we present Deep Entity Classifi-      terrorism—all actions which violate community norms [12]
cation (DEC), an ML framework that detects abusive accounts          and are widely studied forms of abuse [1].
in OSNs that have evaded other, traditional abuse detection             A core challenge faced by OSNs is how to identify and
systems. We leverage the insight that while accounts in isola-       remediate abusive accounts in such a way that is both scalable
tion may be difficult to classify, their embeddings in the social    and precise. Scalability requires approaches that can operate
graph—the network structure, properties, and behaviors of            on billions of users and tens of billions of daily actions to
themselves and those around them—are fundamentally dif-              detect dozens of different abuse types. Systems that prioritize
ficult for attackers to replicate or manipulate at scale. Our        precision are necessary because abusive accounts are rela-
system:                                                              tively rare [44, 45] and thus a drop in precision would lead
• Extracts “deep features” of accounts by aggregating prop-          to the OSN taking errant actions against a large number of
   erties and behavioral features from their direct and indirect     benign users.
   neighbors in the social graph.                                       OSNs use a broad set of techniques ranging from rule-
• Employs a “multi-stage multi-task learning” (MS-MTL)               based heuristics [49] to modern machine-learning algo-
   paradigm that leverages imprecise ground truth data by            rithms [26, 48] to classify and remediate abusive accounts
   consuming, in separate stages, both a small number of high-       at scale. Rule-based heuristics act as a first line of defense [4],
   precision human-labeled samples and a large amount of             identifying basic or common attacker tools, techniques, and
   lower-precision automated labels. This architecture results       resources. These heuristics however lack power: they focus
   in a single model that provides high-precision classification     on precision rather than recall, they often do not capture the
   for multiple types of abusive accounts.                           complexity of account behaviors, and they are by definition
• Scales to billions of users through various sampling and           reactive [25]. Machine learning systems overcome some of
   reclassification strategies that reduce system load.              these problems: they generalize from past labeled data in or-
DEC has been deployed at Facebook, where it classifies all           der to improve recall, and they can be iterated on over time
users continuously, resulting in an estimated reduction of           to adapt to adversarial evolution [8]. However, precise ma-
abusive accounts on the network by 27% beyond those already          chine learning systems require a large amount of high-quality
detected by other, traditional methods.                              labeled ground truth data, can be costly to deploy (in both
                                                                     engineering effort and computational resources), and can be
1   Introduction                                                     evaded by adversaries who learn how to mimic the appear-
Online Social Networks (OSNs) connect billions of users              ance of real accounts [17]. Rule-based heuristics and tradi-
around the globe. The largest social network, Facebook, has          tional machine learning systems can identify and remediate




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the vast majority of abuse [4], but identifying the remaining                     stage trains a multi-task deep neural network [6] on the col-
hard-to-classify accounts—those that closely resemble real                        lected features using the large number of lower-precision
users and/or evade OSN defenses—requires fundamentally                            approximate labels. Since accounts identified by these lower-
different and more complex solutions.                                             precision signals exhibit a multitude of different abuse types
   A critical insight is that while attackers can produce abusive                 (e.g., spam, objectionable content, or malware), we formulate
accounts that appear legitimate in isolation, those accounts’                     a learning “task” for each abuse type. We then extract the
embedding in and engagement with the social graph are fun-                        penultimate layer of the neural network as a low-dimensional
damentally difficult to forge. For example, the number of                         feature vector [22]. This vector is input to the second stage
friend requests sent by a given user is easy for an attacker                      of the model, which is trained using per-task high-precision
to control, but the number of friend requests sent by all of                      human-labeled data with a standard binary classifier.
that user’s friends is outside of the attacker’s control.1 Al-                       MS-MTL allows DEC to learn the underlying common
though attackers can attempt to camouflage their accounts by                      representations of different abuse types in the first model
connecting to legitimate nodes in the graph, this strategy not                    stage, and then to distinguish different abuse types using high-
only is prohibitive to implement at scale, but also creates side                  precision data with separate models in the second stage, re-
effects (e.g., large numbers of rejected friend requests) that                    sulting in a score for each abuse type for each account. In this
are detectable by traditional means.                                              way we can use a single model to label as “abusive” accounts
   Leveraging this insight, we develop Deep Entity Classi-                        exhibiting any of a multitude of abuse types (e.g., scams,
fication (DEC),2 a method and supporting system for OSN                           spam, adult content, etc.).
abusive account detection. Instead of classifying accounts                           Our DEC design is deployed at Facebook, where it has
based on “direct” features and behaviors, DEC leverages so-                       run in production for more than two years. During that time
cial network structure, extracting more than 20,000 features                      DEC led to the identification and remediation of hundreds
for each account, by operating across the graph. These fea-                       of millions of abusive accounts. By comparing the number
tures are used to train supervised machine learning models                        of accounts actioned by DEC with an unbiased estimate of
that classify accounts across many different kinds of abuse.                      the number of abusive accounts remaining on the platform,
The DEC system consists of label generation and feature ex-                       we infer that DEC is responsible for reducing the volume of
traction, as well as model training, deployment, and updating.                    abusive accounts by approximately 27%.
Ultimately DEC produces per-account abusive classification                           In summary, our contributions include:
results that are robust to adversarial iteration (Section 7).                     • The algorithmic design, system architecture, and imple-
   The large number of features generated by DEC’s graph                             mentation of DEC. Extracting more than 20,000 features
traversal imposes two challenges in terms of model training.                         per entity, across multiple hops, for billions of active users,
First, if applied naïvely, the large feature space could dramati-                    presents a unique set of systems challenges (Section 4).
cally increase the underlying model complexity, resulting in                      • A novel feature extraction process that produces “deep
poor generalization and degraded performance. Second, ob-                            features” (Section 5) that, over our evaluation, showed no
taining proper generalization across so many features would                          signs of adversarial adaptation (Section 7.4).
require a prohibitively large training set in a problem space                     • The MS-MTL classification paradigm, which allows us to
where high-quality human-labeled data is difficult to obtain                         use a single model architecture to produce high-precision
at billion-user scale.                                                               classifiers for each abuse class (Section 6).
   The second key DEC insight is that in addition to small-                       • A quantitative evaluation of DEC and MS-MTL vs. other
scale, high-quality human-labeled data, we can utilize the                           approaches, as well as a qualitative assessment of the im-
results of rule-based heuristics as additional “approximate                          pact DEC has had on the overall state of abusive accounts
labels.” The classifications from such rules are not human                           not caught by other systems (i.e., those hardest to classify)
reviewed and thus have lower precision than human-reviewed                           at Facebook (Section 7).
data, but the absolute quantity is much higher.                                   • A discussion of the lessons learned from two years of pro-
   Building on this insight, we design a “multi-stage multi-                         duction deployment at Facebook (Section 8).
task learning” (MS-MTL) framework. Our framework ex-
tracts low-dimensional transferable representations via a deep                    2     Background
neural network trained using the high-volume approximate                          Here we present an overview of abusive accounts on OSNs,
labels, then fine-tunes dedicated models given the learned                        existing defenses, and relevant machine learning terminology.
representations and the high-quality human-labeled data.
   Model training occurs in two separate stages. The first                        2.1    Abusive Accounts
   1 See Section 8.4 for consideration of the case where attacker creates
                                                                                  We define an abusive account to be any account that violates
groups of abusive accounts that are connected to each other.
                                                                                  the written policies of a given OSN (e.g., [12]). Attackers use
   2 In this context “deep” refers to the features generated via network fanout   abusive accounts for various reasons, including for financially
from each account, not neural network structure.                                  motivated schemes (e.g., spreading spam, scams, objection-




                                                                                                                                      PX0597-002
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able content, or phishing links [13–15]) and for causing user                  Each successive layer uses the output from the previous layer
harm (e.g., online harassment or terrorism [16]). Abusive                      as input. In deep learning, each layer learns to transform
accounts can be broadly broken down along two dimensions:                      its input data into a slightly more abstract and composite
1. Account Provenance. An abusive account can be fake,                         representation, with the last layer outputting a single score.
   where the account does not represent an actual person or                    2.3.2   Embeddings
   organization, or real, where it is a legitimate user account,
   though potentially hijacked by an attacker.3                                In the context of neural networks, embeddings are low-
2. Abusive Behavior. An abusive account can be character-                      dimensional, continuous, learned vector representations of
   ized by the type of abuse it conducts, such as spreading                    a discrete feature vector. Neural network embeddings are use-
   scams or spam.                                                              ful because they can reduce the dimensionality of categorical
                                                                               variables and meaningfully represent categories in the trans-
2.2     Defenses                                                               formed space [28]. A common usage of embeddings is to
There are multiple types of defenses against abusive accounts                  serve as input features for machine learning models. In each
on OSNs. Rule-based heuristics, such as rate limits on par-                    layer of a deep neural network, a low-dimensional vector can
ticular user actions, are straightforward, easy to design and                  be extracted as the embedding of the layer.
evaluate, and can be quite powerful in practice. However, they                 2.3.3   Gradient Boosted Decision Trees
are often reactive, permitting some amount of abuse before a
                                                                               The embedding of the last layer of deep neural network in
threshold is crossed and a rule is triggered. In addition, they
                                                                               DEC’s first stage is used as the input feature vector for the
conservatively focus on precision rather than recall to avoid
                                                                               second stage of DEC training, which uses a model of gradi-
false positives.
                                                                               ent boosted decision trees (GBDTs). GBDTs are a machine
   Another large-scale detection technique is machine                          learning approach that iteratively constructs an ensemble of
learning-based classification, which affords increased com-                    weak decision tree learners through boosting. It is a widely
plexity of the detection algorithm through digesting more                      used algorithm in classification and regression [20].
features. However, adversaries can adapt (sometimes quickly)
in response to classifier actions [10], making it challenging                  3     Related Work
to properly design features that are difficult for adversaries to              The problem of detecting abusive accounts in OSNs has re-
discover and evade. Another challenge of this approach is to                   ceived a great deal of attention in the literature. We split the
collect enough high-precision training data. Human labeling                    published efforts into three categories based on technique,
is typically the most reliable source but can be expensive in                  and also describe the relevant machine learning literature.
terms of time, money, and human effort.
   Rule-based heuristics and typical machine-learning based                    3.1     Detecting Abusive Accounts
classifiers are able to identify the vast majority of abusive                  Several works have explored using graph structure and the
activity in online services [4]. Identifying those accounts that               features of neighboring nodes to detect abuse. Yang et al.
are able to evade the primary detection systems presents a                     examined the effectiveness of graph and neighbor-based fea-
especially difficult challenge, as they represent the hardest to               tures to identify spammers on Twitter [58]. Their work formal-
classify accounts. For example, such accounts may be those                     ized 24 detection features—including four graph-based and
that adversaries have iterated on while adapting to OSN de-                    three direct neighbor properties—showing how these features
fenses, or they may very closely resemble real users. The                      could identify spammers better than prior state-of-the-art so-
system we present in this paper is designed to mitigate these                  lutions [32, 49, 53]. Our work creates a generalized machine-
issues by employing sparse aggregated features on the social                   learning framework (utilizing these features among many
graph that should be difficult for attackers to manipulate, and                others) based on graph, direct, and indirect neighbor features
by using a multi-stage training framework.                                     (the “deep entity”) which scales to billions of social network
                                                                               users.
2.3     Machine Learning Terminology
                                                                                  Other work has focused exclusively on graph structure,
In this section we describe the machine learning terminology                   with the goal of identifying groups or connected components.
relevant to DEC.                                                               Stringhini et al. produced EVILCHORT, a system designed
2.3.1    Deep Neural Networks                                                  to identify accounts with common networking resources (e.g.,
                                                                               IP addresses) and ultimately generate groups of malicious ac-
The first stage of DEC uses a deep neural network (DNN)                        tors [50]. Earlier, Zhao et al. created BotGraph, which creates
architecture [31]. It is a cascade of multiple layers of nonlinear             an activity graph from user actions and uses that graph to iden-
processing units for feature extraction and transformation.                    tify tightly connected components indicative of abuse [64]. In-
   3 Real user accounts that violate OSN policies without having been com-     stead of focusing on the structure of the graph, Nilizadeh et al.
promised are outside the scope of this work, as they are relatively small in   observed how spam moved through the graph to identify com-
volume and are actioned on by other systems.                                   mon propagation patterns [38]. Compared to these works, we




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focus on a generalized framework which leverages such fea-         social graph. DEC instead operates by combining information
tures, as well as a scalable machine learning approach which       from the social graph with direct user features to conduct
is utilized continuously at Facebook.                              general abuse classification, irrespective of Sybil properties.
   An alternative approach uses “honeypot” accounts to ul-
                                                                   3.3     User Footprint
timately yield features which could be used for detection.
Stringhini et al. used honeypot Twitter accounts to collect        A “user footprint” is a signal that can be used to identify the
direct account, behavior, and content signals which could be       behaviors of a same user across different OSNs. Malhotra
used to identify spammers [49]. Similarly, Lee et al. also         et al. [37] propose the use of publicly available information
used honeypot Twitter and myspace accounts to collect di-          to create a digital footprint of any user using social media
rect account, content, and timing signals, also identifying        services. This footprint can be used to detect malicious be-
abuse [32]. The features from both these works were later          haviors across different OSN platforms. Xiangnan et al. [29]
formalized and further analyzed (along with other features)        study the problem of inferring anchor links across multiple
by Yang et al. [58].                                               heterogeneous social networks to detect users with multiple
                                                                   accounts. The key idea is that if a user is abusive on one
3.2    Sybil Accounts                                              platform, they are likely to be abusive on other platforms.
A Sybil attack refers to an attack where individual malicious      However, the user footprint is not helpful when a user is only
users join the OSN multiple times under multiple fake iden-        dedicated to spreading abuse in a single platform, which is
tities. Many algorithms and systems have been proposed to          the focus of DEC.
defend against Sybil attacks.                                      3.4     Machine Learning
    Yu [61] conduct a comprehensive study comparing various
Sybil defenses on social networks as of 2011. A typical graph      In this section we describe the relevant machine learning
theory-based Sybil defense systems is SybilGuard [63]. The         works that DEC draws inspiration from.
protocol is based on the social graph among user identities,       3.4.1   ML for Abuse Detection
where an edge between two identities indicates a human-            Machine learning-based classification is widely used in abuse
established trust relationship. The key observation is that        detection. Stein et al. [48] proposed one of the first machine
malicious users can create many identities but few trust rela-     learning frameworks for abuse detection, applied to Facebook
tionships. Thus there is a disproportionately small “cut” in the   in 2011. The system extracts users’ behavioral features and
graph between the sybil nodes and the honest nodes. However,       trains a machine learning model for classification. A similar
there are two downsides of SybilGuard: it can allow a large        spam detection system using content attributes and user be-
number of sybil nodes to be accepted, and it assumes that so-      havior attributes has been deployed on Twitter as described
cial networks are fast mixing, which has not been confirmed        by Benevenuto et al. [3]. These efforts laid the groundwork
in the real world. Yu et al. [62] propose a SybilLimit proto-      for our “behavioral” model described in Section 7.2.
col that leverages the same insight as SybilGuard but offers          Fire et al. [18] propose the use of topological anomalies
near-optimal guarantees. Yang et al. claim that sybils do not      on the social graph to identify spammers and fake profiles.
form tight knit communities, as other work has explored [59];      Their approach uses only four features per user, all of which
instead, linkages are formed between sybils and normal users       are related to the degree of graph connection of the user and
“accidentally” and therefore tight linkage-based defenses in       their friends. The approach is proven to be useful in various
isolation are problematic.                                         OSNs. For DEC we employed a similar approach for feature
    SybilInfer, proposed by Danezis and Mittal [9], is another     extraction, however with a greatly expanded feature space.
sybil detection system. It uses a probabilistic model of honest       In terms of classification algorithms, Tan et al. [51] de-
social networks and a Bayesian inference engine that returns       signed an unsupervised spam detection scheme, called UNIK.
potential regions of dishonest nodes. SybilRank [5] is a de-       Instead of detecting spammers directly, UNIK works by delib-
tection framework that has been deployed in Tuenti’s opera-        erately removing non-spammers from the network, leveraging
tion center. It relies on social graph properties to rank users    both the social graph and the user-link graph. In the context
according to their perceived likelihood of being fake, and         of supervised learning, Lin et al. [35] conducted experiments
has been shown to be computationally efficient and scalable.       on a Twitter dataset to compare the performance of a wide
Wang et al. [54] take a different appproach, instead focus-        range of mainstream machine learning algorithms, aiming to
ing on user actions as a stream and making the observation         identify the ones offering satisfactory detection performance
that the stream of actions for some types of attacks will be       and stability based on a large amount of ground truth data.
different than that of regular users.
    While most Sybil defense algorithms and systems focus          3.4.2   Other Relevant ML Work
on exploring connections inside the social graph, this ap-         Recent advances in machine learning, especially in graph
proach may fail to detect some types of abuse such as com-         learning, transfer learning, and online learning, can also be
promised accounts since they are not distinguishable on the        applied to ML-based abusive account detection.




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train and maintain models for different abuse types (further         Table 1: Types of entities with their example direct features
discussed in Section 6).                                             and example deep entities in DEC.
   As part of our implementation within Facebook, DEC has              Entity Type        Direct Features       Deep Entities
integrated both human labeling as well as user feedback into               User              age, gender        entities administered, posts
the training and enforcement process. Facebook uses a dedi-               Group          member count, age      admins, group members
cated team of specialists who can label whether an account               Device           operating system      users sharing the device
                                                                          Photo        like count, hash value   users in the photo
is abusive. These specialists label accounts both proactively
                                                                      Status Update        like count, age      groups it shared to
(based on features) and reactively (based on user feedback).           Group Post            has a link?        users commenting
For proactive labeling, human labellers check accounts sur-               Share       number of times shared    original creator
faced by various detection signals, take samples, label them,          IP Address        country, reputation    registered accounts
and then take actions accordingly. For the reactive labeling,
the process begins when a user appeals an enforcement ac-            tures is the batch creation of fake accounts. When classifying
tion (as surfaced through the Facebook product). A human             fake accounts, deep features include the features from the
reviewer then investigates the account and either accepts the        IP address that registers the account, as well as all the other
appeal (false positive from DEC’s perspective) or rejects the        accounts created from the IP address. When classifying us-
appeal (true positive). Both proactive and reactive human la-        ing the above features, the scripted activity of batch account
bel results are fed into DEC model training as labeled data.         registration can be easily detected.
Offline model training uses the human labeled data combined             A key insight is that deep features not only give additional
with the extracted features from the online component. Af-           information about an account, but also are difficult for ad-
ter repeated offline and online testing, updated models are          versaries to manipulate. Most direct features can easily be
deployed into production. DEC is regularly retrained by Face-        changed by the person controlling the entity. For example,
book to leverage the most recent abuse patterns and signals.         account age is controlled by the account owner, and group
   To summarize, DEC:                                                membership is controlled by the group admin. In contrast,
1. Extracts “deep features” across all active accounts on Face-      aggregated features that are generated from entities associated
    book to allow classification.                                    with the target account are much more difficult to change. For
2. Uses classification to predict the level of abusiveness for all   example, if we consider the age of all of a user’s friends, the
    active accounts, keeping up-to-date classification results       mean value would be much more difficult to alter by that user,
    for all users actively engaging with the network.                especially when the number of friends is large. Eventually,
3. Incorporates user and labeler feedback to iterate classifier      we can even take a step further by scrutinizing all the friends
    models.                                                          of friends, and it becomes almost impossible for an adversary
                                                                     to completely change such information.
5     Methods: Deep Feature Extraction                                  Table 1 lists some of the entity types considered by DEC,
Feature extraction is a core part of DEC. Compared to tra-           including user, group, device, photo, status update, and group
ditional abuse detection systems, DEC uses the process of            post. For each entity type, we list a few examples of direct
aggregate feature calculations which aims to extract deep            features and deep (or fan-out) entities. For direct features, we
features of a “target” account.                                      use features effectively leveraged by other ML classifiers, as
                                                                     well as those found useful during manual investigations.
5.1    Deep features                                                    Figure 2 illustrates an example deep feature. This feature is
In the context of DEC, “deep” refers to the process of fan-          based on neighboring nodes within two hops from an example
ning out in the social graph. This graph consists of not only        account (center, color orange). An edge between two nodes
users but all entities that the platform supports, such as groups,   represents the relation of mutual friends. This 2-hop deep
posts, and more. A direct feature is a feature that is a function    feature has exponentially more dependent values comprising
of a particular entity only, such as account age or group size.      the feature than a direct feature.
A deep feature is a feature that is a function of the direct fea-
                                                                     5.2    Implementation
tures of entities linked to the entity in question. For example,
“average age of an account’s friends” is a deep feature for the      To extend the above examples to work in production, we have
account. Deep features can be defined recursively, as aggre-         three issues to address: (a) What kind of neighboring nodes
gations of deep features on linked accounts; for example, a          do we look at? (b) How can we generate the deep features
deep feature on a photo could be “average number of groups           meaningfully? and (c) How do we keep the computational
joined by friends of people tagged in the photo.”                    cost from exploding as we fan out?
   Deep features are useful for classification because they re-         The complex and varied nature of OSN products requires us
veal the position of target node in social graph by looking          to build our system as generically as possible, allowing us to
at neighboring nodes. For instance, in the detection of fake         incorporate a wide variety of entities and edges between them.
accounts, a common pattern that can be revealed by deep fea-         We also want to be able to add new types of entities or edges as



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                                                                   Table 2: Example aggregation methods for deep features. Here
                                                                   p25 and p75 refer to the 25th and 75th percentiles, respec-
                                                                   tively.
                                                                      Feature Type                       Aggregation Method
                                                                         Numeric                min, max, mean, variance, p25, p75
                                                                       Categorical           percentage of the most common category,
                                                                                                   percentage of empty values,
                                                                                                  entropy of the category values,
                                                                                                   number of distinct categories
                                                                    Both Numeric &             max of numeric A from category B,
                                                                      Categorical         p75 of numeric A from most common category

                                                                   ious graph traversal steps (e.g., user → user, or user → group
                                                                   → photo) and automatically apply all aggregation methods
                                                                   to all the direct features of the target entity. In practice, this
                                                                   method produces thousands of distinct deep features.
                                                                      Ideally, we would trigger a new feature extraction and clas-
Figure 2: Visualization of the level-2 social graph for a single   sification every time a user action happens on Facebook. This
“target” account in DEC. The centered orange node is the           is not possible at billion-user scale given the necessary compu-
target node to classify. The blue nodes are the neighboring        tational resources. DEC relies on heuristics to decide when to
nodes from the first fan-out level. The red nodes are from the     begin the process of feature extraction and (re-)classification.
second fan-out level. An edge between two nodes represents         The core idea is the use of a “cool-down period” between
the relation of mutual friends. For each node visualized in        reclassifications, where the length of the cool-down period
this graph, hundreds of features are extracted and aggregated      increases as the account spends more time active on the plat-
for classification.                                                form. Our motivating intuition is that accounts that have been
                                                                   active for longer have gone through many previous checks and
new features and products appear on Facebook. In the social        are generally less likely to be abusive, while newly registered
graph, even a single pair of entities can be connected with        accounts are more likely to be created to abuse.
multiple types of edges. For example, a user can be connected         While (re-)classification is triggered in production in real
to a group by being the admin of the group. They can also be       time, feature extraction and aggregation are computed asyn-
connected through membership, which is a weaker connection.        chronously without interfering with an account’s experience
Even further, a user can be connected by commenting on a           on Facebook. Given the expense of extracting all deep fea-
post from the group.                                               tures, especially for an account with many connections in
   To define deep features, we apply aggregation techniques        the social graph, we restrict the amount of computational re-
on the set of direct features of nodes, following the lead of      sources used per account. Specifically, we place a limit on
Xiao et al. [57], who effectively leveraged aggregated features    the number of neighboring nodes used to compute a deep
across clusters of accounts to identify fake ones. As shown        feature, and sample randomly if the number is over the limit.
in Table 2, we use different aggregation methods for numeri-       The random sample is different on each reclassification; our
cal features and categorical features. To aggregate numerical      goal is to capture the position of the entity in the graph from
features such as age, we calculate statistics on their distri-     many different angles. This sampling procedure allows us
bution such as mean and percentiles. On the other hand, for        to limit computational cost without reducing the diversity of
categorical features such as home country, our strategy is to      features.4
aggregate them statistically into numerical features. Lastly,
we also jointly aggregate numeric features with categorical        5.3     Feature selection
features by observing the distribution of the numeric features     We only use deep features of a target account, and not direct
for a given categorical feature. For example, a feature can        features, for classification in DEC. The primary motivation
be the number of accounts that logged in from the same de-         for this choice is that we observed that direct target account
vice as the target account, given the device uses the Android      features are extremely likely to become dominant features
operating system.                                                  in the model. This undesired dominance is caused by the
   The use of aggregation has two advantages: first, it pro-       bias inherent in our training data. For example, one of our
duces a dense feature vector, reducing the dimensionality of          4 In our implementation, we use up to 50 neighboring nodes to compute a
the model. Second, it helps the model resist adversarial adap-     deep feature, downsampling if the number of neighboring nodes exceeds that
tation as discussed in Section 5.1 above. Note that we do not      threshold. On average, two fan-out levels of neighboring entities are used for
need to define each deep feature explicitly: we can define var-    feature computations.




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6.1    Motivation                                                  on a specific attack or abuse type, or may be previous versions
We employ a multi-stage framework to detect abusive ac-            of global abuse detection models. We consider the accounts
counts on Facebook. Our framework addresses three key              identified by these algorithms to be approximately labeled
challenges in abusive account classification: simultaneously       abusive accounts. We then split the labels into different tasks
supporting a variety of abuse types, leveraging a high-            based on the type of abuse per each account. To obtain approx-
dimensional feature space, and overcoming a shortage (rela-        imately labeled non-abusive accounts, we randomly sample
tive to billions of accounts) of high quality human labels.        accounts that have never been actioned on. Our approximate
   First, since there are many different ways in which an ac-      labels have lower precision than human reviewed data, but are
count can be abusive, we use different tasks to represent dif-     much cheaper to obtain and can be obtained in high volume.
ferent sub-types of abuse, and multi-task learning to increase     For example, in our evaluation the training dataset has over
the amount of information encoded in the model. The under-         30 million approximate labels and only 240,000 human labels
lying assumption is that the features distinguishing abusive       (Table 3).
accounts from benign ones are correlated between abuse types.         While 30 million labels may seem significant, it represents
As a result, the knowledge learned for one abuse type can be       less than 2% of the billions of accounts on Facebook. Thus,
beneficial for determining other abuse types because an ac-        any adversary attempting a poisoning attack [21, 36, 47] on
count exhibiting one abuse type is more likely to show other       the training data would need to create thousands of accounts
abusive behaviors. As compared with splitting labeled data         in order to ensure that some of them were sampled for our
based on abuse types and training a separate model for each        training set as negative examples (and tens of thousands if
type, multi-task training gives us a full picture of the account   trying to poison the second stage). On the other hand, the fact
by collectively looking at all associated abusive behavior. We     that there are millions of negative samples implies that any
expect that this knowledge sharing across tasks will allow us      one account cannot have outsize influence on the model, thus
to achieve better prediction accuracy using multi-task learn-      increasing the required attack size even further. Such large
ing, especially for smaller tasks.                                 attacks are easy for both rule-based systems and human re-
   Second, the multi-stage framework addresses the “curse of       viewers to detect and label, and thus the adversary’s intention
dimensionality” [23] by reducing the high-dimensional raw          of poisioning the training set will be foiled. Furthermore, even
feature vector to a low-dimensional representation. Specifi-       if somehow the adversary obtains enough accounts to poison
cally, our two stages of training reduce the number of features    the training process, they will need to manipulate the features
from more than 104 (raw deep feature space) to around 102          on these accounts to produce very specific values, which (as
(learned low-dimensional representation space). We achieve         discussed in Section 5.1) is difficult to achieve with our “deep
this reduction by using the embedding from the last hidden         feature” architecture.
layer of the multi-task deep neural network as input features         To provide insight into the reliability of this approach, we
for the second stage of training.                                  took a random sample of approximately labeled accounts
   Finally, a practical engineering problem is that human la-      and sent them through the manual review process described
beled data is very expensive, and particularly so in the domain    previously. In those experiments the approximate labeling
of account labeling. In order to label an account as abusive       precision varied between 90% and 95%, indicating that the
or benign, a human reviewer needs to look at many aspects          approximate labels still provide significant discerning power.
of the account and consider multiple factors when making a
                                                                   6.3     Model Training Flow
decision. On the other hand, we have a large amount of lower-
confidence labeled data in the form of machine-generated           Figure 3 shows the two stage training flow of the MS-MTL
labels. This scenario is ideal for multi-task leaning as it has    framework. The first stage, trained on a large volume of low
proven to be successful to extract useful information from         precision data, learns the embedding of the raw features. We
noisily labeled data [52].                                         then apply a transfer learning techique and use the embedding
                                                                   along with high precision labels to train the second stage
6.2    Training Data Collection                                    model. The classification results are generated as the outputs
We have two sources of data labels on abusive accounts in          from the second stage.
DEC. The first consists of human reviewers, who are shown
                                                                   6.3.1   First Stage: Low Precision Training
hundreds of signals from each account and asked to provide a
judgment on whether the account is abusive. Labels provided        The objective of the first training stage is to reduce the high-
in this manner have high accuracy, but are also computation-       dimensional vector of aggregated raw deep features to a low-
ally expensive, and therefore can only be obtained in low          dimensional embedding vector. This dimensionality reduction
volume (relative to the billions of accounts on Facebook).         is done through the training of a multi-task deep neural net-
   The second label source consists of automated (non-DEC)         work model [6] using our approximate label data. Each sample
algorithms designed to detect abusive accounts, as well as user    in the training data has a vector of labels where each label
reported abusive accounts. These algorithms may be focused         corresponds to a task, and each task corresponds to classifica-



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tion of a sub-type of abusive accounts on Facebook. After the       Table 3: Datasets: Number and composition of labels used
training has converged, we take the outputs of the last hidden      for our training and evaluation. The longitudinal dataset is
layer of the neural network as the learned low-dimensional          measured in # of samples per day.
embeddings.
                                                                              Training                     Training
   For our implementation, we use a neural network model                       Dataset
                                                                                            Label Type
                                                                                                             Stage
                                                                                                                       # Samples
with 3 fully connected hidden layers having 512, 64, and                        Fake        Approximate      First     3.0 × 107
                                                                               Comp.        Approximate      First     7.8 × 105
32 neurons respectively. For each task, the model outputs a                     Spam        Approximate      First     6.2 × 105
probability using a sigmoid activation function. The inputs                     Scam        Approximate      First     6.2 × 105
are normalized using a Box-Cox transformation. We trained                      Benign       Approximate      First     2.6 × 108
                                                                               Abusive        Human         Second     1.2 × 105
the model using PyTorch [42] for an epoch using per-task                       Benign         Human         Second     1.2 × 105
binary cross entropy and an Adagrad optimizer [11], with a                   Evaluation                   Evaluation
                                                                                            Label Type                 # Samples
learning rate of 0.01.                                                         Dataset                    Mechanism
                                                                               Abusive        Human         Offline    3.0 × 104
                                                                               Benign         Human         Offline    3.0 × 104
6.3.2   Second Stage: High Precision Training                                Longitudinal     Human         Online     2.0 × 104 /day
We leverage a technique from transfer learning [41] and ex-
tract the last hidden layer’s output from the first stage model
as the input for the second stage. We train the second stage        to be actioned on by separate enforcement systems, each em-
(GBDT model) with high precision human-labeled data to              ploying distinct appeals flows. Second, the positive samples
classify abusive accounts regardless of the sub-types of vio-       of different abuse types are not homogeneous by nature. For
lations. The scores output by the GBDT model are the final          example, fake accounts are largely driven by scripted creation,
DEC classification scores.                                          while compromised accounts usually result from malware or
   Our implementation of the GBDT model uses an ensemble            phishing. The behavioral patterns and social connections of
of 7 trees with a maximum depth of 4. We trained the model          these accounts are distinctive for each abuse type, lending
with a company-internal gradient boosting framework similar         themselves well to different “tasks” in our formulation.
to XGBoost [56], using penalized stochastic gradient boosting,         We maintain separate datasets of approximate (lower-
with a learning rate of 0.03 and a feature sampling rate of 0.2.    precision) and human labels. The quantity of approximate
                                                                    labels is significantly larger than human labels. The first train-
7     Evaluation                                                    ing stage uses four approximate datasets of abusive accounts
In this section we evaluate the performance of our MS-MTL           and one of benign accounts, while the second stage requires
approach and the DEC system as a whole. Specifically we             only human-reviewed accounts labeled as abusive or benign.
analyze three abusive account models:                               The approximately labeled data comes from three sources:
1. A behavioral-only model, which represents traditional de-        1. User reports: Users on Facebook can report other users
    tection techniques employed by OSNs;                               as abusive. This source is noisy [19], but appropriate as
2. DEC as a single multi-task neural network (“Single Stage,”          low-precision labels for the first stage of training.
    SS), and                                                        2. Rule-based systems: Outside of DEC, there are other
3. DEC with MS-MTL.                                                    existing enforcement rules on Facebook. We take users
We performed our evaluation on active accounts on Face-                caught by these enforcements, categorized by the type of
book. These accounts have already gone through multiple                abuse, as an additional approximate label source. Some
early-stage security systems such as registration or login-time        examples of users labeled by rule-based systems include:
actioning, but have not yet gone through full behavioral (i.e.,        • Users sending friend requests too quickly;
activity- and content-based) detection. We also investigate            • Users with multiple items of content deleted by spam-
adversarial adaptation, in particular looking at the stability of         detection systems;
DEC’s precision and recall over time.                                  • Users distributing links to known phishing domains.
                                                                       In total, rule-based systems account for more than half of
7.1     Datasets                                                       our abusive account labels.
                                                                    3. Discovered attacks: It’s common to have “waves” of
Table 3 summarizes the dataset used for our experiments and
                                                                       scripted attacks on OSNs, such as malware or phishing
evaluation of DEC.
                                                                       attacks. When Facebook notices such a wave they can
Training Data. We test DEC’s performance on production                 identify a “signature” for the accounts involved and use
Facebook data. We consider four types of abusive accounts              the signature as an approximate label for our first stage.
(tasks) in our MS-MTL implementation: fake, compromised,               These discovered attacks comprise approximately 10% of
spam, and scam. We split the abuse types into these four differ-       our abusive account labels.
ent categories for two reasons. First, they are violating differ-   All of the above sources provide noisy, low-precision abuse
ent policies of Facebook, which causes the detected accounts        data. While inappropriate for full system training, they are apt



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for the first stage of training. For the first stage, we construct
a set of benign users by randomly sampling active users and
excluding those contained in approximate abuse dataset.
   In contrast, we generate training data for the second stage
by having human labellers employed by Facebook manually
review randomly sampled users on the platform. Accounts
labeled as abusive are used as positive samples for training,
and accounts labeled as benign are negative samples.
Evaluation Data. To evaluate DEC’s performance, we create
an evaluation dataset of accounts by sampling active users
from Facebook. These are users that have already passed
through several early-stage abuse detection systems, and as
such contain the hardest abusive accounts to classify. We per-
form manual human labeling of a large number of randomly
selected accounts using the same methodology and process             Figure 4: Comparison of ROC curves for different models
that Facebook uses for ground truth measurement. We then             on evaluation data. Both DEC models (single stage and with
randomly select 3 × 104 accounts labeled abusive and 3 × 104         MS-MTL) perform significantly better than the behavioral
accounts labeled benign for offline evaluation.                      model at all points in the curve.

7.2    Model Evaluation                                              3. DEC-MS-MTL: This is is the complete end-to-end frame-
We use three different models to evaluate the performance of            work and model described in Section 6. It combines the
our DEC approach (single stage and with MS-MTL) both in                 DEC-only approach with MS-MTL.
isolation, and in comparison to traditional techniques. Note         Outside of this evaluation section, references to DEC without
that the objective of DEC is to identify accounts committing         a MS-MTL or SS qualifier refer to DEC MS-MTL.
a wide spectrum of abuse types. This approach goes beyond
                                                                     7.3     Performance Comparisons
traditional Sybil defense techniques which primarily focus on
detecting fake accounts.                                             We compare various metrics based on the results of above
   A summary of these models, their training data, and their         three models.
evaluation data can be found in Table 4. The three models we
                                                                     7.3.1   ROC Curves
compare are:
1. Behavioral: This GBDT model classifies accounts based             Figure 4 examines the ROC performance of all three models.
   only on the direct behavioral features of each account (e.g.,     ROC curves capture the trade-off in a classifier between false
   number of friends), and outputs whether the account is            positives and false negatives. For all operating points on the
   abusive (regardless of the specific abuse type). Thus, this       curve, the DEC models (both MS-MTL and SS) perform
   model does not use deep features and is not multi-task.           significantly better than a behavioral-only approach—by as
   Since the number of behavioral features is relatively small,      much as 20%, depending on the operating point. From a ROC
   we train the model with the human labeled dataset. This           perspective, both DEC models perform similarly.
   model is representative of traditional ML based detection            While ROC curves are important measures of the effective-
   techniques used in OSNs, similar to the system described          ness of models, they are inherently scaleless, as the x-axis
   by Stein et al. [48]. By operating on an evaluation dataset       considers only ground-truth negatives and the y-axis considers
   drawn from active accounts on Facebook that have already          only ground-truth positives. If the dataset is being classified is
   undergone early-stage remediation, adding this behavioral         imbalanced, as is the case with abusive accounts (there are sig-
   (later-stage) system is representative of an end-to-end so-       nificantly more benign accounts than abusive accounts), ROC
   lution. We employ a GBDT architecture with an ensemble            curves may not capture the actual operating performance of
   of 200 trees of depth of 16, each with 32 leaf nodes.             classification systems—particularly precision, a critical mea-
2. DEC-SS: This model uses the DEC approach outlined in              sure in accessing abuse detection systems.
   this paper to extract deep features, but does not leverage the
                                                                     7.3.2   Precision and Recall
   MS-MTL learning approach. A single deep neural network
   model is trained by combining all the approximate data            Figure 5 compares the precision and recall of the models.
   across multiple tasks. If a user is identified as violating       We find the behavioral model is unable to obtain precision
   by any one of the included tasks, we consider this as a           above 0.95 and has very poor recall throughout the precision
   positive sample. Because of the huge number of features           range. Both DEC models perform significantly better than the
   extracted by DEC, the quantity of human labeled data is           behavioral model, being able to achieve a higher precision
   too small to be used for training.                                and have significantly higher recall at all relevant operating




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        Table 4: Comparisons of the three evaluation models’ type, training features, training data, and evaluation data.

    Name                    Model                    Training Features                      Training Data             Evaluation Data
  Behaviorial               GBDT               Account behavior features (∼ 102 )           Human labels               Human labels
   DEC- SS             Multi-Task DNN             DEC deep features (∼ 104 )              Approximate labels           Human labels
 DEC- MS-MTL       Multi-Task DNN + GBDT          DEC deep features (∼ 104 )        Approximate labels+human labels    Human labels



                                                                       Table 5: Comparison of the area under the curve (AUC) and
                                                                       recall at precision 0.95 for different models on evaluation data.
                                                                       The DEC with MS-MTL model achieves the best result by a
                                                                       significant margin, a nearly 30% absolute improvement. The
                                                                       behavioral model is unable to obtain precision 0.95.

                                                                            Model               AUC      Recall @ Precision 0.95
                                                                            Behavioral          0.81              NA
                                                                            DEC- SS             0.89              0.22
                                                                            DEC- MS-MTL         0.90              0.50

                                                                        DEC both single stage and with MS-MTL have similar AUC
                                                                        performance, adding MS-MTL more than doubles the model
                                                                        recall, increasing it from 22% to 50%. This increased perfor-
Figure 5: Comparison of precision vs recall curves for dif-             mance, both over behavioral and over DEC without MS-MTL,
ferent models on our evaluation data. Both DEC models per-              enables significantly better real-world impact when deployed
form significantly better than the behavioral model, and the            in production.
DEC-MS-MTL has higher recall across the entire operating
space. This evaluation is over accounts that have already gone
                                                                        7.4    Results In Production Environment
through several stages of security evaluation, and as such this        Building on our design and evaluation of DEC (with MS-
population represents the hardest accounts to classify. Given          MTL), we deployed the system into production at Facebook.
the difficult classification nature of this sub-population, such       The system not only identified abusive accounts, but also trig-
recall performance is considered excellent by Facebook.                gered user-facing systems to take action on the accounts iden-
                                                                       tified. To assess the model’s real-world impact and longevity,
regions. DEC with MS-MTL significantly improves the sys-               we evaluate our system in production by looking at the stabil-
tem recall over single stage DEC at high precision operating           ity of precision and recall over time.
points, improving by as much as 30%.
   We note that this evaluation is over accounts that have              Precision Over Time. Figure 6 examines the 3-day moving
already gone through other security classifications such as             average of the precision of our DEC with MS-MTL system
registration time or login-time remediation (i.e., the hardest to       in production at Facebook. As with our prior evaluation, we
classify accounts). As such, the overall recall level is expected       obtain ground truth for our measurements by relying on man-
to be lower than that of a system which operates on all active          ual human labeling of a random sample of accounts classified
accounts (Section 7.4).                                                 as abusive by DEC. We find that the precision of the system
                                                                        is stable, with the precision never dropping below 0.97, and
   DEC with MS-MTL’s improvement in recall over behav-
                                                                        frequently being higher than 0.98.
ioral models makes it particularly attractive in a real world
operating environment where recall over hard to classify ac-           Recall Over Time. We examine the stability of our produc-
counts is an important operating characteristic.                       tion DEC-MS-MTL model’s recall by considering its false
                                                                       negative rate (FNR), where FNR = 1−recall. Using a longitu-
7.3.3   Quantiative Assessment: Area Under the (AUC)
                                                                       dinal sample of 2 × 104 users randomly chosen and manually
        Curve and Precision / Recall
                                                                       labeled each day, we compute an unbiased FNR statistical
Table 5 shows a comparison of precision, recall, and ROC               measure of the volume of abusive accounts on Facebook, re-
performance between the three models. ROC performance                  gardless of direct detection. This measure is denoted as the
is calculated as the total area under the curve (AUC). Preci-          “prevalence” of abusive accounts and can be thought of as
sion is fixed at 0.95, a common operating point for assessing          the false negative rate of all abusive account detection sys-
performance. The behavioral model is unable to achieve a pre-          tems (including DEC) combined. If we add to the prevalence
cision of 0.95 at any recall, and is excluded. We find that while      measurement the number of abusive accounts caught by DEC



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Figure 6: Precision over time: 3-day moving average of de-        Figure 7: Recall over time: DEC defense over a 30-day win-
ployed (DEC-MS-MTL) model precision on live Facebook              dow, using 3-day moving averages. The green line is the
production data, spanning one month. Precision is stable,         observed volume (as a percent) of abusive accounts on Face-
never decreasing below 0.97. The y-axis is truncated.             book, and the red marked line is the volume of accounts taken
                                                                  down by DEC. The blue line is the sum of the other two
specifically (and not other detection systems), we obtain an
                                                                  and estimates what the volume of abusive accounts would
estimate of what the prevalence of abusive accounts would
                                                                  have been in the absence of DEC; the gray shaded area thus
have been in the absence of DEC.
                                                                  represents the inferred impact of DEC.
   Figure 7 plots the observed prevalence of abusive accounts
(with DEC deployed) and inferred prevalence without DEC,          Table 6: Area under the curve (AUC) and recall at precisions
over the period of a month. A loss in DEC’s recall (equiva-       0.95 and 0.99 for DEC over a random sample of all accounts
lently, an increase in DEC’s FNR) would manifest as either        on Facebook.
an increase in overall abusive account prevalence, or a de-
                                                                      Population   AUC     Recall @ Prec. 0.95   Recall @ Prec. 0.99
crease in the power of DEC compared to non-DEC methods
                                                                      All accts.   0.981          0.981                 0.955
(a decrease in the difference between the two measures). We
observed neither of these phenomena over our one-month ex-
periment, indicating that DEC’s recall did not meaningfully       on Facebook was 3.8%— an improvement of 27%.
shift during this period and suggesting that there was not
adversarial adaptation to DEC.                                    DEC Over All Accounts. Our evaluation of DEC thus far has
   Before DEC’s launch, Facebook reported instances of ad-        focused on the hardest types of abuse to classify—accounts
versaries adapting within hours to new detection systems;         that were not identified by other production abuse detection
since the advent of DEC there have been no such reports.          systems. A separate question is how effective could DEC be
Our hypothesis is that the “deep feature” architecture of DEC     at identifying all abusive accounts, including those caught
makes the system more resistant to adversarial adaptation         by these other systems. To answer this question we evalu-
than other abusive account detection systems. As discussed        ated DEC over 1.6 × 104 active accounts sampled at random
in Section 5.1, an adversary wishing to manipulate a user         from the entire population of accounts on Facebook, includ-
feature aggregated through the graph must control that feature    ing those that had been detected as abusive by other systems.
on all of the relevant entities connected to the original user.   These accounts were definitively labeled by expert human
When we apply this reasoning to the multitude of different        labellers and used as ground truth for our evaluation. Table 6
entity associations — including but not limited to user friend-   shows the performance of DEC across this population of all
ship, group membership, device ownership, and IP address          accounts. DEC performs well over this population, with an
appearance — we are drawn to the conclusion that manipu-          AUC of 0.981, recall at precision 0.95 of 0.981 and recall at
lating many such features would be far more expensive for         precision 0.99 of 0.955. As expected, both the AUC and recall
an attacker than manipulating “direct” user features such as      at fixed precision are significantly higher on the full popula-
country, age, or friend count.                                    tion than on the sub-population of accounts not detected by
   Since deployment, DEC has become one of the key abusive        other systems (Table 5).
account detection systems on Facebook, where it has been
responsible for the identification and deactivation of hundreds
                                                                  8     Discussion and Lessons Learned
of millions of accounts. Over our evaluation period the av-       After more than two years of deployment at Facebook, we
erage estimated prevalence without DEC would have been            have learned multiple lessons and identified several limita-
5.2%, while the average observed volume of abusive accounts       tions from developing and using DEC.




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8.1     Reducing Computational & Human Load                                    owned by young people are more likely to be abusive.
It is computationally expensive to extract graph features for                     As a first step towards preventing such bias, we have re-
all active users at the scale of Facebook. Given our current                   moved from the model all “direct” user demographic features,
implementation of feature extraction within two hops from                      including age, gender, and country. While these features could
the target node in graph, for each user we might need to reach                 be helpful in predicting abuse, they could easily introduce un-
out to hundreds or thousands of neighboring nodes in order                     fairness in the model as in the age example above — we don’t
to extract all of their information and aggregate it back to                   want to penalize younger benign users just because attackers
the target node. To mitigate this problem we have developed                    usually choose to set their fake accounts to have a young age.
caching strategies that reuse previous feature extraction re-                     The next approach we considered is to sample the labeled
sults as much as possible. However, because many features                      data in order to create a training set that reflects overall OSN
have time sensitivity, we still need to update and re-extract a                distributions as closely as possible. In ongoing work, we are
considerable amount of them at each reclassification.                          experimenting with training DEC using stratified sampling
   The computational load of DEC is high—equivalent to                         based on attack clustering, in particular downsampling large
0.7% of global CPU resources of Facebook. However, the                         clusters so as to minimize the influence of a single attack on
deployment of DEC actually reduced global CPU usage of                         the ultimate model. This approach would make sure that a
Facebook. DEC achieved this counter-intuitive result by iden-                  large attack from a given user demographic does not teach
tifying and removing such a large volume of abusive accounts                   the model that most users from that demographic are abusive.
that the combined CPU usage of those abusive accounts more                     However, stratified sampling becomes prohibitively costly as
than accounted for the computation required for feature ex-                    we try to match the distribution of more and more segments.
traction, training, and deployment of DEC.                                     In addition, as we add more dimensions the segments get
   DEC also greatly reduced human costs, in terms of human                     smaller, and statistical noise soon introduces enough error to
review resources that would have been needed to evaluate and                   outweigh the precision gains from sampling.
take down abusive accounts manually. DEC’s deployment                             A final approach is to split particular segments out and
reduced the total review resources needed for abusive account                  create dedicated tasks in the MS-MTL framework for them;
detection by between 15% and 20%.                                              however, this approach requires us to collect sufficient training
                                                                               data for each segment, and the maintenance cost increases
8.2     Segmentation and Fairness                                              with the number of models trained. Instead of training and
One key finding is that a single-task classifier performs differ-              maintaining multiple models, Facebook has chosen to monitor
ently across different segments within the task. For example,                  specific high-profile segments for false positive spikes and
if we segment accounts by the self-reported age of their own-                  address any issues by tuning the overall model to reduce
ers, an abusive account classifier might show a higher false                   segment-specific false positives.
positive rate on one age segment than others. Similarly, the
                                                                               8.3    Measuring in an Adversarial Setting
performance might vary over different geographies, as we
are building a single model to fit a global product that may                   Since abuse detection systems inherently operate in an adver-
be used differently across different cultures. Such variation,                 sarial environment, measuring the impact of system changes
which can be expected across such a large and heterogenous                     is a particularly difficult problem. A common adversarial
user base, may be interpreted as the model treating some                       iteration looks like:
groups of people unfairly relative to others.5 In the data set                 1. The attacker finds a successful method to abuse Facebook.
used for this paper we were not able to find any segments                      2. Facebook adjusts its detection system and mitigates the
on which classifier performance differed to a statistically sig-                   attack.
nificant extent, but it is possible that with retraining and/or                3. The attacker iterates until they either achieve (1) again, or
different segmentation such unfairness may arise. As a result,                     the resource cost becomes too high and they stop.
we have proactively considered several measures to reduce                         Assuming constant effort on the part of the attacker and
variation across different segments.                                           Facebook, the above cycle eventually settles on an equilib-
   Our key insight is that segmentation effects are highly cor-                rium. Because of this cycle, it is difficult to properly measure
related with bias in the training data. Suppose for example                    the effect of our models using A/B tests during deployment.
that we use the account owner’s age as a feature, and that the                 If our experiment group is too small, we never reach step 3
owners of abusive samples in the training data are younger on                  because the attacker has no incentive to change. Our metrics
average the owners of non-abusive samples. In this case, if we                 might look good in the experiment group, but we will hit
do not adjust the proportions of different segments in our train-              step 3 when we launch more broadly and performance will
ing data, the classifier may reach the conclusion that accounts                decline.
    5 Note that the assessment of “fairness” will depend on the metric used,      One way to mitigate this problem is to add a “holdout
and one may get different results when using, for example, accuracy vs. pre-   group” to feature launches. The holdout group is a random
cision vs. false positive rate.                                                sample of users that are predicted by the model to be abusive.



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Instead of acting to block these accounts immediately upon          use of deep features. However, in Section 8.1 we discussed
detection, we stand back and confirm the abuse happened as          how this high computational cost is actually balanced by
expected before enforcing on these users. Such holdouts help        resource savings from identifying more abusive accounts.
us to more accurately measure the precision of our classifier,      Reducing the computational cost further is an active area
but must be carefully weighed against the potential impact, as      of work that is receiving at least as much attention as im-
holdouts can lead to further abuse. For this reason, holdouts       proving model quality.
are not used for all types of abuse.                              • Intuitively, DEC’s classifications are based on an account’s
                                                                    position and connections within the Facebook graph. Ac-
8.4    Adversarial Attacks on DEC                                   counts that exhibit low levels of activity or connections
An attacker may attempt to poison the first stage of low-           provide fewer signals for DEC to leverage for inference,
quality labels by creating numerous colluding accounts that         limiting its effectiveness. However, even if such accounts
seek to be labelled benign by the rule-based detection systems.     are abusive, they inherently have less impact on Facebook
Given the scope of DEC’s training data and the relatively low       and its users. We are currently exploring approaches to in-
sample rate, it would be extremely difficult for attackers to       clude features that better capture these low-signal accounts.
generate such accounts at a scale that would significantly im-    • DEC’s machine learning model lacks interpretability, as
pact the trained model (Section 6.2), especially given that         it relies on a DNN to reduce the high-dimensional space
other (non-DEC) systems exist specifically to limit the cre-        of deep features into the low-dimension embedding used
ation of fake accounts at massive scale.                            for classification decisions. This characteristic makes it
   An attacker may attempt to evade the classifier by creating      difficult to debug and understand the reasoning behind
large groups of fake accounts connected to each other so that       DEC’s decisions. Making the model interpretable is an
they can control all of the deep features. This subgraph would      active area of research.
have to either be isolated from the rest of the friend graph      • DEC’s approach of aggregating data from many users to
(which is itself suspicious) or have a reasonable number of         produce features for classification is less sensitive to out-
connections to the main graph. In the latter case, since DEC        liers than an approach of using direct features. As a conse-
operates on second-order connections, almost all of the DEC         quence, DEC may be less discriminative of extreme feature
features would include data from real accounts outside the          values than other model families. We have taken a “defense-
adversary’s control. In addition, while the adversary controls      in-depth” approach to address this challenge, as extreme
the fake accounts’ behavior, they don’t know how a similar          outliers can be captured quite effectively by manual rules.
set of connected legitimate users behaves, and the coordinated      It still remains an open question to address such outliers
activity of the fake accounts would be detected as anomalous        within the DEC framework.
by DEC.                                                           • DEC, like other supervised or semi-supervised machine
   An attacker could also attempt to trick DEC into misclas-        learning systems, is heavily dependent on the quality of its
sifying a benign user as abusive, based on features of its          training data labels. Adversaries that manage to induce in-
neighbors that the victim has no control over. For example,         accurate human labeling at scale may be able to manipulate
an attacker could create a subgraph of abusive accounts as          or interfere with DEC’s classifications. We are constantly
above and attempt to friend a victim using these accounts. If       working to improve our labeling process to address any
the victim accepts one or more friend requests, they embed          observed or potential limitations.
themselves in the abusive sub-graph, which could cause DEC        Even with these limitations, our evaluation on production data
to incorrectly act on the victim. This “forced-embedding” at-     at Facebook indicates that DEC offers better performance than
tack is also challenging to execute. First, “attempted” links     traditional detection approaches.
between entities (e.g., unresolved or denied friend requests)
are not features in DEC. Second, a single bad edge between        9   Conclusion
the victim and an abusive sub-graph is insufficient to cause      We have presented Deep Entity Classification (DEC), a ma-
a false classification. A victim would need to be deceived        chine learning framework developed to detect abusive ac-
numerous times for there to be a risk of misclassification.       counts in OSNs. Our framework addresses two problems in
Finally, DEC-identified accounts are given the opportunity to     the existing abuse detection systems: First, its “deep feature”
complete challenges or request human review as a fail-safe to     extraction method creates features that are powerful for classi-
guard against incorrect classification [30].                      fication and (thus far) show no signs of the adversarial adapta-
                                                                  tion typical for account or behavioral features. Second, it uses
8.5    Limitations and Future Directions                          a novel machine learning training framework to leverage both
While DEC has been highly effective at detecting abusive          high-quantity, low-precision and low-quantity, high-precision
accounts in practice, its design offers several opportunities     training data to improve model performance.
for improvement:                                                     Our evaluation on production data at Facebook indicates
• DEC is computationally expensive, particularly due to its       that DEC offers better performance than traditional detection




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estimate that DEC is responsible for a 27% reduction in the
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            ML Applications Integrity




            AI advances to better detect hate
            speech
            May 12, 2020




https://ai.meta.com/blog/ai-advances-to-better-detect-hate-speech/                                                      1/10
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            We have a responsibility to keep the people on our platforms safe, and dealing
            with hate speech is one of the most complex and important components of this
            work. To better protect people, we have AI tools to quickly — and often
            proactively — detect this content. As noted in the Community Standards
            Enforcement Report released today, AI now proactively detects 88.8 percent of
            the hate speech content we remove, up from 80.2 percent the previous quarter.
            In the first quarter of 2020, we took action on 9.6 million pieces of content for
            violating our hate speech policies — an increase of 3.9 million.


            This progress is due in large part to our recent AI advances in two key areas:


                    Developing a deeper semantic understanding of language, so our systems
                    detect more subtle and complex meanings.

                    Broadening how our tools understand content, so that our systems look at
                    the image, text, comments, and other elements holistically.


            For semantic understanding of language, we’ve recently deployed new
            technologies such as XLM , Facebook AI’s method of self-supervised pretraining
            across multiple languages. Further, we are working to advance these systems
            by leveraging new state-of-the-art models such as XLM-R , which incorporates
            RoBERTa , Facebook AI’s state-of-the-art self-supervised pretraining method.


            To broaden how our tools understand content, we have also built a pre-trained
            universal representation of content for integrity problems. This whole entity
            understanding system is now used at scale to analyze content to help determine
            whether it contains hate speech. More recently, we have further improved the
            whole entity understanding system by using post-level, self-supervised learning.


            These challenges are far from solved, and our systems will never be perfect.
            But by breaking new ground in research, we hope to make further progress in
            using AI to detect hate speech, remove it quickly, and keep people safe on our
            platforms.




https://ai.meta.com/blog/ai-advances-to-better-detect-hate-speech/                                                      2/10
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                              This example illustrates how hate speech can be multimodal. The text alone is ambiguous.
                              But when it’s combined with the image, the statement takes on another meaning.


            What’s more, people sharing hate speech often try to elude detection by
            modifying their content. This sort of adversarial behavior ranges from
            intentionally misspelling words or avoiding certain phrases to modifying images
            and videos.


            As we improve our systems to address these challenges, it’s crucial to get it
            right. Mistakenly classifying content as hate speech can mean preventing
            people from expressing themselves and engaging with others. Counterspeech
            — a response to hate speech that may include the same offensive terms — is
            particularly challenging to classify correctly because it can look so similar to the
            hate speech itself.


            Finally, the relative scarcity of examples of these violations poses an additional
            challenge for training our tools. To build models that understand linguistic and
            cultural nuances across the many languages on our platform, we need to be
            able to understand and learn from not only the limited set of violating content but
            also from the billions of examples of non-violating content on our platform.


            Progress in using AI to detect hate
            speech
            Over the last several years, we’ve invested in building proactive detection tools
            for hate speech, so we can remove this content before people report it to us —

https://ai.meta.com/blog/ai-advances-to-better-detect-hate-speech/                                                               4/10
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            and in some cases before anyone even sees it. Our detection techniques
            include text and image matching, which means we’re identifying images and
            strings of text that are identical to content that’s already been removed as hate
            speech. We also use machine-learning classifiers that look at things like the text
            in a post, as well as the reactions and comments, to assess how closely it
            matches common phrases, patterns, and attacks.


            When we first deployed these systems to proactively detect potential hate
            speech violations, we relied on our content review teams to decide whether to
            take action. But by last spring, our systems were accurate enough to be used
            to remove posts automatically in some limited cases.


            We’ve continued to improve our contextual classifiers for hate speech by
            incorporating a new bi-transformer text model and whole entity understanding
            as features and by using bias sampling to capture more false negatives, among
            other recent updates.


            We created our whole entity understanding system as a single, generalized
            pretrained representation of content that can help address many different
            integrity problems. It works by understanding content across modalities,
            violation types, and even time in order to provide a more holistic understanding
            of a particular post or comment, for example. Our latest version is trained on
            more violations. The system improves performance across modalities by using
            focal loss, which prevents easy-to-classify examples from overwhelming the
            detector during training, along with gradient blending, which computes an
            optimal blend of modalities based on their overfitting behavior.




https://ai.meta.com/blog/ai-advances-to-better-detect-hate-speech/                                                      5/10
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            Pushing the state of the art with XLM-R
            Earlier this year, we published our work on a new model called XLM-R , which
            uses self-supervised training techniques to achieve state-of-the-art performance
            in understanding text across multiple languages. We are working toward using
            XLM-R to help human reviewers analyze potential hate speech.


            Our XLM-R model builds on one of the most important recent advances in self-
            supervised learning, the revolutionary Bidirectional Encoder Representations
            from Transformers (BERT) technique. BERT models are trained by taking
            sentences, blanking out words at random, and having the model learn to predict
            the most likely words to fill in the blanks. This process is known as self-
            supervised pretraining.




                              This graphic shows how our model is first pretrained by learning to predict blanked-out
                              words.

            XLM-R advances this method in two important ways:



https://ai.meta.com/blog/ai-advances-to-better-detect-hate-speech/                                                              6/10
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                    We’ve developed a new pretraining recipe, RoBERTa, to train efficiently on
                    orders of magnitude more data and for a longer amount of time.

                    We also have created NLP models that improve performance by learning
                    across multiple languages. This method, called XLM, uses a single, shared
                    encoder to train a large amount of multilingual data, generating sentence
                    embeddings that work across a range of languages, and transfers
                    knowledge effectively between them.


            XLM-R incorporates the strengths of both XLM and RoBERTa to achieve the
            best results to date on four cross-lingual understanding benchmarks and
            outperform traditional monolingual baselines under some conditions.


            Once the model is pretrained, we then fine-tune our model by using a much
            smaller amount of labeled data for the specific task.


            Since XLM-R is primarily trained in a self-supervised way, we are able to train
            on large amounts of unlabeled data for languages for which it is hard to build a
            labeled dataset. Further, our research on cross-lingual models has also
            revealed language-universal structures , in which text with the same meaning
            in different languages is represented similarly internally by the model. This
            allows models like XLM-R to learn in a language-agnostic fashion, taking
            advantage of transfer learning to learn from data in one language (e.g., Hindi)
            and use it in other languages (e.g., Spanish and Bulgarian).




                              This graphic illustrates how hate speech in different languages is represented in a single,
                              shared embedding space.

            An additional advantage is that a single multilingual classifier can produce
            predictions for text in multiple languages, which simplifies the process of
            shipping and maintaining classifiers and allows us to iterate and improve more
            quickly.

https://ai.meta.com/blog/ai-advances-to-better-detect-hate-speech/                                                                  7/10
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            Self-supervised models that
            understand content across languages,
            modalities, and tasks
            To help reduce the prevalence of hate speech and scale to other areas, we
            need to further invest in deep content semantic understanding with multimodal
            learning. One promising direction we are exploring is post-level self-supervision,
            which combines the benefits of both whole post understanding and state-of-the-
            art self-supervised and weakly supervised pretraining techniques. By devising
            tasks and pretraining objectives that are specifically tailored toward the unique
            characteristics of the posts, we can achieve deeper post-level semantic
            understanding. This allows us to learn from many more examples, both of hate
            speech and benign content, unlocking the value of unlabeled data.




                              To advance in content understanding and keep our platform safe, we rely more on systems
                              trained across multiple modalities using large amounts of unlabeled data.




            By using transfer learning and cross-lingual models, we’ll also be able to
            leverage performance gains in one language or on one task and improve
            performance with many others. It also allows us to respond quickly to emerging
            problems by building on top of the self-supervised models.



https://ai.meta.com/blog/ai-advances-to-better-detect-hate-speech/                                                              8/10
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            We’re also launching new open initiatives like the
            Hateful Memes Challenge and accompanying dataset                                   . These efforts will
            spur the broader AI research community to test new methods, compare their
            work, and benchmark their results in order to accelerate work on detecting
            multimodal hate speech. As with other open benchmarks and datasets, we
            believe we’ll all make faster progress collectively by comparing our techniques
            and results with those of others.


            While AI isn’t the only answer to the challenge of hate speech and other harmful
            content, we are encouraged by the progress we’ve made and eager to do more.




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5/15/24, 11:29 PM                                                           Spam Fighting @Scale 2016 - Engineering at Meta

          H. Kerem Cevahir, a software engineer on Facebook's Site Integrity team, shared his extensive
          experience on keeping fake accounts off of Facebook. He explained ways to measure abuse
          related to fake accounts, and introduced a hierarchy of priorities to keep in mind when
          working on fake accounts: Focus on precision, then remediation, and then detection.




          Finding Clusters of Fake Accounts at Scale


          In this talk, Jenelle Bray and David Freeman, from the security data science team at LinkedIn,
          presented their work on detecting fake accounts through clustering. They explained how to
          make clusters of related accounts and how to classify these clusters. They also explained
          tradeoffs between online and offline clustering.




          How WhatsApp Reduced Spam while Launching End-to-End Encryption


          WhatsApp went through two major projects recently as a company: Completing end-to-end
          encryption, while also ramping up anti-spam efforts. Observers familiar with spam fighting
          might worry that end-to-end encryption – by making content inaccessible to spam fighters –
          would make the task a lot harder. Matt Jones, a software engineer at WhatsApp, proved
          otherwise by explaining how it is possible to fight spam successfully without ever accessing
          content shared on the platform.




https://engineering.fb.com/2016/11/18/security/spam-fighting-scale-2016/                                                              4/10
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          Detecting Fake Inventory on Airbnb


          Airbnb is built on trust, according to Dmitry Alexeenko, engineering manager, and Angie
          Huang, software engineer, but bad actors can break this trust. Dmitry and Angie went over the
          measures Airbnb took to detect fake inventory on their platform and touched on several
          techniques, from machine learning to image similarity.




          Anti-Spam by Design: Building a Company of Spam-Fighters


          Guy Mordecai, a product manager for spam at Facebook, closed the event by explaining how
          spam-fighting efforts at technology companies can be connected to a company's larger goals.
          He shared both technical and organizational solutions to help make this happen and better
          align incentives between product teams and anti-spam teams for greater impact.




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          Working together to fight abuse: How sharing platforms and hosting platforms
          can help each other
          Jennifer Lin, Software Engineer Manager, Facebook
          Jeff Piper, Program Manager, Google


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          Hate and violent extremist views aren’t shared only on the dark web. Malevolent actors often
          use the same websites and platforms we do to spread abusive content. Therefore,
          understanding how extremists use these platforms will go a long way toward helping us
          remove that content. Jennifer and Jeff propose a breakdown of internet services into sharing
          platforms that are used to spread ideas and concepts, and hosting platforms that provide
          storage for the core assets containing these ideas. Our key insight is that sharing patterns can
          help hosting platforms identify abusive content, while hosting platforms can help sharing
          platforms prevent the spread of abusive content. In response, they’re leading a collaboration
          between Facebook and Google to identify and remove terrorist content from the companies’
          platforms. Results demonstrate that working together as an industry can strengthen the
          capacity to more quickly find abusive content and remove it from the internet.


          Selective exposure: Countering noncommercial engagement fraud
          Laurie Charpentier, Software Engineer, YouTube


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          When the internet became a big deal, videos of cute cats falling down stairs were trending
          alongside the divisive topics that we used to avoid talking about with strangers. Internet
          points went from being a fun niche currency to an important measure of popular opinion.
          Suddenly, manipulating numbers on a webpage wasn’t just another way to make money; it was
          a way to pick and choose what stories the world believed. Laurie covers key differences
          between economically motivated and ideologically motivated engagement fraud, as well as
          how these challenge historical assumptions, and she details strategies for detection and
          mitigation.


          Detecting and deflecting International Revenue Share Fraud with a little help
          from our friends
          Tim Larson, Program Manager, Microsoft
          Kevin Qi, Data Scientist, Microsoft


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          International Revenue Share Fraud (IRSF) is one of the most common fraud attacks in the
          telecom industry. Fraudsters abuse international phone numbers, drive fake telephony traffic,
          and receive shared revenue with number providers. IRSF attacks are often conducted through
          SMS/voice spam, Wangiri, second-factor authentication, and account takeovers. Since it’s
          easy for fraudsters to obtain international numbers and the cost-benefit ratio is extremely
          high, IRSF is hard to detect and prevent. IRSF has been a major fraud vector in the industry for
          some time. Tim and Kevin explain how Microsoft Identity converted investigation insights into
          a heuristic-based detection algorithm. They also share how Microsoft built an ML-based
          phone reputation system that prevented IRSF both in real time and offline.


          Preventing payment fraud with human and machine intelligence
          Baoshi Yan, Engineer Manager, Uber

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          Tackling payment fraud is incredibly important for a company’s financial bottom line and
          extremely challenging due to great financial incentives for fraudsters. This is further
          complicated by Uber’s various product lines, its global operations, and its support of several
          payment methods across countries and regions. Baoshi gives an overview of Uber’s payment
          fraud prevention system. He touches upon how machine learning is applied to various phases
          of Uber’s system, including feature engineering, fraud assessment, and potential actions taken
          against fraud. He further covers how they mitigate some of the limitations of ML with an
          efficient framework leveraging human intelligence. The combination of human and machine
          intelligence enables an effective solution that has greatly lowered payment fraud on Uber
          over the past few years.




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   Leveraging behavior analytic computation for anti-abuse
   defenses
                    Yi-Wei Lin
                    Tech Lead @ LinkedIn
                    February 11, 2021


   LinkedIn is committed to providing a trusted environment to keep our nearly
   740 million members safe. Part of that commitment involves protecting against
   various types of abuse on the platform. Fighting abuse presents many
   challenges; one example is when bad actors use bots for large-scale attacks,
   while another is when attack signals constantly evolve to adapt to existing
   defenses. In these scenarios, the adaptability of the adversary can limit the
   effectiveness of our existing anti-abuse models over time, which is why it's
   important to have both high-quality features and a faster response time to
   enhance our defense resilience.

   Behavior analytic computation is a newer concept that utilizes simple arithmetic
   and logarithmic operations on one or a few existing raw features to capture the
   key anomalous patterns from bot-driven attacks. It can extract more robust
   features with well-preserved automation behavior, which improves defense
   resilience against fast-changing attack signals. Due to the lightweight
   computation, the extracted signatures can be used directly as the label to defend
   against large-scale attacks and provide fast defense turnaround. At LinkedIn,
   behavior analytic computation has not only been used to create various robust
   features, enhancing machine learning models to detect bots, but has also
   brought significant improvement in response time and defense coverage on
   sudden and new abuse attacks.

   In this blog post, we will first review the challenges and limitations of applying
   machine learning in the anti-abuse domain. Then, we will introduce the concept


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   Label and feature limitations
   Machine learning has been an important technique to tackle various types of
   large-scale internet abuse at LinkedIn. Supervised machine learning approaches
   are commonly used, as abuse behaviors unperceived by humans can be learned
   from the given labelled data. However, because abuse is determined by both
   intention and behavior, the ground truth is difficult to obtain in many abuse
   scenarios, and normally only partial abuse data can be labeled, which could lead
   to biased or underperforming models.

   As the labeled abuse data is limited and more unsupervised approaches are
   explored, the feature quality becomes the key for machine learning models to
   succeed. The features used by models normally belong within two categories: 1)
   value features and 2) counting features. Value features are the most common
   category; they directly use the value of raw features, such as IP address, name,
   email, etc. Some abuse patterns can be found by finding identical or similar
   feature values among massive requests/users (e.g., clustering); some abuse
   patterns can be found by identifying different feature values from the same
   entity (e.g., account takeover). Counting features are based on the feature
   counting numbers within a certain time period, which are commonly used for
   large-scale abuse prevention. Various machine learning approaches
   (supervised/unsupervised) basically try to find the complex relationship
   between these features.

   When abusers start to change their signals once anti-abuse defenses are applied,
   we often see both value features and counting features are subject to be
   compromised. Rules and models based on value features often need to adjust
   parameters or retrain if feature values are changed/spoofed. Counting features
   will lose the visibility to differentiate bot and human traffic once abusers lower
   their request rate. The fact that features are constantly altered or changed can
   significantly degrade the performance of rules and models.
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   Higher quality features to capture more insights and provide higher resistance
   to attack variability are essential for successful anti-abuse defense. There are
   other technologies that could serve the purpose, but they often require collecting
   additional user information.


   Behavior analytic computation
   Behavior analytic computation, on the other hand, can provide high quality
   features for bot-driven attacks without collecting extra user data. The idea of
   behavior analytic computation is to capture the key bot/automation signatures
   hidden among the existing feature values or numbers—these signatures can be
   preserved even if the features are constantly changed. It intelligently utilizes
   simple arithmetic and logarithmic operations to transform existing features into
   more robust ones in constant time. Two key operations of behavior analytic
   computation are ratio and logarithm. Ratio can capture the relative change of
   numbers instead of absolute numbers; logarithm can amplify particular ratio
   values that differentiate bot/automation traffic and human traffic patterns.

   Here are some examples to demonstrate the concept of behavior analytic
   computation:




   Fig. 1. Request distribution of top values of Y feature when a certain value of X
   feature is selected

   When two features are independent of each other, statistically we will see some
   kinds of natural distributions between them. Assuming X and Y are two feature
   types, xi and yi are values of the feature, respectively. When a particular value x1
   is selected and the request numbers from top values of Y within a certain time

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   Y, which normally indicates the selected x1 is a legitimate one used by humans,
   as it is independent to the values of Y used. On the other hand, if we see the
   distribution like Fig. 1(b) where one Y value, y1, dominates the majority of the
   traffic, it indicates x1 and y1 are highly correlated and it is possibly from bots.
   Fig. 1(c) shows another distribution where several yi counts are abnormally
   similar, which is an evidence of potential bots uniformly iterating over requests
   with multiple Y values.

   Behavior analytic computation captures such a distribution signature into a
   single score by applying several arithmetic and logarithmic operations on those
   yi counts. More natural distributions (Fig. 1(a)) will have lower scores, and
   abnormal ones (Figs. 1(b) and (c)) will have higher scores. When bad actors
   change the X or Y values/numbers, the automation behavior presented by the
   distributions can still be captured by the extracted distribution scores. The
   lightweight computation on any arbitrary time period makes such distribution
   signature scores powerful as both features and labels. At LinkedIn, these types
   of extracted distribution signatures have improved our defense response time
   for large-scale bot-driven attacks by more than an order of magnitude.




   Fig. 2. Request temporal plots of two different users

   Another example where behavior analytic computation can contribute is by
   improving the quality of counters. Counters are commonly used against large-
   scale abuse, as higher counter values typically reflect the likelihood of
   automation-driven abuse. However, certain behavioral and structural
   information that is not captured by counters will also be missed by models if
   only typical counters are used as the features. Fig. 2 shows two examples of the
   requests from a single user within one hour where the x-axis is time and y-axis

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   found on Fig. 2(a), the requests on Fig. 2(b) contain certain regular patterns
   indicating automation behind the scenes.

   Behavior analytic computation again captures such a plot signature into a single
   automation score where more human-like plots (Fig. 2(a)) have lower scores
   and automation-like plots (Fig. 2(b)) have higher scores. The extracted score is
   able to capture the key automation pattern even if users constantly adjust
   different regularities within the same time period. The same lightweight
   computation continues to provide speed and flexibility to the defense. More
   importantly, the extracted automation score is able to fill the gap where typical
   counters fail to differentiate between human requests or bot-driven automation
   requests at low counting numbers. Due to its capability to detect low-frequency
   automation, this extracted automation score has almost doubled our machine
   learning model recall on detecting automation-driven abuse at LinkedIn.

   Overall, we are able to leverage behavior analytic computation for our anti-
   abuse defense from three different aspects:

   Robust features
   Behavior analytic computation can capture automation signatures as robust
   features, thus improving model and rule resilience against fast-changing
   attacks. When defending against an actual dynamic attack, the extracted feature
   can bring significant robustness improvements - greatly extending the time of
   protection by more than two orders of magnitude.

   Label expansion
   The other key merit of behavior analytic computation is the ability to expand
   abuse labels. The typical anti-abuse defense is based on supervised models.
   However, for many bot-driven abuse types, such as scraping or account
   takeover, often only a small portion of all abusive requests/users are labeled,
   which limits the effectiveness of the models. Behavior analytic computation
   provides an unsupervised approach where each extracted automation signature
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   in many abuse verticals at LinkedIn.

   Prompt response
   As bad actors can persistently adapt to penetrate existing defenses and
   additional applications on the platform can provide entry points for new abuse
   scenarios, anti-abuse defense inevitably needs to continually handle new abuse
   scenarios and behaviors. Quick turnaround to the new abuse activities becomes
   critical to properly contain the overall damage. Unlike other robust features,
   such as browser or device fingerprinting, which often require longer engineering
   time and higher cost to onboard, behavior analytic computation can provide a
   prompt response to evolving attack signals to mitigate the threat. When facing
   new abuse scenarios where early assessment of existing features is critical to
   define anti-abuse strategy, behavior analytic computation’s lightweight
   extraction can also offer fast offline analysis and quick preliminary defense
   onboarding.


   Conclusions
   Bad actors will always continue to change and evolve their behaviors, so
   resilience of the defense and fast turnaround are essential to ensure long lasting
   anti-abuse success. Behavior analytic computation is a newer concept that offers
   a lightweight and quick defense onboarding based on existing features, while
   preserving member privacy. The extracted automation signatures can not only
   enrich the feature set, enhancing defense robustness, but also provide expanded
   abuse labels to significantly improve incident response time and coverage for
   large-scale bot-driven attacks.


   Acknowledgements
   Fighting abuse at LinkedIn is an ongoing effort requiring extensive
   collaboration between multiple teams. I would like to acknowledge our partners
   from the following teams, without whom this would not have been possible:
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           Transcript
           0:00
           clearly there's one topic that we have
           0:03
           to start with it's been on everybody's
           0:05
           lips for the last week or so
           0:07
           you bought WhatsApp for 19 billion
           0:09
           dollars why did you do it and what does
           0:11
           it mean
           0:13
           well WhatsApp is a great company and
           0:15
           it's a and it's a great fit for us
           0:17
           already almost half a billion people uh
           0:21
           love using WhatsApp for for messaging
           0:23
           and it's the most engaging app that that
           0:27
           we've ever seen exist on mobile uh by
           0:30
           far about 70 percent of people who use
           0:32
           WhatsApp use it every day which kind of
           0:34
           blows away everything else that's out
           0:36
           there but you paid 19 billion dollars
           0:38
           for it I just trying to put myself in
           0:40
           the head of your board here right you
           0:43
           know they they do probably agree with
           0:45
           you that long-term making the world more
           0:48
           connected and open is a great thing but
           0:50
           then there are numbers people a lot of
           0:52



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           them there's two pieces I think to think
           0:54
           about the first is it is a company by
           0:57
           itself and what it's going to be worth
           0:58
           and then there's the Strategic value and
           1:01
           what we can do together and I actually
           1:03
           just think that by itself it's worth
           1:05
           more than 19 billion dollars I mean it's
           1:07
           it's hard to exactly make that case
           1:08
           today because they have so little
           1:11
           Revenue compared to that number but I
           1:13
           mean the reality is there are very few
           1:14
           services that reach a billion people in
           1:16
           the world they're all incredibly
           1:18
           valuable much more valuable than that so
           1:20
           I mean there's a chance to play there
           1:21
           already I could be wrong I mean it's
           1:22
           like there is some chance that this is
           1:24
           you know the one service that gets to a
           1:26
           billion people and ends up not being
           1:28
           that valuable I don't think I am
           1:30
           um I I and you know you can look at
           1:32
           other messaging apps that are out there
           1:33
           you know whether it's cacao or line or
           1:35



                                               https://youtu.be/vgoctV4AcNw


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           WeChat that already are monetizing at a
           1:38
           level of two to three dollars per person
           1:39
           with pretty early efforts and I think
           1:41
           that that shows that if if we can do a
           1:43
           pretty good job of helping WhatsApp to
           1:45
           grow that this is just going to be a
           1:46
           huge business right so even just
           1:48
           independently um I think it's it's quite
           1:50
           a good bet now then the question is why
           1:53
           why were we excited to do this together
           1:55
           um so I was excited and Yan was um
           1:58
           because of the internet.org vision and
           2:00
           helping to connect everyone in the world
           2:01
           which I think clearly we can do we get a
           2:03
           lot of Leverage from working together on
           2:04
           that
           2:05
           um the other piece is that by being a
           2:07
           part of Facebook it um it makes it that
           2:10
           they can focus for the next five years
           2:12
           or so purely on connecting more people




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      multiple redundant 10Gbps links. It was during this research when we found
      the main blocker:


      We have no control over IP addressing in EC2.


      While this hadn’t been an issue before, it was impassable if we were to
      establish links with Facebook, as their internal IP space intersected with that
      of EC2. After much deliberation, we began to understand that we had one
      option: migrate to VPC first.


      VPC launched in mid 2009 as a companion product to the existing EC2
      offering, though it quickly became considered to be EC2 2.0, as it remedied
      many of the commonly accepted EC2 downfalls. At face value, the migration
      didn’t seem conceptually difficult, as VPC was just another software
      abstraction on top of the same hardware, yet it was much more complex, with
      a few main issues:


            You cannot migrate a running instance.

            AWS offers no migration plan.

            EC2 and VPC do not share security groups.


      This last point lingered in our heads as we tried to come up with a solution.
      What would it take to make EC2 and VPC talk to each other as if the security
      groups could negotiate? It seemed insurmountable: we had thousands of
      running instances in EC2 and we could not take any downtime. We were
      looking for a solution that would allow us to migrate at our own pace, moving
      partial and full tiers as needed, with secure communication between both
      sides.


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      So, we created Neti, a dynamic iptables-based firewall manipulation daemon,
      written in Python, and backed by Zookeeper.


      Design and Implementation of Neti


      Neti is the name of the Sumerian gatekeeper to the Underworld. The name
      seemed fitting, as we needed an all-knowing gatekeeper that would control
      access to and from both EC2 and VPC. We had several requirements during
      the design process:


            Security: Neti must keep unauthorized traffic off of our instances on
            both sides.

            Abstraction: Neti must allow the instances on both sides to
            communicate seamlessly, without knowledge at the application layer
            about where each instance was located.

            Automation: We have too many instances to curate access lists, so Neti
            must be fully aware of any instance changes in either network. It also
            must be deployable and upgradeable using configuration management
            software.

            Performance: All of this must occur without any significant increases in
            latency.


      Due to the lack of integration options between EC2 and VPC, the only route
      for communication is over the instances’ public interfaces. Using EC2
      security groups, each group would need to be aware of the public IP of every
      instance with which it communicated. If we had tens of instances (or even
      hundreds), this might have been manageable. Yet, with thousands of
      instances on each side, trying to control the security group access lists would


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      be unwieldy. Also, security groups in EC2 tend to negatively affect network
      performance as the number of rules increases.


      So, we looked towards iptables to provide the security we needed. Iptables is
      the standard for Linux packet filtering, and can scale much better than EC2
      security groups. Each instance has its own iptables firewall, and Neti
      manipulates the iptables rules as needed. Once the instances are locked down
      with iptables, the EC2 and VPC security groups get opened up to allow all
      traffic from any public AWS IP range.


      Additionally, iptables helps to provide a mechanism for achieving our desired
      abstraction layer. Neti assigns each instance an “overlay” IP address which is
      used at the application layer for communication. This IP is configured as a
      DNAT record, pointing at the instance’s IP. This way, the application sees the
      same IP regardless of the instance’s location in EC2 or VPC.


      All of this is coordinated by Zookeeper, which keeps all of the registration
      information about every running instances.


      Architecture


      There are three components to the system: the Neti daemon, a Zookeeper
      cluster, and a set of Zookeeper proxies.


      Neti Daemon: The Neti software must be run on each instance.


      Zookeeper Cluster: You must run a Zookeeper cluster within VPC, configured
      with its own security group.



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        2. Neti sends up the IP information and network location to Zookeeper to
            complete registration.

        3. Neti downloads the current list of running instances from Zookeeper,
            including all of their public, private, and overlay IPs, as well as the
            network they live in.

        4. The list is parsed, and iptables filter and DNAT rules are generated for
            each of the entries.

        5. Neti sets a watch on the Zookeeper instance list.


      Concurrently, as soon as step 2 finishes, all the rest of the registered
      instances get their Zookeeper watches triggered with the new set of instance
      data, and their iptables configs get updated automatically.


      Once this dance is complete, all of the instances have full access to each
      other, and are successfully blocking any unauthorized traffic. If another
      instance spins up, this process starts again; if any instance dies, Zookeeper
      notifies all of the Neti daemons of the change and rules are updated within
      seconds across the entire fleet.


      Overlay IPs and you


      The overlay IP makes all instances agnostic to the location of the target
      instance. For example, let’s say that both Walden and Sierra are frontend
      instances and Hudson is a database server. Due to latency and security, you
      do not want Walden to communicate with Hudson over public IPs. Yet, you
      need Sierra to access Hudson over public IPs, as Hudson is still in EC2. With
      overlay IPs you do not have to build two different DB configs for each side,
      continuously updating and shipping the changes as you migrate servers to

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      VPC. You simply use the overlay IP, and Neti handles choosing the optimal
      path.


      Performance issues, or how I learned to stop restoring ip lists and
      love ipset


      In v1 of the design, we were purely using iptables to manage all of the NAT
      and filter rules, leveraging the built-in iptables-save and iptables-restore
      tools. However, as we tested larger numbers of rules in iptables we started to
      hit performance issues. The problem occurs because every single request
      must do a O(n) lookup on the iptables filter to determine if it may proceed.
      Testing 8000 rules on one of our Memcached instances caused the network
      throughput to drop by an order of magnitude.


      Clearly, we couldn’t continue if this was the case, so we looked elsewhere.
      After finding an article on iptables performance, we switched to using ipset
      for the implementation. It had a few major benefits:


        1. It stored the list of IPs in a hash table in memory, offering O(1)
            membership checks

        2. The set of IPs could be updated on the fly with simple command line
            tools.

        3. It provided more peace of mind about the system, because we did not
            have to reload the entire iptables filter each and every time a host
            changed.


      With ipset in place, we tested well over 8000 rules without any degradation
      of network throughput.


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      The Migration
      For a migration like this, we knew that preparation was key. There were going
      to be parts of the system on either side of the “gap” at all times, with different
      timelines, strategies, and requirements for each tier. A quick stop/start
      forklift of the tiers would not work without downtime, so the entire migration
      had to be a finesse game, with the end-to-end process mapped out, analyzed,
      monitored, and executed.


      Inventory


      First, we had to take stock of everything. Everything. We spent a good deal of
      time cataloging every system in the fleet (remember spreadsheets?), along
      with their individual migration strategies and the potential problems that
      they may have. This effort had a three-pronged benefit:


            We established confidence that each system could be migrated after
            planning out each step.

            We constructed a high level view of our infrastructure and understood the
            weak points in terms of failover scenarios.

            We found many systems that were either unnecessary or suitable for
            consolidation.


      This migration (and the one to follow) allowed us to distill our infrastructure
      into a core set of critical systems, greatly easing migration and management
      going forward.


      Tag all the things!



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      With the sheer number of instances we had to migrate, we relied on the
      instance-tagging feature of EC2. Most of our instance reporting and lookup
      tools were already built upon tags, tracking instance name, role, and some
      chef attributes, so adding some new metadata was simple. We used tags to
      track the installed Neti version, the overlay IP, and various Neti state
      information.


      Tags also became useful in monitoring the process. We could run ad hoc
      reports to see how many instances have been migrated, how many were
      running old versions of Neti, and if any weren’t running Neti at all. We built
      some of these scripts into Sensu checks as well, so that we could be alerted to
      any issues. Having an arsenal of scripts to constantly watch the progress and
      status was essential to a smooth migration.


      With Neti distributed throughout our infrastructure, we proceeded to flip on
      all access to public traffic into the AWS security groups. At this point, Neti
      controlled all access into these systems, and we could begin moving server
      tiers. Thanks to Neti, the entire infrastructure appeared to be operating on
      one large, flat network, simplifying the migration strategy.


      Most tiers were migrated by bringing up identical tiers in VPC and cutting
      traffic over. For example:


            Django: Our frontend tiers were stateless, so this was a simple matter of
            bringing up new hosts in VPC, and shutting down the old ones.

            PostgreSQL: Using the streaming replication built into version 9.2, we
            were able to bring up master/slave replica sets in VPC, and cut to them
            with application-level controls. With this method, two of us cut over our
            entire DB fleet to VPC in less than 2 hours once the tiers were online and
            replicating.
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            Cassandra: The VPC hosts were brought online as members of another
            datacenter with respect to Cassandra configs, so replication and migration
            was simple.

            Redis: New master/slave replica sets were synced to the current
            production slave (to avoid BGSAVE on the master) and the configs were
            cut over.


      Hiccups


      All in all, we had fewer issues than we had expected, especially considering
      this complex migration strategy. One problem was with conntrack. I can hear
      the groans already. Conntrack was a necessary evil in this scenario so that
      iptables did not need to be parsed on every connection. Here’s what
      happened: The instances did not have conntrack enabled, so when Neti was
      started, it built and loaded the iptables rules, which in turn enabled
      conntrack. On an instance with a lot of traffic, for example a Memcached
      instance, it takes a matter of seconds to overwhelm the default max of
      conntrack entries (65536). Then, new connections are denied, making the
      instance rather useless.


      Mitigating this issue was rather simple. We forced chef to run a modprobe
      conntrack and set the nf_conntrack_max to a much higher limit before
      installing and starting Neti.


      Conclusion
      It took just less than 3 weeks to migrate everything to VPC. In the end, we
      built a large set of skills and guidelines that would help our next migration go
      just as smoothly. The main takeaways were:


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            Document everything. A well-documented infrastructure ensures that
            you will not forget any dependencies during the migration, and well
            thought out migration plans for each tier minimizes the roadblocks that
            you will hit. During the migration, you’ll be running in a heterogeneous
            environment, and you don’t want to get stuck there while you figure out
            the next steps.

            Tooling can make or break a project. Investing time in Neti and
            expanding our tools to track the Neti rollout and audit the migration
            status were key to the migration being successful. Your tooling deserves
            love.

            Don’t fear the low-level. Getting down and dirty with Iptables enabled
            this migration. This meant spending a lot of development time much
            closer to the kernel than normal, but this feat would not have been
            possible otherwise.


      We have open sourced Neti and it’s companion Neti-cookbook for Chef. We
      hope that many people can benefit from our work on the problem and that it
      will ease their migration into VPC.


      By Nick Shortway, Instagram infrastructure engineer




          AWS           Cloud Computing               Instagram




https://instagram-engineering.com/migrating-from-aws-to-aws-f4b16a65e13c                                                                          11/12
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                    It pushes us to improve more quickly.
                    It offers people visibility into how we enforce our policies.
                    It gives people access to the same data we use to measure our progress
                    internally.



          The Community Standards Enforcement Report is a type of data transparency
          reporting that allows people, both inside and outside of Meta, to review our
          enforcement decisions and judge our performance. This includes how well our
          enforcement technology can detect and take action on violating content and the
          fairness and accuracy of review team decisions.

          The report also demonstrates how we continually invest in technology and people
          to reduce harm and promote safety—all while balancing freedom of expression.
          Over time, we’ve added more categories and subsets of data that we share with
          the public, and we’ll continue to do so moving forward.




          What the Community Standards Enforcement Report
          measures

          We use 5 metrics to tell the story of what we're doing to uphold our Community
          Standards and Community Guidelines. They include:



                Prevalence

          Estimates the percentage of times people see violating content on the Facebook
          app and Instagram.




                Content actioned


                Proactive rate


https://transparency.meta.com/mg-mg/policies/improving/sharing-results-enforcement-report/                                                 2/4
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https://transparency.meta.com/mg-mg/policies/improving/sharing-results-enforcement-report/                                                 4/4
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   information is captured in prevalence.) After the cyberattack, content actioned
   might decrease dramatically, even if our detection moving forward improves.




   A piece of content can be any number of things including a post, photo, video or comment.




   How we count content and actions

   How we count individual pieces of content can be complex and has evolved over
   time. In July 2018, we updated our methodology to clarify how many discrete
   pieces of content we’ve taken action on for violating our policies, and we will
   continue to mature and improve our methodology as part of our commitment to
   providing the most accurate and meaningful metrics. Overall, our intention is to
   provide an accurate representation of the total number of content items we take
   action on for violating our policies.

   There are some differences in how we count content on Facebook versus
   Instagram.

   On Facebook, a post with no photo or video or a single photo or video counts as
   one piece of content. That means all of the following, if removed, would be
   counted as one piece of content actioned: a post with one photo, which is
   violating; a post with text, which is violating; and a post with text and one photo,
   one or both of which is violating.


https://transparency.meta.com/mg-mg/policies/improving/content-actioned-metric/                                         2/6
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   When a Facebook post has multiple photos or videos, we count each photo or
   video as a piece of content. For example, if we remove two violating photos from
   a Facebook post with four photos, we would count this as two pieces of content
   actioned: one for each photo removed. If we remove the entire post, then we
   count the post as well. So for example, if we remove a Facebook post with four
   photos, we would count this as five pieces of content actioned: one for each
   photo and one for the post. If we only remove some of the attached photos and
   videos from a post, we only count those pieces of content.

   On Instagram, we remove the whole post if it contains violating content, and we
   count this as one piece of content actioned, regardless of how many photos or
   videos there are in the post.

   At times, a piece of content will be found to violate multiple standards. For the
   purpose of measuring, we attribute the action to only one primary violation.
   Typically this will be the violation of the most severe standard. In other cases, we
   ask the reviewer to make a decision about the primary reason for violation.




   How we label violations

   Every time we take action on a piece of content, we label the content with the
   policy it violated. When reviewers look at reports, they first select whether the
   material violates our policies or not. If they select yes, they then label with the
   violation type.

   In the past, we didn’t require our reviewers to label the violations when they made
   decisions. Instead, we relied on information that users gave us when they
   submitted reports. In 2017, we upgraded our review process to record more
   granular information about why reviewers removed a piece of content, which
   allowed us to establish more accurate metrics. We also updated our detection
   technology so it labels violations as they’re found, flagged or removed using the
   same labels as our reviewer decisions.



https://transparency.meta.com/mg-mg/policies/improving/content-actioned-metric/                                         3/6
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   To count the content acted on for a specific standard violation, we must label the violation
   each time we take an action.




   Accounts actioned on Facebook for being fake

   For fake accounts, we report “accounts actioned” as opposed to “content
   actioned.” “Accounts actioned” is the number of accounts we disable for being
   fake.




   Caveats

   Content actioned and accounts actioned don’t include instances where we block
   content or accounts from being created in the first place, as we do when we
   detect spammers attempting to post with high frequency or the creation of a
   fake account. If we included these blocks, it would dramatically increase the
   numbers (likely by millions a day) for fake accounts disabled and spam content
   removed.

https://transparency.meta.com/mg-mg/policies/improving/content-actioned-metric/                                         4/6
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!#$ÿ#!52ÿ!#$ÿ*%-+)#$ÿ#!52ÿ(!ÿ+7ÿ%(6/!ÿ#&&#)4+,0ÿ+,:+1+:6#$-2ÿ& ,ÿ&#&ÿ)(,&,&ÿ-(6$:,/&ÿ;
(,ÿ& ÿ*$#&7(!5.ÿ !/-ÿ#ÿ$(&ÿ(7ÿ)#&0(!+-ÿ(7ÿ&#&ÿ&#&ÿ' ÿ)#,ÿ0&ÿ+,&(2ÿ;6&ÿ& ,ÿ& !/-ÿ;!(#:
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625ÿ6726ÿ ÿ!5295ÿ0ÿ678ÿ67545ÿ245ÿ67839ÿ6726ÿ85456ÿ5 5ÿ356ÿ43ÿ0ÿ 6ÿ678
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67 95ÿ5C2 59ÿ245ÿ0ÿ678ÿ675ÿ45286ÿ89ÿ29ÿ6726ÿ0ÿ356ÿ67839ÿ43ÿ75ÿ0ÿ9 52ÿ!8ÿ0
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67839ÿ43ÿ55ÿ685ÿ6859ÿEF 265GÿH2;Iÿ/23ÿ172;:5:09ÿ./030ÿ;0>2;I3ÿ/0;0Gÿ0
  5492ÿ8ÿ 296ÿ582ÿ55 ÿ 5985ÿ2ÿ0ÿ2!9 65ÿ86ÿ865ÿ6ÿ55ÿ675
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O4ÿ=48ÿ>4P0ÿ./0>ÿ94Q,RÿS0;383<ÿ:,ÿH=2,>2;<ÿQ/0;0ÿ=48ÿ;0>4P0ÿ:.R
T59
U2,ÿ+ÿ23Iÿ=48ÿ./2.<ÿ3V01:5:1277=ÿ2@48.ÿH=2,>2;Rÿ64Qÿ9:9ÿ=48ÿ5007ÿ2@48.ÿ./430ÿI:77:,?3
2,9ÿ./0ÿ@72>0ÿ./2.ÿ34>0ÿV04V70ÿV8.ÿ4,ÿW210@44IRÿX4ÿ=48ÿ5007ÿ;03V4,3:@70ÿ54;ÿ./430
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T59ÿ0ÿ678ÿ6726ÿ675459ÿ2ÿ65448!5ÿ986268ÿ7545ÿ675459ÿ5483ÿ9562482ÿ855ÿ2
86568ÿ06ÿ89ÿ524ÿ675ÿ459 98!886ÿ ÿ2ÿ ÿ675ÿ2549ÿ7 ÿ545ÿ8 5ÿ67545ÿ ÿ675
35456ÿ88ÿ9856ÿ675ÿ85456ÿ 9ÿ7 ÿ545ÿ8 5ÿ2ÿ0ÿ678ÿ6726ÿ5ÿ725ÿ2
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012345675ÿ439ÿ0 7ÿ5 ÿ2965341 ÿ565ÿ ÿ296ÿ3ÿ ÿ7 ÿ53ÿ16ÿ4ÿ565ÿ ÿ3ÿ65ÿ
7 ÿ53ÿ  ÿ07006759ÿ4612 ÿ2ÿ5 ÿ07 51 75ÿ07ÿ2 329ÿ3ÿ2 6ÿ41 ÿ5
357ÿ64ÿ431ÿ 4ÿ ÿ05ÿ53ÿ0 750ÿ3ÿ64ÿ5 ÿ04ÿ3ÿ64ÿ24313507ÿ65ÿ67
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 ÿ09ÿ496503702ÿ05ÿ009ÿ305ÿ67ÿ39ÿ5 4ÿ3ÿ67ÿ 92ÿÿ0 750ÿ565
ÿ675ÿ16ÿ4ÿ565ÿ34ÿ2435ÿ64ÿÿ34ÿ33ÿ5ÿ5 ÿ7ÿ3ÿ5 ÿ6ÿ35 4ÿ2 329
96107ÿÿ34ÿ735ÿ0ÿ65699ÿ735ÿ5 ÿ507ÿ565ÿ16554ÿ53ÿ1 ÿ5ÿ735ÿ565ÿ 4ÿ079ÿ507
565ÿ622 7ÿ37ÿ633ÿ0ÿ3776ÿ ÿ33ÿ!0ÿ0ÿ16705ÿ" 329ÿÿ5339ÿ34ÿ33ÿ67
6ÿ5ÿÿ507ÿ565ÿ ÿ6 ÿ6ÿ964ÿ423700905ÿ53ÿ16ÿ4ÿ565ÿ5 ÿ33ÿ0ÿ612900ÿ67
53ÿ3ÿ 4507ÿ ÿ67ÿ53ÿ105065ÿ5 ÿ6
#5ÿ1 ÿ0 ÿ3ÿ6735 4ÿ$6129ÿ 7ÿ#0 ÿ61 ÿ2ÿ37 ÿ3ÿ5 ÿ54409ÿÿ6ÿ 4
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50ÿ 4ÿ90 ÿ(!0ÿ0ÿ54409ÿ!0ÿ0ÿ735ÿ65ÿ ÿ675ÿ5 ÿ2435ÿ53ÿ ÿ!0ÿ0ÿ54409
67ÿ0ÿ50ÿ0ÿ622 707ÿ67ÿ ÿ67ÿ 92ÿ24 75ÿ05ÿ5 7ÿ ÿ6 ÿ6ÿ423700905ÿ53)
3ÿ65ÿ0ÿ ÿ3ÿ ÿ533ÿ5 ÿ501 ÿ53ÿ09ÿÿ5339ÿ67ÿ53ÿ04ÿ6ÿ561ÿ3ÿ*+++ÿ2 329ÿ53
 ÿ69ÿ53ÿ4237ÿ53ÿ53ÿ90 ÿ0 3ÿ0507ÿ,+ÿ1075ÿ-35ÿ37575ÿ37ÿ633ÿ ÿ54
53ÿ 5ÿ53ÿ0507ÿ34ÿ34ÿ0507ÿ6ÿ6ÿ0ÿ05ÿ31 ÿ2ÿ67ÿ3039ÿ0ÿ31 37ÿ3776ÿ641
5 19 ÿ3ÿ375ÿ6 ÿ6ÿ6ÿ34ÿ34ÿ.3ÿ6 ÿ53ÿ 5ÿ53ÿ565ÿ/09ÿ05ÿ699ÿ5 ÿ1099037
3ÿ0 3ÿ565ÿ64ÿ235ÿ ÿ6ÿ53ÿ09ÿ50ÿ310765037ÿ3ÿ67ÿÿ51ÿ565ÿ39ÿ96
37575ÿ565ÿ34ÿ4 0 4ÿ39ÿ933ÿ65ÿ67ÿ5 7ÿ04ÿ6ÿ2 00ÿ561ÿ54607 ÿ67ÿ 065
53ÿ565ÿ3ÿ565ÿ6ÿ5 ÿ39ÿ4 0ÿ699ÿ5 ÿ507ÿ 4ÿ/09ÿ67ÿ6 ÿ6ÿ 4ÿ93ÿ9657
7ÿ5 ÿ965ÿ0$ÿ1375ÿ  ÿ 7ÿ69ÿ53ÿ 92ÿ045ÿ4237 4ÿ 5ÿ53ÿ134ÿ567ÿ6ÿ5367
2 329ÿ3ÿ7  ÿ 92ÿ/09ÿ 6ÿ3ÿ565ÿ345
0ÿ2345ÿ56ÿ78489:ÿ;<ÿ64ÿ4=29ÿ>?ÿ53@A84Bÿ3>6;5ÿ96C5ÿ67ÿ2:35D9ÿB684Bÿ64ÿ56E3?ÿ285:
F649=CG358G=9ÿG=C9;9ÿ@8>=C3@9HÿI:?ÿ264D5ÿ?6;ÿJ3A=ÿF:68F=9ÿ5:=C=Kÿ6CÿE6ÿ?6;ÿ7==@ÿ@8A=
?6;ÿL;95ÿE64D5ÿ2345ÿ56ÿJ3A=ÿ34?Kÿ84ÿ5=CJ9ÿ67ÿJ=E83ÿ34Eÿ2:35ÿ9:6;@Eÿ>=ÿHHHÿM62ÿE6ÿ?6;
C=9<64Eÿ2:=4ÿF649=CG358G=9ÿ93?KÿNO6;ÿE64D5ÿ:3G=ÿ=46;B:ÿF649=CG358G=ÿ95;77ÿ64ÿ5:=
<@3576CJPQÿO6;ÿB;?9ÿ:3G=ÿC=9<64E=Eÿ34Eÿ96J=ÿ<=6<@=ÿ5:84Aÿ?6;ÿ6G=CRC=9<64E=EHÿM62
E6ÿ?6;ÿ5:84Aÿ?6;DG=ÿE64=P
 99ÿÿ507ÿ05ÿ 5ÿ6ÿ53ÿ5 ÿ34ÿ2407029SÿT007ÿ2 329ÿ6ÿ30ÿ37ÿ5 ÿ37 ÿ67ÿ67
 207ÿ5 ÿ311705ÿ67ÿ2 329ÿ6ÿ37ÿ5 ÿ35 4ÿ67ÿU4ÿ06ÿ57ÿ53ÿ ÿ53ÿ675ÿ53
  0 ÿ2 329ÿ6ÿ30ÿ67ÿ95ÿ2 329ÿ$24ÿ6ÿ0 ÿ467 ÿ3ÿ3207037ÿÿ375ÿ507ÿ565ÿ6
90 469ÿ34ÿ374650 ÿ507Vÿ53ÿ64ÿ5 ÿ34ÿ07ÿ5 ÿW
I:35ÿ3C=ÿ?6;Cÿ<6@858F3@ÿ@=3484B9PÿX6ÿ?6;ÿ:3G=ÿ5:=JP
                                                                                  PX0617-008
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0ÿ2345ÿ36789ÿ 52 2ÿ 85ÿ54ÿ55 ÿ3ÿ0ÿ79ÿ845ÿ939ÿ3ÿ9ÿ3ÿÿ7ÿ 52 2
9ÿ7ÿ0ÿ53ÿ0ÿ54ÿ789 75ÿ7ÿ 4397ÿ4574ÿ0ÿÿ0ÿ55ÿ9349ÿ9ÿ3
8654ÿ7ÿ5945 45584ÿ!"#$%ÿ2ÿÿ3ÿ478 ÿ74ÿ7ÿ 4397ÿ4574ÿ939ÿ0
9ÿ4527&5ÿ939ÿ5ÿ55ÿ97ÿ52845ÿ95ÿ67454ÿ3ÿ57425ÿ3 ÿ689ÿ939ÿ37
85493 ÿ939ÿ95ÿ655 9ÿ7ÿ 4397ÿ679ÿ97ÿ95ÿ27894ÿ3ÿ95ÿ5277ÿ3ÿ3ÿ3
835ÿ2ÿ49ÿ 85ÿ74ÿ95ÿÿ 7ÿ57 5ÿ7ÿ345ÿ8728595ÿ545ÿÿ2456
  74939ÿ0ÿ53ÿ05'
()*ÿ,-,ÿ.)$ÿ/001ÿ23)$4ÿ450ÿ3)6,06ÿ%072624-)8%ÿ2%ÿ2ÿ9-4-:08;
09ÿ3ÿ954465ÿ<54465
!524ÿ,-,ÿ.)$ÿ,);ÿ"-,ÿ.)$ÿ,)ÿ28.45-8=ÿ30%-,0%ÿ,)8240ÿ>)80.ÿ)6ÿ%4$//ÿ1-?0ÿ###
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3ÿ59365ÿ3ÿ79ÿ7ÿ95ÿ4394829845ÿ939ÿ7ÿÿB5ÿ3ÿ24 ÿ275ÿ8 ÿ78ÿ239ÿD89
    ÿ9 ÿ98 ÿ8 ÿ5395ÿ7ÿ9545ÿÿ9545ÿ3ÿ9545ÿ365ÿ97ÿ5ÿ789
E89ÿ0ÿ53ÿ93ÿ36789ÿ723ÿ899ÿ75ÿ7ÿ95ÿ453ÿ478ÿ759ÿ45259ÿ7ÿ74ÿ39
9 ÿ27 3ÿ3ÿ95ÿ329ÿ939ÿ3ÿ278 5ÿ7ÿ57 5ÿ278'
F50ÿ!-11806%#ÿGÿ52,ÿ450>ÿ)8ÿ450ÿ7),92%4#ÿH025Iÿ450.J60ÿ=6024#
ÿ9349ÿ3ÿ843 54ÿ97ÿ43 5ÿKLÿ578ÿ97ÿ63ÿ75ÿ547ÿ789ÿ3ÿ95ÿ55ÿ8 ÿ43 
745ÿ93ÿKÿ 7ÿMÿ9 ÿ9ÿD89ÿ59ÿ43ÿ3ÿ0ÿ9ÿ9ÿ3ÿ4539ÿ5N3 5ÿ7ÿ5
78ÿ5ÿ57 5ÿ3ÿ725ÿ39ÿ7 95ÿ9ÿ23ÿ3 5ÿ679ÿ869395ÿÿ954 ÿ7ÿ95
 843 54ÿ3ÿD89ÿ95ÿ5 453ÿ7ÿ7ÿ8 749ÿ0ÿ9ÿÿ37ÿ453ÿ538ÿMÿ0
9ÿ3ÿ276397ÿ7ÿ939ÿ3ÿ3ÿ8654ÿ7ÿ7954ÿ9ÿ5ÿ939ÿ3ÿ35ÿ655ÿ39ÿ5ÿ95
3  94397ÿ97ÿ6329432ÿ7ÿ95ÿ72ÿ9545
H025Iÿ7)%%-31.#ÿO)%%-31.#
P)ÿ104J%ÿ=04ÿ-84)ÿ450ÿ-,02ÿ)/ÿ76-Q29.ÿ28,ÿ,242#ÿ()*ÿ,)ÿ.)$ÿ2%%0%%ÿ.)$6ÿ706/)6>2890ÿ-8
/6)84ÿ)/ÿR)8=60%%;ÿG4ÿ*2%ÿ2ÿ1)*ÿ326IÿS26?Tÿ450.ÿ,-,8J4ÿ,)ÿ2ÿQ06.ÿ=)),ÿU)3#ÿF524J%ÿ>.
)7-8-)8#
@78ÿ9789ÿVÿ9ÿ7ÿ3ÿ54ÿ77ÿD76W
Gÿ45)$=54ÿXYZÿ,-,Iÿ3$4ÿGÿ)81.ÿ45)$=54ÿ-4J%ÿ3092$%0ÿ450.ÿ,-,ÿ%$95ÿ2ÿ32,ÿU)3#
B5ÿ77ÿ0ÿ9ÿ3ÿ79ÿ7ÿ57 5ÿ9ÿ36789ÿ9 ÿ47ÿ3ÿ353 ÿ54 5295ÿ7ÿ5
  7575ÿÿ3ÿ7575ÿ7 

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012ÿ45676ÿ89ÿ8ÿ 4699ÿ5 ÿ5 6ÿ 679489ÿ926ÿ76684ÿ 464ÿ ÿ8ÿ996ÿ
 2 7486ÿ4ÿ456ÿ84 ÿ8ÿ0ÿ6 ÿ2ÿ769 94ÿ89ÿ28 ÿ976ÿ4584ÿ456ÿ8ÿ64ÿ89
25ÿ7284 ÿ89ÿ456ÿ66ÿ4ÿÿ767ÿ4ÿ72ÿ584ÿ456ÿ66ÿ4ÿÿ 
6ÿÿ98 ÿ 45ÿ456ÿ667ÿ426 49ÿ766 4ÿ0ÿ45 ÿ926ÿÿ4584ÿ 464ÿ78
   48ÿ826ÿ72ÿ9ÿ4ÿ456 ÿ456ÿ58ÿ4ÿÿÿ ÿ4584ÿ7ÿ6879ÿÿ46729ÿÿ44 
464567ÿ456ÿ5 6ÿ947ÿ8ÿ ÿ67ÿ9 84ÿ 7ÿ ÿ4ÿÿ4584ÿ4ÿÿ6ÿ8ÿ56ÿ4ÿ
  89ÿ6ÿ4584ÿ456 ÿ0ÿ66ÿ ÿ8 4ÿ7ÿ 474 
 !"#ÿ%!& ÿ'(ÿ')*ÿ)*!+,-./0ÿ(-*ÿ(1ÿ')*ÿ'),-./ÿ2ÿ'),- ÿ###ÿ234ÿ-('ÿ/!",-.ÿ,'3/ÿ!ÿ5,-67(/*
'),-.8ÿ2ÿ'),- ÿ')*"ÿ9,9ÿ-('ÿ:+*//ÿ"(;ÿ<*+"ÿ)!+9ÿ(-ÿ&*+'!,-ÿ,//;*/#
-*ÿ,/ÿ5)!'ÿ"(;ÿ.;"/ÿ9(ÿ5,')ÿ')*ÿ9!'!8ÿ(-*ÿ5!/ÿ')*ÿ:!+'ÿ+*7!'*9ÿ'(ÿ=!4>+,9.*
?-!7"',&!0ÿ5),&)ÿ,/ÿ5)!'ÿ)!::*-*9ÿ')*+*0ÿ5),&)ÿ2ÿ'),- ÿ,/ÿ/',77ÿ###ÿ@(;3+*ÿ/',77
,-<*/',.!',-.0ÿ,'3/ÿ/',77ÿ>*,-.ÿ,-<*/',.!'*9ÿ>"ÿ!;')(+,',*/ÿ,-ÿ)(5ÿ,'ÿ)!::*-*9#ÿ?-9ÿ,-ÿ')!'
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B)!'ÿ2ÿ5(;793<*ÿ!/ *9ÿ,/0ÿAB)"ÿ9,9-3'ÿ"(;ÿ/**ÿ,'DCÿB)!'3/ÿ')*ÿ:+(>7*4ÿ,-ÿ')!'ÿ5,')ÿ'),/
9!'!ÿ')!'ÿ"(;ÿ9,9ÿ-('ÿ/**ÿ,'ÿ>*,-.ÿ4,/;/*9Dÿ%*&!;/*ÿ2ÿ5!/ÿ!'ÿ"(;+ÿEFFGÿ(+ÿEFFHÿ###ÿ2
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4567ÿ7284 ÿ8ÿ6ÿ86ÿ4ÿ7 ÿ4ÿ4ÿÿJ86 ÿ4ÿ4567ÿ676 4ÿ89ÿ6896
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4ÿ96ÿ848ÿ6896ÿ4ÿ89ÿ ÿ4567ÿ967679ÿ6ÿ 14ÿ669987ÿ966ÿ4584ÿ478984 ÿ7
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0112ÿ4ÿ05678ÿ60ÿ9 ÿ5 ÿ67ÿ951ÿ67606ÿ1670ÿ10ÿ01ÿÿ ÿ9 ÿ05678ÿ050ÿ056
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892:2/;ÿ6.ÿ2<=:2;;4&.ÿ4.ÿ>&?:.634;@*ÿA,Bÿ7&?:ÿ@&092:ÿ;67;ÿ;92ÿ3&52;ÿ7&?*ÿC92CDÿ40'EÿF?0
G&ÿ6926-'
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I.-ÿ,ÿ094.Dÿ092ÿ34.D;ÿ120J22.ÿK202:ÿL89423Mÿ&.ÿ7&?:ÿ1&6:-ÿ6.-ÿLN0252MÿF6..&.ÿ6.-ÿ'''ÿ,0
C:2602;ÿ6ÿ:26337ÿ16-ÿ;40?604&.ÿB&:ÿ7&?ÿ633*ÿ&:ÿ;?;=2C0'ÿ,0ÿ60ÿ326;0ÿ326-;ÿ0&ÿ=2&=32
J&.-2:4.GÿJ960ÿJ6;ÿ96==2.4.Gÿ092:2'ÿO6;437'
ÿ6502ÿP ÿ4ÿ17#0ÿ05678ÿ050ÿ05 #ÿ7ÿ 0617ÿ050ÿ050ÿ0ÿ9 ÿ!177 !0ÿ5 ÿ0
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( 52ÿ4ÿ05678ÿ67ÿ01 !0ÿ222ÿ(1ÿ8719ÿ9 ÿ67#0ÿ8719ÿ950ÿS  6ÿ706!ÿ9 ÿ05 ÿ60
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0ÿ23456ÿ7859 ÿ83ÿ3ÿ0ÿ3ÿ93ÿ82ÿÿ84
ÿÿ!"ÿ#$ÿ%ÿ&'ÿ$$()ÿ*(ÿ++"ÿÿ,$'!,ÿÿ-%.+/0ÿ$+ÿ.ÿ$+0+!#$ÿ'+!'ÿ+ÿ'ÿ./,
.+/ÿ$ÿÿ$+(,ÿ&ÿ0)ÿ1!,ÿÿ!"ÿ%ÿÿ0-+/%!ÿ!'ÿ'+!'ÿ.+/2%/,ÿ$ÿ+ÿ0%"ÿ$(/
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=ÿÿ>5ÿ529ÿ95ÿÿ?2ÿ@95ÿ935@ÿ9?8ÿAÿ03ÿ82ÿ9?8A
B+ÿ+!ÿ$ÿ-+,3%$ÿ/'ÿ!+2)
C42ÿ2 ÿ9?8ÿD5 ÿ82ÿ6ÿ>5ÿ@223 ÿ0ÿ52ÿ0ÿ84ÿÿ6ÿ42
7ÿ53ÿ?5ÿÿ85ÿE9F2 ÿ26ÿ622ÿE29ÿ@ÿÿC5ÿ@ÿ85ÿ8?3ÿÿ45Eÿ32 ?ÿ
G?9533ÿ88ÿ952 ÿ69F5ÿ5ÿ92Hÿ>5235ÿÿ326ÿÿ45ÿÿ0ÿ56ÿ
I+ÿ5+(ÿ/%5ÿ2%!ÿ0ÿ+ÿ./ÿ05$.ÿ/'ÿ!+2J
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  85ÿÿ>5ÿÿ@ÿ8595
C5ÿ3ÿÿ45Eÿ32 ?ÿP7529ÿ5ÿ6ÿ35 ÿ9ÿ622ÿ7529ÿ5ÿ6ÿ35 ÿ9
622QÿLÿRSTUÿ@ÿ35 ÿE5E53ÿ622ÿÿ2ÿ6@@595ÿ2 ÿ> ÿ299 ?ÿÿ 8ÿ859ÿ622
  ÿ35 ÿ3?83ÿÿ82ÿ622ÿÿ35 ÿÿL9ÿ85ÿ>3533ÿ3ÿE956256ÿÿ3?
622ÿÿ245ÿ5ÿD8 ÿ66ÿÿ455Eÿ32 ?ÿ82Aÿ0ÿ52ÿ582 ÿ95ÿ995
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0123ÿ5ÿ67893ÿ ÿ8 ÿ87ÿÿ21ÿ8 ÿ3ÿ ÿ8 ÿ21ÿ1ÿÿ8ÿ21
127ÿ!8ÿ8 ÿ1ÿ7ÿ12217"1ÿ ÿ#ÿ1ÿ8 ÿ87ÿ9ÿ$18$12ÿ%ÿ&89
98 ÿ'(ÿ12"1ÿ%
)*++ÿ+--./ÿ01ÿ2-13*45ÿ6*ÿ73*8ÿ4*9:1;2+*ÿ8*75ÿ-:1+*15ÿ6;.*ÿ<+;065ÿ+0.*ÿ5;=08>ÿ13;1ÿ7*ÿ5*++
?;1;ÿ2*<;:5*ÿ01ÿ05ÿ@:51A
B61ÿ8ÿC8"1ÿDÿEF 1ÿ08 ÿ87G
H1I5ÿ@:51ÿ8-1ÿ14:*J
K3ÿ86
)*ÿLMNOPÿ5*++ÿ?;1;JÿQ-7/ÿHÿ:8?*451;8?ÿ73;1ÿ=-:I4*ÿ5;=08>/ÿ13;1ÿ13*ÿ2:508*55ÿ6-?*+ÿ7-4.5
2;50<;++=ÿ08ÿ17-ÿ7;=5Rÿ-8*ÿ05ÿ9*-9+*ÿ3;S*ÿ;11*810-8ÿT4-6ÿ2*08>ÿ-8ÿ13*ÿ5*4S0<*/ÿ730<3ÿ05ÿ8-
?0TT*4*81ÿT4-6ÿ13*ÿ;?5ÿ=-:I++ÿ4:8ÿ?:408>ÿ1305ÿ9-?<;51ÿ-4ÿ14;?010-8;+ÿUVÿ;?5ÿT-4ÿ13*ÿ+;51ÿWXÿ=*;45J
Y:1ÿ13*4*ÿ05ÿ;8ÿ*+*6*81ÿ-Tÿ1;4>*108>ÿ730<3ÿ05ÿ13;1/ÿ2*<;:5*ÿ7*ÿ:8?*451;8?ÿ73;1ÿ=-:I4*
081*4*51*?ÿ08/ÿ7*ÿ<;8ÿ53-7ÿ=-:ÿ6-4*ÿ4*+*S;81ÿ;?5ÿ1-ÿ=-:JÿZ8?ÿ9*-9+*/ÿ-S*4;++/ÿ9*-9+*ÿ7;81ÿ1-
.8-7ÿ13;1ÿ13*04ÿ08T-46;10-8ÿ05ÿ5*<:4*/ÿ;8?ÿ13;1ÿ0Tÿ13*=ÿ>0S*ÿ01ÿ1-ÿ=-:/ÿ13*=ÿ7;81ÿ=-:ÿ1-ÿ:5*ÿ01ÿ1-
6;.*ÿ13*04ÿ*[9*40*8<*ÿ>--?/ÿ2:1ÿ13*=ÿ?-8I1ÿ7;81ÿ=-:ÿ1-ÿ>0S*ÿ01ÿ1-ÿ-13*4ÿ9*-9+*J
\-ÿ730+*ÿ01ÿ6;=ÿ5**6ÿ+0.*ÿ;ÿ56;++ÿ?0TT*4*8<*ÿ1-ÿ=-:/ÿ1305ÿ?05108<10-8ÿ-8ÿ]5*++08>ÿ?;1;/^ÿHÿ;<1:;++=
1308.ÿ1-ÿ9*-9+*ÿ01I5ÿ+0.*ÿ13*ÿ73-+*ÿ>;6*/ÿ40>31_ÿ\-ÿ7*ÿ?-8I1ÿ5*++ÿ?;1;/ÿ7*ÿ?-8I1ÿ>0S*ÿ13*ÿ?;1;ÿ1-
;8=-8*ÿ*+5*/ÿ2:1ÿ-S*473*+608>+=ÿ9*-9+*ÿ?-ÿ1*++ÿ:5ÿ13;1ÿ0Tÿ13*=I4*ÿ>-08>ÿ1-ÿ5**ÿ;?5ÿ-8
`;<*2--./ÿ13*=ÿ7;81ÿ13*ÿ;?5ÿ1-ÿ2*ÿ4*+*S;81Rÿ13*=ÿ?-8I1ÿ7;81ÿ2;?ÿ;?5J
a8ÿ8 ÿ76ÿ$18$1ÿ7127ÿ89ÿF "ÿ7b8F87ÿ8 ÿ1ÿ87ÿ1F%ÿ52ÿ
bb117ÿb"8ÿÿ11ÿ1b81ÿ7ÿ283ÿ89ÿF "ÿ7b8F87ÿ8 ÿ6789ÿ 8
$18$1
c;=2*JÿZ+13-:>3ÿHÿ1308.ÿ6-51ÿ9*-9+*ÿ;<1:;++=/ÿ-8ÿ;ÿ5*4S0<*ÿ+0.*ÿ̀;<*2--.ÿ-4ÿH851;>4;6/
94-2;2+=ÿ3;S*ÿ;ÿ>4*;1*4ÿ;7;4*8*55ÿ-Tÿ13*ÿ08T-46;10-8ÿ13;1I5ÿ13*4*ÿ13;8ÿ-8ÿ;ÿ+-1ÿ-Tÿ-13*4
5*4S0<*5/ÿ2*<;:5*ÿ08ÿ-:4ÿ<;5*/ÿ=-:ÿ;<1:;++=ÿ9:1ÿ01ÿ13*4*/ÿ40>31_ÿd-:ÿ1-+?ÿ:5ÿ13;1ÿ=-:ÿ+0.*ÿ13;1
1308>/ÿ-4ÿ=-:ÿ9-51*?ÿ13;1ÿ93-1-/ÿ-4ÿ5;0?ÿ13;1Jÿ\-ÿHÿ;<1:;++=ÿ1308.ÿ9*-9+*ÿ>*8*4;++=ÿ3;S*ÿ;8
;7;4*8*55ÿ;8?ÿT**+ÿ+0.*/ÿ])-7/ÿ13*5*ÿ8*17-4.5ÿ3;S*ÿ;ÿ+-1ÿ-Tÿ08T-46;10-8J^
U3*ÿ;4*;5ÿ13;1ÿHÿ7-:+?ÿ;<1:;++=ÿ7-44=ÿ;2-:1ÿ6-4*ÿT-4ÿ<-85:6*45ÿ;4*ÿ9+;<*5ÿ73*4*ÿ13*=ÿ?-8I1
4*;+0e*ÿ13;1ÿ5*4S0<*5ÿ;4*ÿ<-++*<108>ÿ;ÿ+-1ÿ-Tÿ08T-46;10-8ÿ;2-:1ÿ13*6/ÿ2:1ÿ;<1:;++=ÿ;4*Jÿ\-ÿ13;1I5
;ÿ73-+*ÿ?0TT*4*81ÿ1308>J
K1 873ÿ89ÿF "ÿ8ÿ8 ÿ76ÿ2ÿ"8F7ÿb8Fÿbÿ1ÿa1F8"2ÿ1ÿ"6ÿ7ÿ$891%
f1 1ÿ8 17ÿ1ÿ821ÿ892ÿ8 ÿ7ÿE8813ÿÿ211F2
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01223ÿ5ÿ6789ÿ 1ÿ6 ÿ 1ÿ9ÿ671ÿ
ÿ ÿ!"#ÿ$%&'ÿ(ÿ)ÿ##ÿ#*)%!+,ÿ-#+,*ÿ.ÿ-/+) %ÿ0)1#ÿ+ÿÿ1%#
$"##ÿ!"##2ÿ3)"ÿ3#ÿ#*)%!+,ÿ"11#,+,*ÿ,&ÿ3#ÿ!+/+!'ÿ(ÿ)ÿ##ÿ+!4
571ÿ616ÿ6766ÿ5ÿ6789ÿ8ÿ7 6ÿ2812ÿ8ÿ 96196ÿ ÿ671ÿÿ76ÿ6ÿ81ÿ87ÿ668689ÿÿ11
9117:ÿ86ÿ8ÿ;86619ÿ896ÿ671ÿ< 96866893ÿ11ÿ91173ÿÿ7113ÿ;1ÿ7681ÿ6ÿ81ÿ69=ÿ6221=8
16689ÿ6ÿ689=ÿ6ÿ1=2661ÿ6766ÿ> 6ÿ89ÿ627 6ÿ181ÿ671ÿ 96ÿ89ÿ671ÿ; 23ÿ;7821ÿ91 921
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671ÿ7661ÿ9117ÿ26;ÿ89ÿE1769ÿ5ÿ6789ÿ6766ÿ6711ÿ;822ÿ@1ÿ6868962ÿ26;ÿ16689=
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121ÿ6789ÿ6ÿ76ÿ%1 ÿ8
&'(ÿ*+,ÿ-./0ÿ1203ÿ4'.ÿ10/0ÿ53ÿ0367300/ÿ4'.ÿ10/03+8ÿ82739736ÿ827-ÿ15-ÿ4'./ÿ:::
5ÿÿ6789ÿ676ÿ6711ÿ822ÿ1ÿ6789ÿ676ÿ1ÿ16ÿ9ÿ89ÿ671ÿ613ÿ63ÿ6ÿ5ÿ6789ÿ6ÿÿ676
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  1ÿ189ÿ98ÿ6ÿÿ5ÿ6789ÿ121ÿ7 1ÿ119ÿ1ÿ8681ÿ9ÿ1ÿ1ÿ9ÿ22ÿ671ÿ
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0120ÿ4567ÿ8901ÿ017ÿ0741 55 ÿ5ÿ2ÿ5 ÿ795ÿ5ÿ0967ÿ5ÿ127ÿ2ÿ795ÿ8177ÿ757ÿ54
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            around online safety issues, especially with regard to children. Learn
            more about the technology we’re using to fight against child
            exploitation.




            Do not post:

            Child sexual exploitation

            Content, activity, or interactions that threaten, depict, praise, support,
            provide instructions for, make statements of intent, admit
            participation in, or share links of the sexual exploitation of children
            (including real minors, toddlers, or babies, or non-real depictions with
            a human likeness, such as in art, AI-generated content, fictional
            characters, dolls, etc). This includes but is not limited to:

                Sexual intercourse
                    Explicit sexual intercourse or oral sex, defined as mouth or
                         genitals entering or in contact with another person's genitals or
                         anus, when at least one person's genitals or anus is visible.
                         Implied sexual intercourse or oral sex, including when contact is
                         imminent or not directly visible.
                         Stimulation of genitals or anus, including when activity is
                     imminent or not directly visible.
                     Any of the above involving an animal.
                Children with sexual elements, including but not limited to:
                     Restraints
                     Signs of arousal
                     Focus on genitals or anus
                     Presence of aroused adult


https://transparency.meta.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/                                     2/15
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                     Presence of sex toys or use of any object for sexual stimulation,
                     gratification, or sexual abuse
                     Sexualized costume
                     Stripping
                     Staged environment (for example, on a bed) or professionally
                     shot (quality/focus/angles)
                     Open-mouth kissing
                     Stimulation of human nipples or squeezing of female breast
                     (EXCEPT in the context of breastfeeding)
                     Presence of by-products of sexual activity
                Content involving children in a sexual fetish context
                Content that supports, promotes, advocates or encourages
                participation in pedophilia unless it is discussed neutrally in a health
                context
                Content that identifies or mocks alleged victims of child sexual
                exploitation by name or image


            Solicitation

            Content that solicits sexual content or activity depicting or involving
            children, defined as:

                Child Sexual Abuse Material (CSAM)
                Nude imagery of real or non-real children
                Sexualized imagery of real or non-real children

            Content that solicits sexual encounters with children

            Inappropriate interactions with children

            Content that constitutes or facilitates inappropriate interactions with
            children, such as:

                Arranging or planning real-world sexual encounters with children
                Purposefully exposing children to sexually explicit language or
                sexual material
https://transparency.meta.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/                                     3/15
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                Engaging in implicitly sexual conversations in private messages with
                children
                Obtaining or requesting sexual material from children in private
                messages

            Exploitative intimate imagery and sextortion


            Content that attempts to exploit real children by:

                Coercing money, favors or intimate imagery with threats to expose
                intimate imagery or information
                Sharing, threatening, or stating an intent to share private sexual
                conversations or intimate imagery

            Sexualization of children

                Content (including photos, videos, real-world art, digital content,
                and verbal depictions) that sexualizes real or non-real children
                Groups, Pages, and profiles dedicated to sexualizing real or non-real
                children


            Child nudity

            Content that depicts real or non-real child nudity where nudity is
            defined as:

                Close-ups of real or non-real children’s genitalia
                Real or non-real nude toddlers, showing:
                     Visible genitalia, even when covered or obscured by transparent
                     clothing
                     Visible anus and/or fully nude close-up of buttocks
                Real or non-real nude minors, showing:
                     Visible genitalia (including genitalia obscured only by pubic hair
                     or transparent clothing)
                     Visible anus and/or fully nude close-up of buttocks
                     Uncovered female nipples
https://transparency.meta.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/                                     4/15
                                                                                                                               PX0618-004
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                    No clothes from neck to knee - even if no genitalia or female
                    nipples are showing
                Unless the non-real imagery is for health purposes or is a non-sexual
                depiction of child nudity in real-word art

            Non-sexual child abuse


            Videos or photos that depict real or non-real non-sexual child abuse
            regardless of sharing intent, unless the imagery is from real-world art,
            cartoons, movies or video games


            Content that praises, supports, promotes, advocates for, provides
            instructions for or encourages participation in non-sexual child abuse




            For the following content, we include a warning screen so that
            people are aware the content may be disturbing and limit the
            ability to view the content to adults ages eighteen and older:

                Videos or photos that depict police officers or military personnel
                committing non-sexual child abuse
                Videos or photos of non-sexual child abuse, when law enforcement,
                child protection agencies, or trusted safety partners request that
                we leave the content on the platform for the express purpose of
                bringing a child back to safety




https://transparency.meta.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/                                     5/15
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            For the following content, we include a sensitivity screen so that
            people are aware the content may be upsetting to some:

                Videos or photos of violent immersion of a child in water in the
                context of religious rituals




            For the following Community Standards, we require additional
            information and/or context to enforce:

            For the following content, we include a warning label so that people
            are aware that the content may be sensitive:

                Imagery posted by a news agency that depicts child nudity in the
                context of famine, genocide, war crimes, or crimes against
                humanity, unless accompanied by a violating caption or shared in a
                violating context, in which case the content is removed

            We may remove imagery depicting the aftermath of non-sexual child
            abuse when reported by news media partners, NGOs, or other trusted
            safety partners.

            We may remove content that identifies alleged victims of child sexual
            exploitation through means other than name or image if content
            includes information that is likely to lead to the identification of the
            individual.

            We may remove content created for the purpose of identifying a
            private minor if there is a risk to the minor’s safety, when requested by




https://transparency.meta.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/                                     6/15
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         Enforcement
         We have the same policies around the world, for everyone on Facebook.



         Review teams
         Our global team of over 15,000 reviewers work every day to keep people on
         Facebook safe.



         Stakeholder engagement
         Outside experts, academics, NGOs and policymakers help inform the Facebook
         Community Standards.




          Get help with child sexual exploitation, abuse and nudity

          Learn what you can do if you see something on Facebook that goes against our
          Community Standards.




https://transparency.meta.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/                                    13/15
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https://transparency.meta.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/                                    15/15
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   Takeaways
     We continue to make progress on the prevalence of bullying and
     harassment content, which is now 0.08%-0.09% or eight to nine views
     per 10,000 on Facebook and 0.04-0.05% or four to five views per
     10,000 on Instagram.

     The Q2 Oversight Board Quarterly Update shows that Meta has
     responded to every single recommendation of the Board publicly and
     that we are committing to implement or explore the feasibility of
     implementing 73% of the recommendations they’ve made to date.

     We have built the largest industry-leading fact-checking network and
     now partner with more than 90 organizations around the world who
     review and rate viral misinformation.




Today, we’re sharing highlights of our integrity work for the second quarter of 2022,
which can all be found in the Transparency Center. This update includes:

   • The Community Standards Enforcement Report (CSER) for the second quarter of 2022;

   • The Widely Viewed Content Report (WVCR) for the second quarter of 2022;

   • The Oversight Board Quarterly Update for the second quarter of 2022;

   • Updates on our work to protect safety and expression and

   • New data on our third-party fact checker program.


Earlier this month we also released our Quarterly Adversarial Threat Report, which
provides an in-depth, qualitative view into the different types of adversarial threats
we tackle globally as well as our approach to the upcoming elections in Brazil and
the United States.

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Community Standards Enforcement Report Highlights
We continue to make steady progress on a number of areas, including bullying and
harassment. As we continue to improve our AI technology, the proactive detection
rate of bullying and harassment content on Facebook increased from 67% in Q1
2022 to 76.8% in Q2 2022 and on Instagram from 83.8% in Q1 2022 to 87.4% in Q2
2022.


On Facebook in Q2:

   • Bullying and Harassment: Prevalence was 0.08-0.09%, from 0.09% in Q1. We took
     action on 8.2 million pieces of it in Q2, from 9.5 million in Q1.

   • Hate Speech: Prevalence remained at 0.02% or two views per 10,000. We took action
     on 13.5 million pieces of it in Q2, from 15.1 million pieces in Q1.

   • Violence and Incitement: Prevalence remained 0.03% or three views per 10,000. We
     took action on 19.3 million pieces of it in Q2, from 21.7 million pieces in Q1.


On Instagram in Q2:

   • Bullying and Harassment: Prevalence was 0.04-0.05%, from 0.05-0.06% in Q1. We took
     action on 6.1 million pieces of it, from seven million in Q1.

   • Hate Speech: Prevalence was 0.01-0.02% or one to two views per 10,000, from 0.02%
     in Q1. We took action on 3.8 million pieces of it in Q2, from 3.4 million pieces in Q1.

   • Violence and Incitement: Prevalence remained 0.01-0.02% or two views per 10,000. We
     took action on 3.7 million pieces of it in Q2, from 2.7 million pieces in Q1.




As part of our work to constantly improve the metrics we share in this report, we
have updated our appeals methodology to account for all instances where content
was submitted for additional review, including times when people told us they
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disagreed with our decision.

As new regulations continue to roll out around the globe, we are focused on the
obligations they create for us and how those obligations might affect our ability to
keep prevalence of violating content on our apps low, minimize enforcement
mistakes and conduct sufficient due-diligence as part of our safety and security
processes.


Oversight Board Highlights
Expansion of the Board’s Scope: The board will soon issue a new type of binding
judgment on cases: whether or not we should apply a warning screen to some
pieces of content. While the board has already been able to apply binding decisions
on whether to take down or leave up pieces of content, this expansion will empower
them further by giving them more input on how content appears and is distributed
to people across our platforms.


Newsworthiness: As a result of a recommendation from the Oversight Board, we’re
releasing data on the number of newsworthy allowances we made over a calendar
year. We’re committing to release these numbers on a regular basis moving forward.
From June 2021 to June 2022, we documented 68 newsworthiness allowances, of
which, 13 (~20%) of those were issued for posts by politicians. This data, along with
examples of and details on these allowances, are now available in our Transparency
Center.


Crisis Policy Protocol: During crises, we assess on and off-platform risks of
imminent harm and respond with specific policy and product actions. Based on a
recommendation from the Oversight Board — and to strengthen our existing work
— we are publishing our Crisis Policy Protocol (CPP) to codify our content policy
response to crises. This framework helps to assess crisis situations that may require
a new or unique policy response. The CPP guides our use of targeted crisis policy
interventions in a timely manner that is consistent with observed risks and past
interventions. As a result, this helps our crisis policy response to be more calibrated
and sustainable, as we seek to balance a consistent global response with adapting
to quickly changing conditions. Protocol development included original research,
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consultations with over 50 global external experts in national security, conflict
prevention, hate speech, humanitarian response and human rights. Learn more here
and here.


Empowering Expression and Protecting Safety
We are always refining our policies and enforcement so that we’re both supporting
people’s ability to express themselves and protecting safety across our platforms.
We know we don’t always get it right, and we’re looking into ways we can improve
our proactive enforcement, like through applying AI technology.

We found that using warning screens to discourage hate speech or bullying and
harassment content prevented some of this content — which could have violated
our community standards — from being posted.

We’re also expanding a test of Flagged by Facebook, which allows some group
admins to better shape their group culture and take context into account by keeping
some content in their groups that might otherwise be flagged for bullying and
harassment. For example, through this test an admin for a group of fish tank
enthusiasts allowed a flagged comment that called a fish “fatty,” which was not
intended to be offensive.


Fact-Checking and Helpful Comments
We have built the largest global fact-checking network of any platform, with more
than 90 fact-checking partners around the world who review and rate viral
misinformation. In Q2, we displayed warnings on over 200 million distinct pieces of
content on Facebook (including re-shares) globally based on over 130,000
debunking articles written by our fact-checking partners.

In the US, we partner with 10 fact-checking organizations, five of which cover
content in Spanish. We’re adding TelevisaUnivision as another US partner to cover
Spanish language content.

We’ve also launched a pilot program on Facebook that aims to show people more
reliable information and empower them to decide what to read, trust and share. A
small group of our US third-party fact-checking partners has the ability to comment
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in English and Spanish to provide more information on public Facebook posts that
they determine could benefit from more context. This effort is separate from our
third-party fact-checking program. The comments aren’t fact-check ratings. They
won’t result in any enforcement penalties for content owners, nor will they impact a
post’s distribution or the overall status of a Page. Also, unlike fact-checks, these
comments will appear on Facebook posts that may not be verifiably false but that
people may find misleading.




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    Downloads

    Meta Q2 2022 Quarterly Update on the Oversight Board

    Meta Q2 2022 Integrity Update

    Key Highlights — Meta’s Q2 2022 Quarterly Update on the Oversight Board

    Press Call Transcript

    August 25 Press Call Audio




Categories:
Facebook, Instagram, Meta, Public Policy,
Safety and Expression

Tags:
Combating Hate Speech, Community
Standards and Enforcement, Community
Standards Enforcement Report, Oversight
Board




R E L AT E D N E W S

Meta

Integrity and Transparency
Reports, Fourth Quarter 2022
We’re releasing our fourth quarter reports that
provide an update on our progress across
multiple integrity efforts.
February 23, 2023




   Topics

   Company News
                                                                              PX0619-007
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Technology and Innovation
Data and Privacy
Safety and Expression
Combating Misinformation
Economic Opportunity
Election Integrity
Strengthening Communities
Diversity and Inclusion


Featured News




Meta
How Companies Are Using Meta Llama
May 7, 2024


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    to “content” that is reviewed through our cross-check system. We also use cross-
    check to review other actions such as removing a page or profile.) While cross-
    check provides additional levels of review, reviewers apply the same Community
    Standards that apply to all other content on Facebook. (Cross-check also applies
    to Instagram. Where we reference “Community Standards” in this webpage, it is
    meant to include the Instagram Community Guidelines as well.)

    The cross-check system plays a crucial function in helping to protect human
    rights. For instance, the cross-check system includes entities and posts from
    journalists reporting from conflict zones and community leaders raising
    awareness of instances of hate or violence. Cross-check reviews take into
    account the context that is helpful to action this content correctly. Cross-check
    reviews may also apply to civic entities, where users have a heightened interest in
    seeing what their leaders are saying.

    In addition, cross-check serves an important role in managing Meta’s
    relationships with many of our business partners. Incorrectly removing content
    posted by a page or profile with a large following, for instance, can result in
    negative experiences for both Meta’s business partners and the significant
    number of users who follow them. We also apply cross-check to some very large
    Groups, where an error can impact hundreds of thousands or millions of users.
    Cross-check does not exempt Meta’s business partners or Groups from our
    content policies, but it does sometimes provide additional levels of review to
    ensure those policies are applied accurately.

    Facebook and Instagram users post billions of pieces of content each day. Even
    with thousands of dedicated reviewers around the world, it is not possible to
    manually review every piece of content that potentially violates our Community
    Standards. The vast majority of violating content that we remove is proactively
    detected by our technology before anyone reports it. When someone posts on
    Facebook or Instagram, our technology checks to see if the content may violate
    the Community Standards. In many cases, identification is a simple matter. The
    post either clearly violates our policies or it doesn’t. But in other cases, the
    content is escalated to a human reviewer for further evaluation.

    Our primary review systems use technology to prioritize high-severity content,
    which includes “viral” content that spreads quickly. When the systems flag
    content for escalation, our reviewers make difficult and often nuanced judgment
    calls about whether content should remain on the platform. While we always aim

https://transparency.meta.com/enforcement/detecting-violations/reviewing-high-visibility-content-accurately/                                       2/8
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    to make the right decisions, we recognize that false positives do occur and some
    content is set for removal for violating Meta’s policies when it actually does not.
    Meta has therefore invested in mistake prevention to further review false
    positives and mitigate them. Cross-check is one of these mistake-prevention
    strategies.

    Cross-check is a system used to help ensure that enforcement decisions are
    made accurately and with additional levels of human review. If during cross-check
    a reviewer confirms that content violates our Community Standards, we enforce
    those policies and address the violating content accordingly. Depending on the
    complexity of the content, we may apply multiple levels of review, including in
    rare instances review by leadership. If the final reviewer determines that the
    content at issue does not violate our Community Standards, the reviewer can
    “overturn” the initial action and leave the content on the platform.

    Historical Cross-Check Practices

    We first implemented the system now known as cross-check in 2013. The details
    of the system have evolved over the years and, where possible, we have provided
    dates and date ranges explaining when these changes occurred.

    To determine what content or entities received cross-check review, our teams
    identified and compiled lists of users or entities perceived to have higher
    associated risk with false positive actions against them. “False positive risk”
    refers to the risk of incorrect enforcement against content or entities that do not
    actually violate our Community Standards. To determine which users and entities
    were associated with a higher false positive risk, our teams applied a variety of
    criteria, including the type of user or entity (e.g., an elected official, journalist,
    significant business partner, human rights organization), the number of followers,
    and the subject matter of the entity. (Entity is a general term for where content
    could originate or appear, such as a user account, page, or group.)

    When users or entities identified on those lists posted content or took actions
    that our systems flagged as potentially violating our policies, we would add the
    content or entity to a queue for cross-check review.

    Beginning in 2020, we made changes so that most content in the queue was
    prioritized using a risk framework, which assigned a level of false-positive risk
    that could result if Meta incorrectly removed that content. This risk framework


https://transparency.meta.com/enforcement/detecting-violations/reviewing-high-visibility-content-accurately/                                       3/8
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    generally relied on three factors: (1) the sensitivity of the entity, (2) the severity of
    the alleged violation, and (3) the severity of the potential enforcement action.

    Current Cross-Check Practices

    As with all of our policies and processes, we continually look for ways to improve
    and we are constantly making changes. Earlier this year, we identified additional
    opportunities to improve the cross-check system. One structural change we
    made is that the cross-check system is now made up of two components: General
    Secondary Review (GSR) and Sensitive Entity Secondary Review (SSR). While we
    will continue to use the list-based approach described above for inclusion in SSR
    for a percentage of certain users and entities, with GSR, we are in the process of
    ensuring content from all users and entities on Facebook and Instagram are
    eligible for cross-check review based on a dynamic prioritization system called
    “cross-check ranker.”

    GSR involves contract reviewers and people from our regions team who perform
    a secondary review of content and entities that may violate our policies before an
    enforcement action is taken. This review does not rely solely on the identity of a
    user or entity to determine what content receives cross-check review. The cross-
    check ranker ranks content based on false positive risk using criteria such as topic
    sensitivity (how trending/sensitive the topic is), enforcement severity (the
    severity of the potential enforcement action), false positive probability, predicted
    reach, and entity sensitivity (based largely on the compiled lists, described
    above). The cross-check ranker is already used for the majority of cross-check
    reviews today.

    SSR is similar to the legacy cross-check system. To determine which content or
    entities receive SSR, we continue to maintain lists of users and entities whose
    enforcements receive additional cross-check review if flagged as potentially
    violating the Community Standards. We have, however, added controls to that
    process of compiling and revising these lists. Prior to September 2020, most
    employees had the ability to add a user or entity to the cross-check list. After
    September 2020, while any employee can request that a user or entity be added
    to cross-check lists, only a designated group of employees have the authority to
    make additions to the list.

    Governance responsibilities for the SSR list currently sit within our Global
    Operations organization, with support from our Legal and Partnerships teams
    with their specialized knowledge and experience. While the reporting structure of
https://transparency.meta.com/enforcement/detecting-violations/reviewing-high-visibility-content-accurately/                                       4/8
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    our Global Operations team is separate from Meta's Public Policy team, the Public
    Policy team is consulted for input in cross-check decisions—as they are in many
    areas of content moderation across the company. In these instances, our
    Operations team may leverage expertise from Meta’s Public Policy team, in
    combination with our regional experts and language-agnostic specialized
    reviewers, to enhance local and cultural perspectives. The separate reporting
    structures help to ensure review is independent from political or economic
    influence. In order to maintain lists that are relevant and appropriate, we have also
    developed a diligent annual review process to audit entities on SSR lists for
    continued eligibility, which we will continue to refine over time.

    In recent months, Meta reviews an average of several thousand cross-checked
    jobs per day, with a large majority completed in GSR. (Relative to the millions of
    pieces of content being flagged and actioned for violating our Community
    Standards daily, this is a small proportion.) SSR now makes up the minority of
    these daily reviews. We anticipate a continued shift in the number of cross-check
    review jobs being the result of GSR prioritization through the end of 2021 and
    into 2022.

    If a piece of content is from an individual or entity that is included as part of SSR,
    it is typically first reviewed by the regions team. The escalations team will then
    review to confirm whether the content is violating. In general, if the regions team
    finds that the content does not violate our policies, the escalations team will not
    review. If a piece of content is from an individual or entity that is prioritized by the
    cross-check ranker, contractors or the regions team typically review it, unless
    there is additional escalations team capacity to review. As with legacy cross-
    check, high complexity issues may receive additional review, including in rare
    instances review by leadership. If the final review finds that it violates our
    Community Standards, we remove it. If our reviews find that it does not violate,
    we leave it up.

    As of October 16, 2021, approximately 660,000 users and entities have actions
    that require some form of SSR based on inclusion on the lists described above.
    This number regularly changes as we add or remove users and entities to the lists
    described above based on evolving criteria for inclusion. Examples of users and
    entities eligible for SSR include, but are not limited to:
           Entities related to escalation responses or high-risk events. Currently, there
           is an informal process in place where teams preparing for a high-risk event
           identify entities at high risk of over-enforcement. For instance, if a user’s
https://transparency.meta.com/enforcement/detecting-violations/reviewing-high-visibility-content-accurately/                                       5/8
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           controversial content is going viral (e.g., live video of police violence), we may
           identify that user for SSR to prevent erroneous removal.
           Entities included for legal compliance purposes. We use SSR in certain
           instances to comply with legal or regulatory requirements.
           High-visibility public figures and publishers. We identify entities for SSR
           because over-enforcement may result in a negative experience for a large
           segment of users.
           Marginalized populations. We identify human rights defenders, political
           dissidents, and others who we believe may be targeted by state-sponsored
           or other adversarial harassment, brigading, or mass reporting in order to
           protect against these attacks.
           Civic Entities. We follow objective criteria and the expertise of our in-region
           policy teams to identify politicians, government officials, institutions,
           organizations, advocacy groups, and civic influencers. We include these
           entities for SSR in order to prevent mistakes that would limit non-violating
           political speech and inadvertently impact discussion of civic topics like
           elections, public policy, and social issues. We aim to ensure parity across a
           country’s civic entities—for example, if we include a national cabinet ministry
           in SSR, we would include all ministries in that country’s government in SSR.
           Businesses. We identify advertisers of high value, as well as those who have
           experienced over-enforcement, to protect revenue and build long-term trust
           in our platform.

    We are currently reviewing how to improve the criteria for identifying entities who
    should receive SSR. For instance, we are exploring evolving our criteria in areas
    such as the number of followers, the number of previous false positive
    enforcements, legal/regulatory requirements, as well important political/societal
    issues.

    In addition to the two components of the cross-check system, we also have an
    internal mistake-prevention system called Dynamic Multi Review (DMR). This is a
    system that enables us to send reviewed cases back for re-review to get a
    majority vote on a decision (e.g., If a majority of reviewers agree on the decision,
    the case is closed), so that we have a higher confidence of correctness. We use
    this system to improve the quality and accuracy of human review and mitigate
    the risk of incorrect decisions by adjusting the number of reviews we require for
    final decision based on a number of different factors such as virality, number of

https://transparency.meta.com/enforcement/detecting-violations/reviewing-high-visibility-content-accurately/                                       6/8
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    views, and potential to contribute to harm (e.g. potential violations of our policies
    on Sexual Exploitation or Dangerous Individuals and Organizations).

    Future Cross-Check Transparency Interventions

    In response to the Oversight Board’s December 2022 decision on the cross-check
    policy advisory opinion referral, we have also committed to a series of mistake
    prevention transparency interventions. These interventions include:

           Structured and robust engagement with our internal Human and Civil Rights
           teams, our Trusted Partners, and other external civil society organizations to
           explore ways to inform the criteria we use to identify public interest entities
           for cross-check lists.
           Exploring a more formal cross-check list nomination process from global,
           regional, and local civil society groups.
           Investing in quality review and training resources as we move to staff all
           cross-check decisions with reviewers who speak the language and have
           regional expertise wherever possible.
           Implementing robust Service-Level Agreements (SLAs) for review decisions
           across our mistake-prevention systems, allowing us to optimize our current
           reviewer staffing model for the quickest in-language review possible.

    Although we have made significant improvements to the cross-check system, we
    are still exploring ways to further ensure that this system appropriately balances
    our goals of removing content that violates our Community Standards while
    ensuring that we minimize our enforcement mistakes that have the greatest
    impact.




    NEXT

    How we assess and prepare for global risks




https://transparency.meta.com/enforcement/detecting-violations/reviewing-high-visibility-content-accurately/                                       7/8
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5/16/24, 10:46 AM                                                           Prevalence | Transparency Center




   How we measure prevalence
   Prevalence of violating content is estimated using samples of content views from
   across Facebook or Instagram. We calculate it as: the estimated number of views
   that showed violating content, divided by the estimated number of total content
   views on Facebook or Instagram. If the prevalence of adult nudity and sexual
   activity was 0.18% to 0.20%, that would mean of every 10,000 content views, 18
   to 20 on average were of content that violated our standards for adult nudity and
   sexual activity.



   1 DOT = 10 VIEWS

   10,000 TOTAL VIEWS

   20 VIOLATING CONTENT VIEWS




   If prevalence was 0.20%, that means for every 10,000 views, 20 views were of violating
   content. While numbers can be very low, even the smallest number can cause significant
   impact to people.




https://transparency.meta.com/mg-mg/policies/improving/prevalence-metric/                                               2/7
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   Some types of violations occur very infrequently on our services. The likelihood
   that people view content that violate them is very low, and we remove much of
   that content before people see it. As a result, many times we do not find enough
   violating samples to precisely estimate prevalence. In these cases, we can
   estimate an upper limit of how often someone would see content that violates
   these policies. For example, if the upper limit for terrorist propaganda was 0.04%,
   that means that out of every 10,000 views on Facebook or Instagram in that time
   period, we estimate that no more than 4 of those views contained content that
   violated our terrorist propaganda policy.

   It’s important to note that when the prevalence of a violation type is so low that
   we can only provide upper limits, this limit may change by a few hundredths of a
   percentage point between reporting periods. However, changes this small may
   not be statistically significant; in such cases, these small changes do not indicate
   an actual difference in the prevalence of this violating content on the service.




   Why we measure the prevalence of views
   We estimate how often content is seen rather than the amount of content posted
   because we want to determine how much that content affected people on
   Facebook or Instagram. A piece of violating content could be published once but
   seen 1,000 times, 1 million times or not at all. Measuring views of violating
   content rather than the amount of violating content published better reflects the
   impact on the community. A small prevalence number can still correspond to a
   large amount of impact on our services, due to the large number of overall views
   of content on our services.

   We record a content view when a piece of content appears on a user’s screen.
   Specifically, a view happens when someone:
           Views a post – even if there are multiple pieces of content in that post, the
           view is assigned to the post
           Clicks to enlarge a photo or video player – the view is assigned to the photo
           or video

https://transparency.meta.com/mg-mg/policies/improving/prevalence-metric/                                               3/7
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5/16/24, 10:46 AM                                                           Prevalence | Transparency Center




   How we use sampling to estimate prevalence
   We estimate prevalence by sampling content views on Facebook or Instagram.

   To do this, we manually review samples of views and the content shown in them.
   Then we label the samples as violating or not violating according to our policies.
   The teams who do this sampling review the entire post for violations, even if the
   sampled view didn’t expose all the content in the post.

   Using the portion of these samples that were of violating content, we estimate
   the percentage of all views that were of violating content. Note that we do not
   sample from every part of Facebook or Instagram for every violation type.

   For certain violation types, we use stratified sampling, which increases the
   sample rate if the context indicates the content view is more likely to contain a
   violation. For example, if violations were viewed more frequently in Groups than in
   Feed, we would sample views in Groups with a higher probability than we sample
   views in Feed. One reason we do this is to reduce the uncertainty due to
   sampling. We express this uncertainty by quoting a range of values, for example
   by saying 18 to 20 out of every 10,000 views are on violations for adult nudity and
   sexual activity. This range reflects a 95% confidence window. This means that if
   we performed this measurement 100 times using different samples each time, we
   expect the true number to lie within the range 95 out of the 100 times.

   For violation types that are viewed very infrequently, sampling requires a very
   large number of content samples to estimate a precise prevalence measure. In
   these cases, we can only estimate the upper limit — meaning, we are confident
   that the prevalence of violating views is below that limit, but we cannot precisely
   say how far below. Our confidence window for these upper limits is also 95%. A
   piece of violating content could be published once but seen 1,000 times, 1 million
   times or not at all. Measuring views of violating content rather than the amount of
   violating content published better reflects the impact on the community. A small
   prevalence number can still correspond to a large amount of impact on our
   services, due to the large number of overall views of content on our services.




https://transparency.meta.com/mg-mg/policies/improving/prevalence-metric/                                               4/7
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5/16/24, 10:46 AM                                                           Prevalence | Transparency Center




   Caveats
           The people who apply labels to our samples sometimes make mistakes,
           including labeling violations as non-violating or vice versa. The relative rate of
           these mistakes could impact the prevalence measurement. For this reason,
           we have two people review every sample to ensure accuracy in our labeling,
           and if there is ever a disagreement, we have a third person act as the
           tiebreaker.
           For areas such as violent and graphic content, where content can be marked
           as disturbing, our prevalence calculation accounts for views of that content
           before the cover was added.
           The current prevalence measurement covers surfaces that contribute to
           more than 90% of all views on Facebook and Instagram and does not include
           private conversations on Messenger or Instagram Direct.
           To generate a representative measurement of global prevalence, we sample
           and label content in the multiple languages for Facebook and Instagram and
           are confident this approach provides a representative global estimate and are
           continually working to expand coverage of the metric.
           Our overall content enforcement, through both reviewers and technology,
           expands to many more languages.




   Prevalence for fake accounts on Facebook
   Prevalence for fake accounts on Facebook is an estimate of the percentage of
   monthly active Facebook accounts that were fake. Unlike prevalence for content
   violations, fake accounts prevalence assumes the impact on users is proportional
   to the number of active fake accounts on Facebook, even if people don’t ever see
   or experience these accounts.


https://transparency.meta.com/mg-mg/policies/improving/prevalence-metric/                                               5/7
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                                                                             Economic Graph




     One of the questions I'm most frequently asked these days is what the future holds for
     LinkedIn. The answer depends greatly on the time horizon.

     Over the next few years, you'll continue to see us innovate across our core value
     propositions for members in the areas of professional identity (e.g. the LinkedIn
     Profile, Search, and Contacts); professional insights (e.g. the Home Page, Slideshare,
     LinkedIn Today, Groups and Influencers), and ensuring we work wherever our members
     work -- everywhere (e.g. mobile and API development).



                                                                                                        PX0622-002
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     However, if you start to extend our timetable out to a decade or more, the scope of the
     answer shifts materially.

     Our ultimate dream is to develop the world's first economic graph. In other words,
     we want to digitally map the global economy, identifying the connections between
     people, jobs, skills, companies, and professional knowledge and spot in real time the
     trends pointing to economic opportunities. It's a big vision, but we believe we're in a
     unique position to make it happen.

     Before getting into the specifics, I wanted to first provide a bit of historical context.

     Facebook CEO Mark Zuckerberg popularized the concept of the social graph to
     describe his approach to mapping the world's social relationships, in the process
     unlocking untold value for people by digitizing their social networks.

     Reid Hoffman and the other founders of LinkedIn initially created a platform to help
     people tap the value of their professional networks, and developed an infrastructure
     that could map those relationships up to three degrees. In doing so, they provided the
     foundation for what would eventually become the world's largest professional graph.

     Our current long-term vision at LinkedIn is to extend this professional graph into an
     economic graph by digitally manifesting every economic opportunity in the world (full
     time and temporary); the skills required to obtain those opportunities; the profiles for
     every company in the world offering those opportunities; the professional profiles for
     every one of the roughly 3.3 billion people in the global workforce; and subsequently
     overlay the professional knowledge of those individuals and companies onto the
     graph.

     Once realized, we then want to get out of the way and allow all of the nodes on this
     network to connect seamlessly by removing as much friction as possible and allowing
     all forms of capital, e.g. working capital, intellectual capital, and human capital, to flow
     to where it can best be leveraged. In doing so, we believe we'll be able to help lift the
     global economy.

     Imagine the possibilities.

     Recently, the Wall Street Journal wrote about the fact that the city of Fort Wayne, Ind.
     has many jobs available, but over 14,000 people are still looking for work. The
     problem is one faced by a growing number of cities in the U.S. and around the world:
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     There is a widening skills gap where the existing workforce has been educated and
     trained to obtain the jobs of yesterday and not the jobs of today and tomorrow.

     With the existence of an economic graph, we could look at where the jobs are in any
     given locality, identify the fastest growing jobs in that area, the skills required to obtain
     those jobs, the skills of the existing aggregate workforce there, and then quantify the
     size of the gap. Even more importantly, we could then provide a feed of that data to
     local vocational training facilities, junior colleges, etc. so they could develop a just in
     time curriculum that provides local job seekers the skills they need to obtain the jobs
     that are and will be, and not just the jobs that once were.

     Separately, we could provide current college students the ability to see the career
     paths of all of their school's alumni by company, geography, and functional role. These
     students, among the hardest hit by current macro-economic conditions, would then be
     in a position to reach out to former graduates to learn more about how they
     developed their careers, identify mentors, and help get their foot in the door of
     companies providing future opportunities. Realize, this isn't science fiction, it already
     exists. Perhaps even more exciting, since this functionality is being developed as an
     extensible platform, the same approach could be applied beyond universities to all
     vocational segments and industries, e.g. returning veterans, welders in Detroit, and the
     existing and former employees of every company in the world.

     Despite the truly world class talent we've assembled at LinkedIn, no one company
     could ever realize every conceivable application that an economic graph of this scope
     would generate. In success, we would look forward to the day when developers, data
     scientists, and forward thinking economists could conduct research that was
     previously implausible at this scale. Combined with our own internal efforts, together
     we could subsequently unlock unprecedented insight into the world's collective
     understanding on how to move the needle of the global economy.

     At LinkedIn, we draw a clear distinction between vision and mission, where the
     former represents our collective dream and inspiration while the latter is a measurable,
     realizable overarching objective. Developing the economic graph is a vision. That said,
     with over 187 million members (growing at roughly two per second), 2.8 million active
     company profiles, 1 million professionally oriented groups, and a wide array of other
     valuable assets in place and still to come, this is one dream we're working hard towards
     making a reality.

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      Soft Skills

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                                                Facebook loses while
                                                winning big
                                                While the big blue mothership has
                                                sprung a leak, Facebook’s offspring
                                                continue to flourish

                                                It has almost been a sport to predict the downfall of Facebook. But now
                                                our research shows that there might be some meat on the bone. In all



EDITORIAL
                                                markets, Facebook is seeing drops through the last two years and has
                                                been tumbled from its position as the most important app in almost all
                                                markets. Especially young people are turning away from Facebook and
                                                on to new social media platforms.

                                                To make matters worse, we see that Facebook is also the social media
                                                that most existing users are considering quitting. But the upside
                                                for Facebook is that people are migrating to the Facebook-owned
                                                WhatsApp Messenger and Instagram, which more than compensates
                                                for the lost ground.

                                                In other news, financial apps including payment apps continue to be
                                                prominent in the Nordics but hardly registering in the other countries in
                                                the study. In turn, shopping apps are finding their way to the top lists in
                                                the US and Germany, while it is only in the UK and Norway a news app
                                                makes it to the list of the top 10 apps.

                                                Rune Werliin
                                                Chief Product Officer @ AudienceProject



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                               APPS



  In the US and Norway, Facebook is the app that most people can least
 do without, while in the UK, Germany and Finland, it is in fact WhatsApp
Messenger that is cited as being the most indispensable app. In Denmark
 and Sweden, it is not social media apps but the financial apps MobilePay
and BankID säkerhetsapp that are considered to be the most crucial apps.


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           People generally have around 20 apps installed on their mobile
           [ How many apps have people installed on their mobile? ]




                            1%                     21%                       26%                          22%                  25%     6%
           US                                                                                                                                20 apps in average

                            3%                           23%                      25%                     19%                 24%      7%
           UK                                                                                                                                19 apps in average

                            3%                           24%                       26%                     18%                23%      7%
           Germany                                                                                                                           19 apps in average

                            2%                     20%                      23%                     19%                       29%      7%
           Denmark                                                                                                                           21 apps in average

                            1%               16%                      23%                     19%                      29%            12%
           Sweden                                                                                                                            22 apps in average

                            2%               15%                      24%                     20%                        30%          10%
           Norway                                                                                                                            22 apps in average

                            4%                                  27%                     25%                16%          18%           11%
           Finland                                                                                                                           17 apps in average



                                                                                                                                                    Note: Excluding
                                    0                    1-10           11-20                  21-30             31+            Don’t know          pre-installed apps




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                                                                                                                                                      PX0623-008
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Social media apps are the biggest ‘time robbers’                                                                       Note: The figures represent how many that
                                                                                                                       name the following types of apps as one of the
                                                                                                                       three types of apps they spend most time on


[ Which types of apps do people spend most time on on their mobile? ]




            Social media                                    Music       Finance                     TV / Series
                           Mail     Browsers     News                             Games   Weather                 Shopping          Travel              Other
               / Chat                                      / Radio      / Bank                       / Movies


    US         49%         36%       42%         17%        25%          14%      26%      15%         11%         15%                4%                 8%



    UK         57%         37%       45%         25%        22%          16%      19%      13%         8%          11%                6%                 8%



 Germany       52%         48%       43%         26%        17%          13%      17%      28%         6%           9%                3%                 7%



 Denmark       46%         42%       37%         26%        24%          18%      18%      17%         8%           3%                5%                 8%



  Sweden       46%         48%       47%         22%        23%          35%      15%      17%         8%           3%                3%                 6%



  Norway       56%         45%       42%         28%        25%          15%      20%      16%         8%           4%                4%                 6%



  Finland      50%         54%       51%         25%        19%          25%      10%      20%         9%           3%                2%                 4%




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Facebook retains its leading position
[ Which apps can Americans least do without on their mobile? ]

                                                                   Note: The figures represent how many that
                                                                   name the following apps as one of the
                                                                   three apps they least can do without




      2017 (Q2)                             2018 (Q4)                        2019 (Q3)



1        Facebook      26%            1        Facebook      21%   1              Facebook            21%

2        Amazon        11%            2        Instagram     11%   2              Instagram           11%

3        YouTube       11%            3        Gmail         8%    3              Gmail                8%

4        Instagram     10%            4        Twitter       7%    4              YouTube              8%

5        Twitter       8%             5        Google Maps   7%    5              Snapchat             6%

6        Google Maps   6%             6        YouTube       7%    6              Messenger            6%

7        Snapchat      6%             7        Messenger     6%    7              Twitter              6%

8        Chrome        5%             8        Snapchat      5%    8              Google Maps          6%

         The Weather
9                      5%             9        Chrome        5%    9              Google               5%
         Channel

10       Gmail         5%             10       Google        4%    10             Amazon               4%




                                                                                                               AudienceProject Insights 2019   11




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    Instagram beats Facebook as the most essential app among young Americans
                        [ Which apps can different age groups of Americans least do without on their mobile? ]




        1   Instagram      26%                          1        Facebook      29%                        1              Facebook             22%

        2   YouTube        20%                          2        Instagram     16%                        2              Instagram              9%


15-25   3   Snapchat       20%           26-35          3        Gmail         12%          36-45         3              Gmail                  9%

        4   Facebook       18%                          4        YouTube       8%                         4              Messenger              8%

        5   Twitter         8%                          5        Messenger     7%                         5              Twitter                8%




        1   Facebook       19%                          1        Facebook      19%

        2   Google Maps     8%                          2        Gmail         9%


46-55   3   Google          8%           56+            3        Google        8%

        4   Amazon          7%                          4        Google Maps   6%
                                                                                                          Note: The figures represent how many
                                                                                                          that name the following apps as one of
        5   Waze            6%                          5        Chrome        4%                         the three apps they least can do without




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                                                                                                                                                                  PX0623-013
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            WhatsApp Messenger tops the list of the most indispensable apps among Britons
            [ Which apps can Britons least do without on their mobile? ]




                  WhatsApp
                                                                                       27%
                  Messenger

                  Facebook                                                    23%


                  Instagram                            12%


                  Messenger                          10%


                  Gmail                         7%


                  Twitter                       7%


                  Spotify                       7%


                  Google Maps                   7%


                  BBC News                     6%
                                                      Note: The figures represent how many
                                                      that name the following apps as one of
                  Chrome                      5%      the three apps they least can do without




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WhatsApp Messenger is ahead of Facebook for the first time
[ Which apps can Britons least do without on their mobile? ]

                                                                     Note: The figures represent how many that
                                                                     name the following apps as one of the
                                                                     three apps they least can do without




      2017 (Q2)                               2018 (Q4)                        2019 (Q3)



                                                                                    WhatsApp
1        Facebook      32%             1        Facebook       24%   1                                  27%
                                                                                    Messenger
         WhatsApp                               WhatsApp
2                      18%             2                       23%   2              Facebook            23%
         Messenger                              Messenger

3        Messenger     11%             3        Instagram      12%   3              Instagram           12%

4        Twitter       10%             4        Messenger      8%    4              Messenger           10%

5        Instagram     9%              5        Twitter        8%    5              Gmail                7%

6        Google Maps   8%              6        Gmail          7%    6              Twitter              7%

7        Snapchat      6%              7        Google Maps    7%    7              Spotify              7%

8        YouTube       6%              8        Spotify        6%    8              Google Maps          7%

9        Amazon        6%              9        BBC News       5%    9              BBC News             6%

10       eBay          5%              10       Snapchat       5%    10             Chrome               5%




                                                                                                                 AudienceProject Insights 2019   15




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   Both young and old consider WhatsApp Messenger to be the most essential app
                        [ Which apps can different age groups of Britons least do without on their mobile? ]




            WhatsApp                                            WhatsApp
        1                27%                          1                       36%                         1              Facebook             30%
            Messenger                                           Messenger
                                                                                                                         WhatsApp
        2   Messenger    22%                          2         Facebook      29%                         2                                   28%
                                                                                                                         Messenger

15-25   3   Instagram    20%            26-35         3         Instagram     17%          36-45          3              Instagram            11%

        4   Snapchat     16%                          4         Gmail         10%                         4              Twitter              10%

        5   Facebook     16%                          5         Spotify       9%                          5              Gmail                  8%




                                                                WhatsApp
        1   Facebook     26%                          1                       21%
                                                                Messenger
            WhatsApp
        2                23%                          2         Facebook      19%
            Messenger

46-55   3   BBC News      9%            56+           3         BBC News      9%

        4   Instagram     7%                          4         Google        8%
                                                                                                          Note: The figures represent how many
                                                                                                          that name the following apps as one of
        5   Gmail         7%                          5         Google Maps   7%                          the three apps they least can do without




                                                                                                                                        AudienceProject Insights 2019   17



                                                                                                                                                                  PX0623-017
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            WhatsApp Messenger is by far the favourite app among Germans
            [ Which apps can Germans least do without on their mobile? ]




                  WhatsApp
                                                                                      18%
                  Messenger

                  Facebook                               9%


                  Instagram                     5%

                  eBay
                                              4%
                  Kleinanzeigen

                  Google                   3%


                  Amazon                   3%


                  Messenger              2%


                  YouTube                2%


                  Google Maps            2%
                                                     Note: The figures represent how many
                                                     that name the following apps as one of
                  PAYBACK                2%          the three apps they least can do without




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                                                                                                       PX0623-018
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WhatsApp Messenger retains its leading position
[ Which apps can Germans least do without on their mobile? ]




                                                                        Note: The figures represent how
                                                                        many that name the following
      2018 (Q4)                                2019 (Q3)                apps as one of the three apps
                                                                        they least can do without




         WhatsApp                                 WhatsApp
1                        19%             1                        18%
         Messenger                                Messenger

2        Facebook        11%             2        Facebook        9%

3        Instagram       5%              3        Instagram       5%

                                                  eBay
4        Google          3%              4                        4%
                                                  Kleinanzeigen
         Google Play
5                        3%              5        Google          3%
         Music

6        DB Navigator    3%              6        Amazon          3%

7        Wish            2%              7        Messenger       2%

8        Amazon          2%              8        YouTube         2%

9        Messenger       2%              9        Google Maps     2%

         eBay
10                       2%              10       PAYBACK         2%
         Kleinanzeigen




                                                                                                          AudienceProject Insights 2019   19




                                                                                                                                               PX0623-019
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  WhatsApp Messenger is considered the most essential app among all age groups
                        [ Which apps can different age groups of Germans least do without on their mobile? ]




            WhatsApp                                            WhatsApp                                                WhatsApp
        1                   14%                        1                        20%                      1                                     9%
            Messenger                                           Messenger                                               Messenger

        2   Instagram        8%                        2        Facebook        13%                      2              Facebook               8%


15-25   3   Facebook         6%         26-35          3        Instagram       8%         36-45         3              PAYBACK                4%

                                                                eBay
        4   Messenger        5%                        4                        5%                       4              Amazon                 4%
                                                                Kleinanzeigen

        5   Snapchat         4%                        5        Google          5%                       5              Google                 4%




            WhatsApp                                            WhatsApp
        1                   16%                        1                        27%
            Messenger                                           Messenger

        2   Facebook        12%                        2        Facebook        7%


46-55   3   YouTube          5%         56+            3        PAYBACK         4%

        4   Instagram        5%                        4        Amazon          4%
                                                                                                         Note: The figures represent how many
            eBay                                                                                         that name the following apps as one of
        5                    5%                        5        Google          4%
            Kleinanzeigen                                                                                the three apps they least can do without




                                                                                                                                       AudienceProject Insights 2019   21



                                                                                                                                                                 PX0623-021
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MobilePay is ahead of Facebook for the first time                                                         Note: The figures represent how
                                                                                                          many that name the following
                                                                                                          apps as one of the three apps
                                                                                                          they least can do without

[ Which apps can Danes least do without on their mobile? ]




      2016 (Q4)                                 2017 (Q2)                  2018 (Q4)                       2019 (Q3)



1        Facebook      32%               1        Facebook      30%   1     Facebook      26%      1           MobilePay           25%

2        MobilePay     24%               2        MobilePay     24%   2     MobilePay     26%      2           Facebook            24%

3        Messenger     10%               3        Messenger     11%   3     Messenger     12%      3           Messenger           15%

4        Google Maps   9%                4        Rejseplanen   8%    4     Instagram     11%      4           Instagram           13%

5        Gmail         7%                5        Spotify       7%    5     Snapchat      7%       5           Snapchat              8%

6        Instagram     7%                6        Gmail         7%    6     e-Boks        7%       6           Rejseplanen           6%

7        Spotify       7%                7        Snapchat      7%    7     Rejseplanen   7%       7           Google Maps           6%

8        Rejseplanen   6%                8        DMI Vejr      6%    8     Google        5%       8           Gmail                 5%

9        Snapchat      6%                9        Google Maps   6%    9     Gmail         5%       9           e-Boks                5%

10       Danske Bank   6%                10       Instagram     6%    10    Google Maps   4%       10          YouTube               4%




                                                                                                            AudienceProject Insights 2019         23



                                                                                                                                            PX0623-023
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            Mainly the older Danes consider MobilePay to be essential
                          [ Which apps can different age groups of Danes least do without on their mobile? ]




        1   Messenger      40%                          1        Facebook    28%                          1              Facebook             29%

        2   Facebook       37%                          2        Instagram   24%                          2              MobilePay            21%


15-25   3   Snapchat       34%           26-35          3        MobilePay   21%            36-45         3              Messenger            13%

        4   Instagram      31%                          4        Messenger   19%                          4              Instagram            11%

        5   MobilePay      14%                          5        Snapchat     9%                          5              e-Boks                 6%




        1   MobilePay      30%                          1        MobilePay   33%

        2   Facebook       19%                          2        Facebook    15%


46-55   3   Messenger      11%           56+            3        Coop         9%

        4   Rejseplanen     9%                          4        Google       7%
                                                                                                          Note: The figures represent how many
                                                                                                          that name the following apps as one of
        5   Google Maps     7%                          5        DMI Vejr     6%                          the three apps they least can do without




                                                                                                                                        AudienceProject Insights 2019   25



                                                                                                                                                                  PX0623-025
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BankID säkerhetsapp retains its leading position                                                         Note: The figures represent how
                                                                                                         many that name the following
                                                                                                         apps as one of the three apps
                                                                                                         they least can do without

[ Which apps can Swedes least do without on their mobile? ]




      2016 (Q4)                                2017 (Q2)                  2018 (Q4)                       2019 (Q3)



                                                  BankID                   BankID                             BankID
1        Facebook      22%               1                     23%   1                  29%       1                        29%
                                                  säkerhetsapp             säkerhetsapp                       säkerhetsapp
         BankID                                                                                               Swish
2                     21%                2        Facebook     22%   2     Instagram   19%        2                               17%
         säkerhetsapp                                                                                         payments

3        Spotify       19%               3        Instagram    15%   3     Facebook    17%        3           Instagram           14%

                                                                           Swish
4        Instagram     15%               4        Spotify      15%   4                 17%        4           Facebook            13%
                                                                           payments
         Swish                                    Swish
5                      12%               5                     11%   5     Spotify     11%        5           Messenger           10%
         payments                                 payments
                                                  Swedbank
6        Messenger     8%                6                     8%    6     Messenger   11%        6           Spotify             10%
                                                  privat
         Swedbank                                                          Swedbank                           Swedbank
7                      7%                7        Snapchat     7%    7                  7%        7                                 7%
         privat                                                            privat                             privat

8        Snapchat      6%                8        Messenger    7%    8     Snapchat     7%        8           Snapchat              6%

                                                                           WhatsApp                           WhatsApp
9        Google Maps   6%                9        Gmail        5%    9                  4%        9                                 4%
                                                                           Messenger                          Messenger

10       Gmail         5%                10       SMHI Väder   5%    10    YouTube      4%        10          Nordea Mobile         4%




                                                                                                           AudienceProject Insights 2019         27



                                                                                                                                           PX0623-027
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Snapchat beats BankID säkerhetsapp as the most essential app among young Swedes
                        [ Which apps can different age groups of Swedes least do without on their mobile? ]




                                                               BankID                                                   BankID
        1   Snapchat     30%                          1                     37%                          1                           33%
                                                               säkerhetsapp                                             säkerhetsapp

        2   Instagram    29%                          2        Instagram    18%                          2              Facebook             18%

                                                               Swish                                                    Swish
15-25   3   Spotify      27%            26-35         3
                                                               payments
                                                                            17%           36-45          3
                                                                                                                        payments
                                                                                                                                             14%

            BankID
        4                19%                          4        Messenger    16%                          4              Instagram            12%
            säkerhetsapp
            Swish
        5                17%                          5        Facebook     13%                          5              Messenger            11%
            payments




            BankID                                             BankID
        1                27%                          1                     28%
            säkerhetsapp                                       säkerhetsapp
            Swish                                              Swish
        2                19%                          2                     16%
            payments                                           payments

46-55   3   Facebook     16%            56+           3        Facebook     12%

        4   Instagram     9%                          4        Google        7%
                                                                                                         Note: The figures represent how many
                                                                                                         that name the following apps as one of
        5   Messenger     9%                          5        Instagram     6%                          the three apps they least can do without




                                                                                                                                       AudienceProject Insights 2019   29



                                                                                                                                                                PX0623-029
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Facebook regains its leading position from Snapchat                                                      Note: The figures represent how
                                                                                                         many that name the following
                                                                                                         apps as one of the three apps
                                                                                                         they least can do without

[ Which apps can Norwegians least do without on their mobile? ]




      2016 (Q4)                                2017 (Q2)                    2018 (Q4)                     2019 (Q3)



1        Facebook       36%              1        Facebook    32%      1     Snapchat       21%   1           Facebook            21%

2        Snapchat       20%              2        Snapchat    23%      2     Facebook       21%   2           Snapchat            20%

3        Spotify        18%              3        Spotify     15%      3     Messenger      14%   3           Instagram           17%

4        Messenger      13%              4        Instagram   14%      4     Instagram      12%   4           Messenger           15%

5        Instagram      13%              5        Messenger   13%      5     Spotify        10%   5           Spotify             10%

6        Yr             7%               6        Yr              8%   6     Vipps          10%   6           Vipps                 9%

7        RuterBillett   6%               7        Vipps           8%   7     Yr             7%    7           Yr                    7%

         DNB Mobile
8                       5%               8        VG              7%   8     Chrome         4%    8           RuterBillett          5%
         Bank

9        Gmail          5%               9        Gmail           5%   9     RuterBillett   4%    9           Chrome                4%

10       Google Maps    5%               10       YouTube         4%   10    Gmail          4%    10          VG                    3%




                                                                                                           AudienceProject Insights 2019         31



                                                                                                                                           PX0623-031
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    Snapchat beats Facebook as the most essential app among young Norwegians
                         [ Which apps can different age groups of Norwegians least do without on their mobile? ]




        1    Snapchat       45%                          1        Facebook       25%                        1              Facebook             21%

        2    Instagram      34%                          2        Messenger      22%                        2              Instagram            13%


15-25   3    Messenger      25%            26-35         3        Instagram      21%         36-45          3              Snapchat             12%

        4    Facebook       20%                          4        Snapchat       21%                        4              Vipps                  9%

        5    Spotify        18%                          5        Vipps          11%                        5              Spotify                9%




        1    Facebook       20%                          1        Facebook       17%

        2    Vipps          11%                          2        Yr             15%


46-55   3    Snapchat        9%            56+           3        Vipps          13%

        4    Yr              9%                          4        RuterBillett   8%
                                                                                                            Note: The figures represent how many
                                                                                                            that name the following apps as one of
        5    Messenger       8%                          5        Messenger      7%                         the three apps they least can do without




                                                                                                                                          AudienceProject Insights 2019   33



                                                                                                                                                                    PX0623-033
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WhatsApp Messenger considered even more indispensable than earlier                                        Note: The figures represent how
                                                                                                          many that name the following
                                                                                                          apps as one of the three apps
                                                                                                          they least can do without

[ Which apps can Finns least do without on their mobile? ]




      2016 (Q4)                                  2017 (Q2)                  2018 (Q4)                      2019 (Q3)



         WhatsApp                                  WhatsApp                  WhatsApp                          WhatsApp
1                       37%               1                      39%   1                   49%     1                               53%
         Messenger                                 Messenger                 Messenger                         Messenger

2        Facebook       25%               2        Facebook      30%   2     Facebook      24%     2           Facebook            23%

3        Spotify        12%               3        Spotify       16%   3     Instagram     21%     3           Instagram           23%

4        Instagram      10%               4        Instagram     14%   4     Spotify       10%     4           Spotify             10%

5        Google Maps    6%                5        YouTube       9%    5     Snapchat      9%      5           Snapchat              8%

6        Gmail          5%                6        Google Maps   7%    6     YouTube       7%      6           Gmail                 8%

7        Messenger      5%                7        Gmail         6%    7     Gmail         6%      7           OP-Mobiili            7%

8        Snapchat       5%                8        Messenger     6%    8     Messenger     6%      8           YouTube               6%

9        YouTube        5%                9        Snapchat      6%    9     OP-mobiili    6%      9           Messenger             6%

10       Ilta-Sanomat   4%                10       YLE Areena    6%    10    Google Maps   5%      10          Nordea Mobile         5%




                                                                                                            AudienceProject Insights 2019         35



                                                                                                                                            PX0623-035
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  WhatsApp Messenger is considered the most essential app among all age groups
                        [ Which apps can different age groups of Finns least do without on their mobile? ]




            WhatsApp                                           WhatsApp                                                 WhatsApp
        1               70%                          1                      59%                          1                                   49%
            Messenger                                          Messenger                                                Messenger

        2   Instagram   48%                          2         Instagram    27%                          2              Facebook             29%


15-25   3   Snapchat    32%            26-35         3         Facebook     21%           36-45          3              Instagram            16%

        4   Spotify     21%                          4         Spotify      11%                          4              Spotify                9%

        5   Facebook    14%                          5         OP-Mobiili   10%                          5              Google Maps            7%




            WhatsApp                                           WhatsApp
        1               44%                          1                      42%
            Messenger                                          Messenger

        2   Facebook    30%                          2         Facebook     22%


46-55   3   Instagram   11%            56+           3         Google        9%

        4   Gmail        9%                          4         Gmail         9%
                                                                                                         Note: The figures represent how many
                                                                                                         that name the following apps as one of
        5   S-mobiili    8%                          5         Instagram     8%                          the three apps they least can do without




                                                                                                                                       AudienceProject Insights 2019   37



                                                                                                                                                                 PX0623-037
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                                                                                                            PX0623-038
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                SOCIAL MEDIA



Facebook is still the social media used by most people. Only in Germany
   and Finland are more people using WhatsApp Messenger rather
 than Facebook. However, it is to a lesser extent the young people who
 would miss Facebook. At the same time, it is particularly the younger
 audiences who have considered stopping using Facebook altogether.


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            YouTube is closing in on Facebook in the US                                                                                                                                     2017 (Q2)
                                                                                                                                                                                            2018 (Q4)
                                                                                                                                                                                            2019 (Q3)
            [ How many Americans use the following social media? ]




            80%
                  77%


                        71%
                                          68%
                                    67%
                              64%




                                                      46% 46%

                                                                41%
                                                39%
                                                                      37%
                                                                            35%
                                                                                        34%
                                                                                              32%
                                                                                  31%
                                                                                                          29%
                                                                                                                28%
                                                                                                                      26%
                                                                                                                            25%
                                                                                                    24%
                                                                                                                                  23%


                                                                                                                                                    17%
                                                                                                                                                          16% 16%
                                                                                                                                              13%                   13%
                                                                                                                                        12%                               12%
                                                                                                                                                                                10%
                                                                                                                                                                                      8%

                                                                                                                                                                                           4%
                                                                                                                                                                                                2%
                                                                                                                                                                                                     1%




             Facebook          YouTube           Instagram        Twitter          Pinterest         LinkedIn          Snapchat           Reddit          WhatsApp          Tumblr         Periscope
                                                                                                                                                          Messenger




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                                                                                                                                                                                           PX0623-040
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            Instagram continues to grow in the UK                                                                                                                                        2017 (Q2)
                                                                                                                                                                                         2018 (Q4)
                                                                                                                                                                                         2019 (Q3)
            [ How many Britons use the following social media? ]




                  78%
                        77%
            76%



                                          67%
                                    66%

                                                      62% 62%
                                                59%




                              48%
                                                                            45%

                                                                      41%                     41%
                                                                                  40%
                                                                                        38%


                                                                32%
                                                                                                                29%
                                                                                                          28%
                                                                                                                            25%
                                                                                                                                  23%
                                                                                                    22%                                 22%
                                                                                                                                                    20%
                                                                                                                      19%
                                                                                                                                              18%



                                                                                                                                                          9%        9%
                                                                                                                                                                         8%
                                                                                                                                                               7%
                                                                                                                                                                              5%   5%
                                                                                                                                                                                        3%
                                                                                                                                                                                             1%   1%




             Facebook         WhatsApp           YouTube         Instagram          Twitter          LinkedIn          Pinterest         Snapchat          Reddit         Tumblr        Periscope
                              Messenger




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                                                                                                                                                                                        PX0623-042
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            WhatsApp Messenger is the clear favourite in Germany                                                                                      2018 (Q4)
                                                                                                                                                      2019 (Q3)

            [ How many Germans use the following social media? ]




             81%
                   80%




                            65%
                                     63%
                                              61%
                                                    60%




                                                                37%
                                                          35%



                                                                            27%
                                                                      25%



                                                                                  17%   17%
                                                                                              16%   16%
                                                                                                          13%   13%
                                                                                                                           10%
                                                                                                                      9%

                                                                                                                                 4%   4%
                                                                                                                                           3%   3%

                                                                                                                                                      0%    0%




            WhatsApp        Facebook          YouTube     Instagram   Pinterest    Twitter      Xing      LinkedIn    Snapchat   Tumblr    Reddit     Periscope
            Messenger




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                                                                                                                                                     PX0623-044
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            Facebook’s lead narrows, but is still at the top in Denmark                                                                                                          2016 (Q1)
                                                                                                                                                                                 2016 (Q4)
                                                                                                                                                                                 2017 (Q2)
            [ How many Danes use the following social media? ]                                                                                                                   2018 (Q4)
                                                                                                                                                                                 2019 (Q3)




               79 80 78
            77 % %      77
                     %
            %           %




                                        57
                                55 55   %
                                % % 52
                                      %



                                                          40 40        41
                                                          % %          %
                                                                  37             37
                                                                  %         34   %
                                                                            % 31                   32 33
                                                  30 29
                                                                               %                   % %
                                                  % %                                      27 27
                                             25                                            % %
                                             %                                        23
                                                                                      %
                                                                                                                      17               16         17
                                                                                                              14 14   %                     15 15 % 14
                                                                                                                                       %    % %        13
                                                                                                           11 % % 12           12 12                 % %
                                                                                                           %        %      9 9 % %
                                                                                                                           % %
                                                                                                                                                              5   5   4 3 3
                                                                                                                                                              % 2 %   % % % 2          1
                                                                                                                                                                %           %
                                                                                                                                                                                   0 0 %
                                                                                                                                                                                   % %




              Facebook         YouTube        Instagram                LinkedIn        Snapchat             Pinterest      WhatsApp           Twitter       Reddit    Tumblr    Periscope
                                                                                                                           Messenger




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                                                                                                                                                                                PX0623-046
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            Instagram is just behind YouTube in Sweden                                                                                                                 2016 (Q1)
                                                                                                                                                                       2016 (Q4)
                                                                                                                                                                       2017 (Q2)
            [ How many Swedes use the following social media? ]                                                                                                        2018 (Q4)
                                                                                                                                                                       2019 (Q3)




               79   80
            77 % 78 %
            %     %
                       74
                       %



                                63
                                %         61               60
                                          % 59             % 57
                                     57      %
                                     %                        %
                                                      52
                                                 50   %
                                                 % 47
                                                    %




                                                                                           28        28
                                                                  25 25   26 27      25 26 % 26   25 % 25 26 24
                                                                             %
                                                                  % % 23 %        22 %
                                                                                        %     %   %     % % %
                                                                        %         %                               19 19
                                                                                                                  % % 16 17 17            17 16
                                                                                                                        % % %    14 14 14 % %
                                                                                                                                 % % %


                                                                                                                                                    4 4 4   4 4 3 3
                                                                                                                                                    % % %   % % % %      1   1
                                                                                                                                                                         % 0 %
                                                                                                                                                                           %




              Facebook         YouTube            Instagram       WhatsApp         Snapchat         LinkedIn        Twitter        Pinterest      Reddit    Tumblr    Periscope
                                                                  Messenger




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                                                                                                                                                                      PX0623-048
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            Instagram is closing in on Snapchat and YouTube in Norway                                                                                                           2016 (Q1)
                                                                                                                                                                                2016 (Q4)
                                                                                                                                                                                2017 (Q2)
            [ How many Norwegians use the following social media? ]                                                                                                             2018 (Q4)
                                                                                                                                                                                2019 (Q3)




            84 85 85 85 83
            % % % % %




                                               64
                                        62     %
                                     60 % 61        60 60 60
                                     %     %        % % %
                                  57                                         57
                                  %                                       55 %
                             52                                           %
                             %                                    50 49
                                                               47 % %
                                                               %




                                                                                  27 27
                                                                                  % %
                                                                                          21 22 21   22
                                                                                          % % %      % 20 20 19 20
                                                                                                        % % % %
                                                                                                                     16 17 15 17 16   15 14        15 16
                                                                                                                     % % % % %        % %          % %
                                                                                                                                              11
                                                                                                                                              %
                                                                                                                                                                 6
                                                                                                                                                             4 5 %   4 4 3
                                                                                                                                                             % %     % % % 2
                                                                                                                                                                           %      0 0 0
                                                                                                                                                                                  % % %




              Facebook         Snapchat        YouTube          Instagram           LinkedIn           Twitter         Pinterest      WhatsApp             Reddit    Tumblr    Periscope
                                                                                                                                      Messenger




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                                                                                                                                                                               PX0623-050
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            WhatsApp Messenger remains the most used social media in Finland                                                                                               2016 (Q1)
                                                                                                                                                                           2016 (Q4)
                                                                                                                                                                           2017 (Q2)
            [ How many Finns use the following social media? ]                                                                                                             2018 (Q4)
                                                                                                                                                                           2019 (Q3)




                         79 79
                         % %
                                    75 75
                                 74
                                    % % 72 72
                                 %              71
                    69                    % %          69 69
                 68                             %
                    %                                66 % %
                 %
                                                     %
            61
            %




                                                                            46
                                                                         45
                                                                            %
                                                                         %


                                                                    35
                                                                  32 %
                                                               29 %
                                                               %
                                                                                             23
                                                                                          22
                                                                                    20       %               20
                                                                                 19    19 %                       19 19 19
                                                                                                                           18 18
                                                                                 %
                                                                                    %
                                                                                       %                   17 %   % % %
                                                                                                     16 16                 % %                16 16
                                                                                                  15       %
                                                                                                     % %                                14 14 % %
                                                                                                  %
                                                                                                                                        % %
                                                                                                                                   10
                                                                                                                                   %
                                                                                                                                                            5
                                                                                                                                                          4
                                                                                                                                                        3   %   3 3 3 3
                                                                                                                                                          %                  2
                                                                                                                                                        %       % % % %        1 1
                                                                                                                                                                             %
                                                                                                                                                                               % %




             WhatsApp             Facebook      YouTube         Instagram          LinkedIn        Pinterest         Twitter        Snapchat          Reddit    Tumblr    Periscope
             Messenger




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                                                                                                                                                                          PX0623-052
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            In most countries, people say they can least do without Facebook                                                      Note: The figures represent how many of the
                                                                                                                                  ones using the following social media that
                                                                                                                                  name the social media as the ones they least
                                                                                                                                  can do without

            [ Which social media can people least do without? ]




                                       WhatsApp
                            Facebook               YouTube   Instagram   Snapchat   Twitter   LinkedIn   Pinterest   Reddit   Tumblr            Xing            Periscope
                                       Messenger


                 US           29%         5%        23%        11%         6%        11%        7%         7%         4%       2%                N/A                0%



                 UK           28%        27%        15%        9%          4%        10%        4%         4%         2%       1%                N/A                0%



              Germany         17%        57%        15%        9%          1%        3%         1%         3%         1%       0%                2%                 0%



              Denmark         47%         5%        25%        17%        10%        3%         9%         4%         2%       0%                N/A                0%



               Sweden         38%         8%        18%        23%         8%        4%         4%         2%         1%       0%                N/A                0%



               Norway         45%         5%        21%        17%        23%        3%         2%         2%         2%       1%                N/A                0%



               Finland        25%        56%        20%        12%         5%        3%         2%         2%         2%       0%                N/A                0%




54   AudienceProject Insights 2019



                                                                                                                                                              PX0623-054
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It is especially those who are older than 25 who would miss Facebook                                                                                                                            US
                                                                                                                                                                                                UK
                                                                                                                                                                                                Germany
                                                                                                                                                                                                Denmark
[ How many can least do without Facebook? ]                                                                                                                                                     Sweden
                                                                                                                                                                                                Norway
                                                                                                                                                                                                Finland




                                                                         49%
                                                                                                       47%         46%                                   47%                                 46% 45%
                                                                                                                                               42% 43%                                 42%
                             39%
                                                                   37%                                       37%

                                           32%                                       32%                                                                             32%
                                                                                           29%                                 30% 31%
                                                                                                                         27%                                   27%         28%
                                                 25%                                                                                                                                                   26%
      24%                                                                      24%
                       22%                                                                                                                                                       21%
19%                                20%
                                                                                                 17%                                     17%
                                                       14%

            9%



                 N/A                                         N/A

             15-25                                      26-35                                     36-45                                   46-55                                    56+




                                                                                                                                                                             AudienceProject Insights 2019       55




                                                                                                                                                                                                    PX0623-055
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            Up to one third have considered leaving Facebook                                                                        Note: The figures represent how many of the
                                                                                                                                    ones using the following social media that
                                                                                                                                    have considered to stop using the social media


            [ Which social media have people considered to stop using? ]




                                                                                                           WhatsApp
                            Facebook     Instagram   Twitter   Snapchat   LinkedIn   Pinterest   YouTube               Tumblr   Reddit            Xing            Periscope
                                                                                                           Messenger


                 US           29%          12%        11%        9%         7%         6%          5%         3%        3%       3%                N/A                1%



                 UK           34%          11%        12%        7%         7%         6%          5%         5%        2%       2%                N/A                0%



              Germany         25%          7%         6%         4%         4%         4%          4%         6%        2%       1%                5%                 0%



              Denmark         10%          2%         0%         1%         0%         0%          1%         0%        0%       0%                N/A                0%



               Sweden         28%          11%        4%         8%         3%         3%          4%         3%        1%       1%                N/A                1%



               Norway         11%          2%         1%         2%         0%         0%          1%         0%        0%       0%                N/A                0%



               Finland        27%          7%         4%         5%         3%         3%          3%         2%        1%       1%                N/A                0%




56   AudienceProject Insights 2019



                                                                                                                                                                PX0623-056
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It is especially the young people who have considered stopping using Facebook                                                                                                                   US
                                                                                                                                                                                                UK
                                                                                                                                                                                                Germany
                                                                                                                                                                                                Denmark
[ How many have considered to stop using Facebook? ]                                                                                                                                            Sweden
                                                                                                                                                                                                Norway
                                                                                                                                                                                                Finland




                                                45%

                                                                                          39%
      37% 38%                             37%         36%
                                                                              38%
                                                                  35%
                      31%                                                           32%                    31%         31%
                                  29%                                                           28%                          29% 30%                               29%

                                                                                                                                                  24%                    24%
22%                                                                                                                                                          22%                          21%
                                                                                                                                       20%
                            16%                                                                                                                                                16%                   17%
                                                                        15%
                                                                                                                 12%
                                                                                                      8%                                     8%         8%
                                                                                                                                                                                     6%
                                                                                                                                                                                                4%

                N/A                                         N/A

           15-25                                       26-35                                     36-45                                  46-55                                    56+




                                                                                                                                                                           AudienceProject Insights 2019          57




                                                                                                                                                                                                     PX0623-057
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            Devices used for social media by Americans                                                                              Note: The figures represent how many of the
                                                                                                                                    ones using the following social media that use
                                                                                                                                    the social media on the following devices


            [ On which devices do Americans use the following social media? ]




                                                                                                                               WhatsApp
                            Facebook     Instagram   LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter                    YouTube
                                                                                                                               Messenger


              Computer        60%          32%        76%         32%         59%       62%       12%       48%       49%        16%              69%



                Tablet        31%          24%        25%         35%         36%       28%       13%       33%       29%        12%              41%



               Mobile         76%          83%        54%         70%         66%       67%       87%       59%       75%        88%              74%



                 TV            2%          2%          1%         0%          1%         1%        2%        1%       2%          2%              25%


             Connected
                               2%          1%          1%         0%          1%         1%        0%        2%       1%          2%              17%
              TV box

             Video game
                               2%          1%          1%         0%          0%         2%        1%        1%       2%          0%              13%
               console


             Smartwatch        1%          1%          1%         0%          1%         1%        1%        3%       3%          3%               1%




58   AudienceProject Insights 2019



                                                                                                                                                                 PX0623-058
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Devices used for social media by Britons                                                                             Note: The figures represent how many of the
                                                                                                                     ones using the following social media that use
                                                                                                                     the social media on the following devices


[ On which devices do Britons use the following social media? ]




                                                                                                                WhatsApp
             Facebook    Instagram    LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter                    YouTube
                                                                                                                Messenger


 Computer      50%         19%         64%         N/A            42%    18%        3%       52%       41%        14%              61%



  Tablet       35%         20%         22%         N/A            36%    20%        8%       22%       28%        10%              46%



  Mobile       83%         92%         63%         N/A            68%    76%       97%       72%       84%        96%              73%



    TV         2%          1%           1%         N/A            0%      2%        1%        2%       1%          1%              25%


 Connected
               1%          0%           0%         N/A            0%      0%        1%        2%       0%          1%              16%
  TV box

Video game
               1%          1%           0%         N/A            1%      1%        1%        1%       0%          0%              12%
  console


Smartwatch     1%          1%           0%         N/A            0%      0%        1%        2%       0%          2%               0%




                                                                                                                                     AudienceProject Insights 2019          59



                                                                                                                                                                      PX0623-059
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            Devices used for social media by Germans                                                                                Note: The figures represent how many of the
                                                                                                                                    ones using the following social media that use
                                                                                                                                    the social media on the following devices


            [ On which devices do Germans use the following social media? ]




                                                                                                                               WhatsApp
                            Facebook     Instagram   LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter                    YouTube               Xing
                                                                                                                               Messenger


              Computer        60%          25%        67%         N/A         48%       60%        3%       59%       46%        21%              65%                 78%



                Tablet        30%          23%        25%         N/A         33%       13%        6%       26%       23%        10%              41%                 24%



               Mobile         75%          89%        49%         N/A         71%       74%       97%       55%       74%        96%              74%                 52%



                 TV            1%          1%          0%         N/A         2%         0%        1%        0%       1%          1%              23%                  0%


             Connected
                               1%          1%          0%         N/A         1%         0%        1%        0%       1%          0%              11%                  0%
              TV box

             Video game
                               1%          1%          0%         N/A         1%         4%        1%        0%       1%          0%               7%                  0%
               console


             Smartwatch        1%          1%          0%         N/A         1%         0%        1%        0%       2%          2%               1%                  0%




60   AudienceProject Insights 2019



                                                                                                                                                                 PX0623-060
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Devices used for social media by Danes                                                                              Note: The figures represent how many of the
                                                                                                                    ones using the following social media that use
                                                                                                                    the social media on the following devices


[ On which devices do Danes use the following social media? ]




                                                                                                               WhatsApp
             Facebook   Instagram    LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter                    YouTube
                                                                                                               Messenger


 Computer      61%        17%         74%         N/A           44%     83%        2%       56%       39%        10%              68%



  Tablet       30%        18%         16%         N/A           33%     16%        4%       21%       27%         4%              38%



  Mobile       82%        94%         59%         N/A           71%     85%       99%       77%       87%        97%              67%



    TV         1%          1%          0%         N/A           0%       0%        0%        0%       0%          0%              16%


 Connected
               1%          0%          0%         N/A           0%       0%        0%        0%       0%          0%              14%
  TV box

Video game
               0%          1%          0%         N/A           0%       0%        0%        0%       0%          0%               4%
  console


Smartwatch     1%          0%          0%         N/A           0%       0%        1%        0%       0%          0%               0%




                                                                                                                                    AudienceProject Insights 2019          61



                                                                                                                                                                     PX0623-061
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            Devices used for social media by Swedes                                                                                 Note: The figures represent how many of the
                                                                                                                                    ones using the following social media that use
                                                                                                                                    the social media on the following devices


            [ On which devices do Swedes use the following social media? ]




                                                                                                                               WhatsApp
                            Facebook     Instagram   LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter                    YouTube
                                                                                                                               Messenger


              Computer        51%          15%        63%         N/A         38%       72%        2%       50%       43%         8%              63%



                Tablet        25%          17%        19%         N/A         31%       14%        6%        7%       19%         6%              37%



               Mobile         88%          96%        67%         N/A         80%       68%       99%       70%       87%        97%              75%



                 TV            1%          1%          1%         N/A         1%         4%        1%        6%       2%          1%              16%


             Connected
                               1%          1%          1%         N/A         1%         4%        1%        6%       1%          1%              18%
              TV box

             Video game
                               0%          1%          1%         N/A         1%         4%        1%       10%       1%          1%               6%
               console


             Smartwatch        1%          1%          1%         N/A         1%         4%        1%        6%       1%          2%               1%




62   AudienceProject Insights 2019



                                                                                                                                                                 PX0623-062
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Devices used for social media by Norwegians                                                                         Note: The figures represent how many of the
                                                                                                                    ones using the following social media that use
                                                                                                                    the social media on the following devices


[ On which devices do Norwegians use the following social media? ]




                                                                                                               WhatsApp
             Facebook   Instagram    LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter                    YouTube
                                                                                                               Messenger


 Computer     57%         13%         65%         N/A         43%       60%        5%       61%       37%        12%              66%



  Tablet      30%         16%         17%         N/A         25%       17%        7%       21%       18%         7%              39%



  Mobile      86%         95%         61%         N/A         77%       78%       97%       79%       85%        95%              70%



    TV         1%         0%           0%         N/A         1%         0%        0%        0%       0%          1%              21%


 Connected
               1%         0%           1%         N/A         1%         0%        0%        4%       1%          0%              16%
  TV box

Video game
               0%         0%           0%         N/A         0%         0%        0%        0%       0%          0%               7%
  console


Smartwatch     1%         1%           1%         N/A         1%         0%        1%        4%       1%          0%               0%




                                                                                                                                    AudienceProject Insights 2019          63



                                                                                                                                                                     PX0623-063
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            Devices used for social media by Finns                                                                                  Note: The figures represent how many of the
                                                                                                                                    ones using the following social media that use
                                                                                                                                    the social media on the following devices


            [ On which devices do Finns use the following social media? ]




                                                                                                                               WhatsApp
                            Facebook     Instagram   LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter                    YouTube
                                                                                                                               Messenger


              Computer        63%          24%        72%         N/A         52%       79%        3%       69%       51%        20%              74%



                Tablet        25%          16%        21%         N/A         26%        8%        2%       11%       22%         7%              33%



               Mobile         80%          93%        61%         N/A         69%       80%       99%       70%       79%        98%              74%



                 TV            1%          0%          0%         N/A         0%         0%        0%        0%       0%          0%              17%


             Connected
                               0%          0%          0%         N/A         0%         0%        0%        3%       0%          0%               7%
              TV box

             Video game
                               0%          0%          0%         N/A         0%         0%        0%        0%       0%          0%               5%
               console


             Smartwatch        0%          0%          0%         N/A         0%         0%        1%        0%       0%          1%               0%




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                                                                                                                                                                 PX0623-064
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                                                                       AudienceProject Insights 2019   65




                                                                                                   PX0623-065
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            Three quarters of the American Facebook users are daily users                                                                                                                                  Note: The figures represent how often the ones
                                                                                                                                                                                                           using the following social media are using the
                                                                                                                                                                                                           social media


            [ How often do Americans use the following social media? ]




                               52                                                                                                21                                                         15                                        4               3           2       3      0
                  Facebook
                               38                                                                  25                                                         24                                                              6                       6                       11 0
                  YouTube
                               37                                                                  22                                                  20                                                  9                              5               3           4          0
                  Instagram
                               32                                                       21                                           19                                                11                            8                        4               6                  1
                  Snapchat
                               32                                                      21                                            18                                           7                    9                         5                8                              1
                  WhatsApp
                  Messenger
                               29                                            20                                            22                                                     11                            8                         5               7                      0
                  Twitter
                               27                                       20                                            22                                                     10                            11                                 4                   5              0
                  Reddit
                               13                     17                          21                                            17                                      10                             6                 14                                                      2
                  Tumblr
                               13                     15                     30                                                                   14                                   12                                 7                       8                              1
                  Pinterest
                               9              12                   23                                          18                                             14                                      10                             13                                          0
                  LinkedIn
                               6        6            27                                                 15                                9                        12                            18                                                                              6
                  Periscope




                                     Several times                                 Several times                                              Several times
                                                           Daily                                             Weekly                                                          Monthly                                Less often                                    Don’t know
                                     a day                                         a week                                                     a month




66   AudienceProject Insights 2019



                                                                                                                                                                                                                                                          PX0623-066
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8 out of 10 British Facebook users are daily users                                                                                                                            Note: The figures represent how often the ones
                                                                                                                                                                              using the following social media are using the
                                                                                                                                                                              social media


[ How often do Britons use the following social media? ]




                 51                                                                                  29                                                                       13                             4                   2           1 1 0
     Facebook
                 43                                                                   21                                            21                                                          6                4               2           2   0
     WhatsApp
     Messenger
                 38                                                              25                                            20                                                       7                5                       2 3             1
     Instagram
                 28                                         25                                            24                                                          8                     7                3               5                   0
     Twitter
                 28                                         21                                  24                                                      10                              7                5                   5                   0
     Snapchat
                 20                               23                                  23                                                 13                                   14                                     4               4           0
     Reddit
                 19                              24                                   32                                                                         11                             8                        3               3       0
     YouTube
                 12                    15                  23                                        13                        12                            7                     19                                                            0
     Tumblr
                 7           12                  25                                        15                       19                                                    9                         13                                           1
     Pinterest
                 6         14                         23                               20                                           17                                             10                        8                                   0
     LinkedIn

     Periscope   N/A




                       Several times                             Several times                                 Several times
                                              Daily                                   Weekly                                                  Monthly                              Less often                                Don’t know
                       a day                                     a week                                        a month




                                                                                                                                                                                                    AudienceProject Insights 2019                          67



                                                                                                                                                                                                                                                     PX0623-067
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            9 out of 10 German WhatsApp Messenger users are daily users                                                                                                                       Note: The figures represent how often the ones
                                                                                                                                                                                              using the following social media are using the
                                                                                                                                                                                              social media


            [ How often do Germans use the following social media? ]




                               72                                                                                                                                              17                                            8                              2 1      0
                  WhatsApp
                  Messenger
                               43                                                                                    26                                              18                                                 6                     4             2 2      1
                  Facebook
                               43                                                                                    23                                       19                                                6                     5                2     3       1
                  Instagram
                               26                                               28                                                 19                                               11                      7                         5                 5            0
                  Snapchat
                               24                                           6             16                              14                        26                                                                  4             10                             0
                  Reddit
                               20                                      19                                  31                                                             12                           13                                           3            2   1
                  YouTube
                               16                         22                                              24                                             12                              12                         6                     8                          1
                  Twitter
                               8                 21                                  32                                                              13                                  14                                  6                     5                 1
                  Pinterest
                               5           27                                                  14                             11          11                        13                            16                                                                 4
                  Tumblr
                               5           14                      21                                           26                                             13                             9                                  10                                  1
                  LinkedIn
                               3     13                   18                                        25                                         15                                    12                                 12                                           2
                  Xing

                  Periscope    N/A




                                          Several times                                   Several times                                 Several times
                                                               Daily                                                 Weekly                                          Monthly                           Less often                                   Don’t know
                                          a day                                           a week                                        a month




68   AudienceProject Insights 2019



                                                                                                                                                                                                                                                  PX0623-068
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8 out of 10 Danish Facebook users are daily users                                                                                                                                           Note: The figures represent how often the ones
                                                                                                                                                                                            using the following social media are using the
                                                                                                                                                                                            social media


[ How often do Danes use the following social media? ]




                 50                                                                                                      30                                                                 10                          6                   3           2     0
     Facebook
                 44                                                                                           28                                                        13                                    7             4                   3           1 1
     Instagram
                 32                                                              25                                                     19                                        13                                6                   2       3             2
     Snapchat
                 31                                                             16                                  15                             19                                            7                  9                               3         0
     Reddit
                 19                                     15                            21                                          19                                         9                            9                         5                         2
     Twitter
                 17                                19                                          25                                                  15                                  12                           8                               2         1
     YouTube
                 13                         14                       12                             15                        9                        13                         23                                                                          1
     WhatsApp
     Messenger
                 5           16                                 21                                       24                                                 15                                       10                         8                             0
     LinkedIn
                 4     16                                  25                                                  16                                 13                         18                                             6                                 3
     Pinterest
                 3     26                                                 10                        19                                       10                  16                                       16                                                  0
     Tumblr

     Periscope   N/A




                            Several times                                      Several times                                           Several times
                                                   Daily                                                  Weekly                                                  Monthly                            Less often                             Don’t know
                            a day                                              a week                                                  a month




                                                                                                                                                                                                                  AudienceProject Insights 2019                         69



                                                                                                                                                                                                                                                                  PX0623-069
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            8 out of 10 Swedish Facebook users are daily users                                                                                                                    Note: The figures represent how often the ones
                                                                                                                                                                                  using the following social media are using the
                                                                                                                                                                                  social media


            [ How often do Swedes use the following social media? ]




                               62                                                                                                                 18                               11                                4                   2     1 1    1
                  Facebook
                               61                                                                                                            16                             12                               4                   3            2 1     1
                  Instagram
                               50                                                                                     12                          15                         10                          4               2           4                2
                  Snapchat
                               37                                                                19                               13                    9                    6                6                  3                                    6
                  Twitter
                               34                                                           15                   24                                           12                              8                          4                3           2
                  YouTube
                               32                                                      21                                   22                                         11                            6                       5                 1      1
                  Reddit
                               31                                                  11                 21                                           9              10                     6                   9                                        2
                  WhatsApp
                  Messenger
                               23                                      8          17                             6           29                                                           2   14                                                      2
                  Tumblr
                               14                         12                26                                         17                              13                               10                               7                            2
                  Pinterest
                               11                    14                    22                                   21                                     14                                8                       9                                    1
                  LinkedIn

                  Periscope    N/A




                                     Several times                               Several times                                    Several times
                                                               Daily                                   Weekly                                           Monthly                         Less often                                       Don’t know
                                     a day                                       a week                                           a month




70   AudienceProject Insights 2019



                                                                                                                                                                                                                             PX0623-070
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8 out of 10 Norwegian Facebook users are daily users                                                                                                                   Note: The figures represent how often the ones
                                                                                                                                                                       using the following social media are using the
                                                                                                                                                                       social media


[ How often do Norwegians use the following social media? ]




                 54                                                                                             28                                                              12                                3       1 1 1 0
     Facebook
                 53                                                                                            22                                            15                                       3           3          11      1
     Snapchat
                 44                                                                         26                                                18                                         6                    3          2       1   1
     Instagram
                 28                                        21                                         24                                                10                      6            5                4                      3
     Reddit
                 21                                   18                              31                                                        12                              11                            4              2       1
     YouTube
                 21                                   16                         21                                       13                       10                       6            12                                          2
     Twitter
                 16                         17                         24                                                 13                    15                                   5            10                                 0
     WhatsApp
     Messenger
                 14                    16                       23                                         5          7              9                  21                                                                           7
     Tumblr
                 6          14                       28                                              16                                  15                            12                                 8                          1
     Pinterest
                 4     13                    23                                        21                                       17                                11                             10                                  1
     LinkedIn

     Periscope   N/A




                       Several times                             Several times                                       Several times
                                             Daily                                          Weekly                                            Monthly                       Less often                                Don’t know
                       a day                                     a week                                              a month




                                                                                                                                                                                         AudienceProject Insights 2019                         71



                                                                                                                                                                                                                                         PX0623-071
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            8 out of 10 Finnish WhatsApp Messenger users are daily users                                                                                                  Note: The figures represent how often the ones
                                                                                                                                                                          using the following social media are using the
                                                                                                                                                                          social media


            [ How often do Finns use the following social media? ]




                               70                                                                                                                           11                 12                            3        2       11 1
                  WhatsApp
                  Messenger
                               63                                                                                                             19                                10                       5            1 1 10
                  Facebook
                               55                                                                                        17                                      14                          8               3        2       2   0
                  Instagram
                               54                                                                                   16                                     12                   9                    4            2       4       0
                  Snapchat
                               32                                         11                           19                                 9                      13                      9                    6                   0
                  Reddit
                               26                                  14                        28                                                      15                              9                   5            3           0
                  YouTube
                               25                                 18                                   19                                 16                          8                          8            6                   0
                  Twitter
                               19                       16                        3     14                      3         16                                     27                                                               2
                  Tumblr
                               7           14                23                                         20                                     17                            11                          7                        1
                  Pinterest
                               7          14                 21                                   25                                                13                    12                             8                        0
                  LinkedIn

                  Periscope    N/A




                                     Several times                      Several times                                     Several times
                                                     Daily                                             Weekly                                             Monthly               Less often                        Don’t know
                                     a day                              a week                                            a month




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                                                                                                                                                                                                             PX0623-072
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            Up to half of Facebook users post content weekly                                                                     Note: The figures represent how many of the
                                                                                                                                 ones using the following social media that
                                                                                                                                 weekly post content on the social media


            [ How many people are weekly posting content on the following social media? ]




                           WhatsApp
                                        Snapchat   Facebook   Instagram   Twitter   Tumblr   Reddit   Pinterest   LinkedIn   YouTube        Periscope             Xing
                           Messenger


                 US           59%        48%        53%         36%        46%      39%      27%        24%        17%        16%              25%                 N/A



                 UK           72%        43%        42%         29%        37%      28%      16%        17%        10%         6%               N/A                N/A



              Germany         77%        54%        35%         29%        28%      19%      14%        15%        10%         9%               N/A               10%



              Denmark         28%        47%        16%         14%        10%       7%       3%        5%          3%         3%               N/A                N/A



               Sweden         43%        50%        27%         29%        18%      23%      13%        11%         9%        10%               N/A                N/A



               Norway         46%        68%        24%         18%        11%      30%      10%        10%         5%         4%               N/A                N/A



               Finland        83%        66%        30%         26%        24%      19%      12%        7%          6%         3%               N/A                N/A




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                                                                                                                                                            PX0623-074
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Up to one third of Facebook users claim to click on ads weekly                                                      Note: The figures represent how many of the
                                                                                                                    ones using the following social media that
                                                                                                                    weekly click on ads on the social media


[ How many people are weekly clicking on ads on the following social media? ]




                                                           WhatsApp
             Facebook   Instagram    YouTube    Snapchat               Pinterest   Reddit   Tumblr   Twitter   LinkedIn        Periscope             Xing
                                                           Messenger


    US         25%        21%         19%        19%         19%         13%       12%      19%       16%       12%               32%                 N/A



    UK         16%        14%          8%         9%          3%         6%         5%       4%       7%         6%                N/A                N/A



 Germany       35%        36%         21%        17%         24%         23%       14%       8%       15%        9%                N/A               11%



 Denmark       11%        13%          5%         5%          1%         3%         3%       3%       2%         2%                N/A                N/A



  Sweden       16%        15%          8%         5%          4%         6%         9%      13%       5%         6%                N/A                N/A



  Norway       18%        15%         10%        10%          5%         7%        10%       7%       6%         5%                N/A                N/A



  Finland      19%        18%          8%         8%          4%         3%         8%       5%       7%         5%                N/A                N/A




                                                                                                                                    AudienceProject Insights 2019       75



                                                                                                                                                                  PX0623-075
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            Purposes of using social media among Americans
            [ For what purposes do Americans use the following social media? ]




                                                                                                                                 WhatsApp
                                Facebook   Instagram   LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter               YouTube
                                                                                                                                 Messenger

             To keep contact
             with friends and    88%         67%        15%         6%          9%         5%       74%       12%       34%        82%         8%
                  family


              To strengthen
               professional      11%         13%        84%         5%          8%         8%        7%       12%       14%        13%         7%
                 network



               To get news       23%         15%        11%         36%         8%        43%       12%       17%       48%         7%        23%


             To follow brands
               / companies       17%         34%        20%         17%         32%       17%       10%       15%       33%         4%        18%


                  To get
              entertainment      33%         47%         3%         49%         49%       72%       42%       60%       48%        10%        82%



             Other purposes       6%         6%          6%         8%          40%       17%        6%       21%       12%         4%        13%




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                                                                                                                                                PX0623-076
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Purposes of using social media among Britons
[ For what purposes do Britons use the following social media? ]




                                                                                                                     WhatsApp
                   Facebook   Instagram    LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter               YouTube
                                                                                                                     Messenger

To keep contact
with friends and    90%         68%          5%         N/A         4%         3%       82%       10%       28%        95%         4%
     family


 To strengthen
  professional       8%         9%          88%         N/A         8%         2%        1%        1%       17%         6%         2%
    network



  To get news       25%         12%         13%         N/A         7%        48%       10%        7%       55%         4%        15%


To follow brands
  / companies       15%         40%         16%         N/A         28%        9%        6%        3%       32%         1%         9%


     To get
 entertainment      33%         46%          1%         N/A         41%       79%       37%       82%       41%         5%        87%



Other purposes       6%         9%           8%         N/A         41%       10%        6%       14%       12%         3%        12%




                                                                                                                                   AudienceProject Insights 2019   77



                                                                                                                                                            PX0623-077
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            Purposes of using social media among Germans
            [ For what purposes do Germans use the following social media? ]




                                                                                                                                 WhatsApp
                                Facebook   Instagram   LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter               YouTube      Xing
                                                                                                                                 Messenger

             To keep contact
             with friends and    74%         56%        11%         N/A         6%         3%       76%        8%       17%        94%         5%         10%
                  family


              To strengthen
               professional       9%         15%        69%         N/A         7%         3%        6%        4%       15%         7%         4%         78%
                 network



               To get news       34%         23%        17%         N/A         12%       36%       23%        5%       51%        28%        16%         16%


             To follow brands
               / companies       17%         31%        26%         N/A         15%       18%        8%       10%       24%         2%        10%         21%


                  To get
              entertainment      42%         58%         4%         N/A         63%       77%       44%       76%       41%        14%        83%         5%



             Other purposes       7%         9%          9%         N/A         28%       10%       10%       23%       12%         3%        12%         8%




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                                                                                                                                                       PX0623-078
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Purposes of using social media among Danes
[ For what purposes do Danes use the following social media? ]




                                                                                                                     WhatsApp
                   Facebook   Instagram    LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter               YouTube
                                                                                                                     Messenger

To keep contact
with friends and    86%         58%          6%         N/A         1%         0%       82%        0%       7%         85%         2%
     family


 To strengthen
  professional      12%         9%          90%         N/A         1%         0%        1%        0%       12%        16%         1%
    network



  To get news       27%         11%         16%         N/A         8%        62%        1%        0%       55%         0%        11%


To follow brands
  / companies       20%         42%         33%         N/A         16%       10%        2%       10%       31%         0%        11%


     To get
 entertainment      43%         58%          3%         N/A         72%       87%       41%       87%       47%         4%        90%



Other purposes       9%         7%           5%         N/A         29%       14%        3%       20%       14%         9%        14%




                                                                                                                                   AudienceProject Insights 2019   79



                                                                                                                                                            PX0623-079
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            Purposes of using social media among Swedes
            [ For what purposes do Swedes use the following social media? ]




                                                                                                                                 WhatsApp
                                Facebook   Instagram   LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter               YouTube
                                                                                                                                 Messenger

             To keep contact
             with friends and    85%         73%         7%         N/A         2%         8%       89%       10%       13%        91%         4%
                  family


              To strengthen
               professional      10%         9%         82%         N/A         7%        10%        1%        9%       16%         4%         3%
                 network



               To get news       23%         15%        19%         N/A         16%       38%        2%       19%       60%         3%        18%


             To follow brands
               / companies       13%         26%        30%         N/A         16%       12%        4%       12%       30%         3%        12%


                  To get
              entertainment      35%         51%         4%         N/A         71%       82%       34%       77%       52%         5%        90%



             Other purposes      10%         10%         9%         N/A         27%       29%        5%       33%       16%         6%        10%




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                                                                                                                                                PX0623-080
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Purposes of using social media among Norwegians
[ For what purposes do Norwegians use the following social media? ]




                                                                                                                     WhatsApp
                   Facebook   Instagram    LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter               YouTube
                                                                                                                     Messenger

To keep contact
with friends and    80%         54%          8%         N/A         1%         6%       89%        7%       9%         86%         2%
     family


 To strengthen
  professional      23%         26%         56%         N/A         4%         3%       18%        8%       13%         6%         3%
    network



  To get news       18%         7%          12%         N/A         20%       36%        4%        9%       45%         2%        13%


To follow brands
  / companies       16%         30%         35%         N/A         24%       10%        5%        1%       27%         1%         8%


     To get
 entertainment      43%         59%          7%         N/A         69%       80%       33%       65%       48%         4%        91%



Other purposes       9%         7%          21%         N/A         21%       12%        2%       24%       12%         8%         9%




                                                                                                                                   AudienceProject Insights 2019   81



                                                                                                                                                            PX0623-081
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            Purposes of using social media among Finns
            [ For what purposes do Finns use the following social media? ]




                                                                                                                                 WhatsApp
                                Facebook   Instagram   LinkedIn   Periscope   Pinterest   Reddit   Snapchat   Tumblr   Twitter               YouTube
                                                                                                                                 Messenger

             To keep contact
             with friends and    80%         61%         6%         N/A         3%         3%       85%        8%       13%        97%         3%
                  family


              To strengthen
               professional      16%         11%        87%         N/A         7%         7%        2%        1%       20%        10%         5%
                 network



               To get news       24%         10%        15%         N/A         0%        43%        1%        9%       48%         2%        11%


             To follow brands
               / companies       27%         40%        29%         N/A         20%        8%        5%       13%       35%         1%        12%


                  To get
              entertainment      43%         62%         3%         N/A         74%       84%       43%       76%       48%         9%        92%



             Other purposes       7%         6%          5%         N/A         22%       15%        6%       21%       9%          2%         7%




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                                                                                                                                                PX0623-082
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                                                                       AudienceProject Insights 2019   83




                                                                                                   PX0623-083
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            Up to half consider social media to be important to them
            [ How important are social media to people? ]




                             9%                12%                     35%                                         27%                                   15%                1%
            US
                             9%                12%                    33%                                      32%                                         13%              0%
            UK
                             4%      11%                   37%                                               32%                                         15%                0%
            Germany
                             11%                     17%                         42%                                                  21%                         8%        1%
            Denmark
                             11%                     20%                           34%                                          24%                              9%         2%
            Sweden
                             8%            15%                          41%                                                 25%                                12%          0%
            Norway
                             6%        11%                  31%                                   36%                                                    15%                1%
            Finland


                                     Not important                                                                       Very
                                                                 Not important         Average   Important                                  Don’t know
                                     at all                                                                              important




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                                                                                                                                                                      PX0623-084
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Only a minority believes that social media has a negative impact on their lives
[ What impact do people think social media have on their life? ]




              9%            25%                                   46%                                            12%                3%        5%
US
              6%       28%                                        46%                                            13%                 4%       3%
UK
              4%    26%                                    54%                                                         9%            1%       6%
Germany
              3% 22%                                51%                                                  10%                2%              12%
Denmark
              3% 22%                                49%                                                14%                    2%            10%
Sweden
              3% 23%                                 57%                                                               8%          1%         7%
Norway
              5%     34%                                                   48%                                              6%      1%        6%
Finland


                     Very                                                                   Very         Don’t
                                         Positive                Average         Negative
                     positive                                                               negative     know




                                                                                                                            AudienceProject Insights 2019   85



                                                                                                                                                     PX0623-085
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                                                                                                            PX0623-086
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                                              Methodology


                                              The study is a part of AudienceProject Insights 2019. Data is collected through
                                              online surveys done in Q3 2019. The respondents have been selected from our
                                              Nordic, German, UK and US panels consisting of more than 1.5 million panelists
                                              and weighed to achieve representativity on the more than 13.000 respondents
                                              who completed the survey.




ABOUT THE
  STUDY
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                                                                                      and show advertisers the true value of
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                                                                                                                            PX0623-087
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                                 Analytics And Data Science
                   The byNext    Great      Digital      Advantage
                          Vijay Govindarajan and Venkat Venkatraman
                                From the Magazine (May–June 2022)




Artem Matyushkin

      Summary. We’ve all seen the signs in front of McDonald’s announcing “Over X
      Billion Served” and have watched the number rise over the years. But tracking how
      many burgers are sold every day, month, or year is a relic of the past. Today ask: Do
      we know where each consumer buys her burgers? At what time? What does she



                                                                                              PX0630-001
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     Of the 4,000 products Amazon sells every minute, approximately
     50% are presented to customers by its personalized
     recommendation engine. When you visit the site, its algorithms
     select an assortment of products from about 353 million items and
     arrange them for you according to what they predict you will want
     at that precise moment. These recommendations are powered by
     Amazon’s ever-evolving purchase graph, which is a digital
     representation of real-world “entities”—anything about which it
     stores information, such as customers, products, purchases,
     events, and places—and the relationships and interrelationships
     among them. Amazon’s purchase graph connects purchase
     history with browsing data on the site, viewing data on Prime
     Video, listening data on Amazon Music, and data from Alexa-
     enabled devices. Its algorithms use collaborative filtering—
     incorporating factors such as diversity (how dissimilar the
     recommended items are); serendipity (how surprising they are);
     and novelty (how new they are)—to generate some of the most
     sophisticated recommendations on the planet. Thanks to its rich
     data and industry-leading personalization, Amazon now owns
     40% of the U.S. e-commerce market; its closest rival, Walmart, has
     a market share of only 7%.


     ABusiness
       version Review.
               of this article appeared in the May–June 2022 issue of Harvard



     Vijay Govindarajan is the Coxe Distinguished
     Professor at Dartmouth College’s Tuck School
     of Business, an executive fellow at Harvard
     Business School, and faculty partner at the
     Silicon Valley incubator Mach 49. He is a New
     York Times and Wall Street Journal bestselling
     author. His latest book is Fusion Strategy: How
     Real-Time Data and AI Will Power the
     Industrial Future . His Harvard Business
     Review articles “Engineering Reverse
     Innovations” and “Stop the Innovation Wars”
     won McKinsey Awards for best article




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               published in HBR. His HBR articles “How GE Is
               Disrupting Itself” and “The CEO’s Role in
               Business Model Reinvention” are HBR all-time
               top-50 bestsellers. Follow him on LinkedIn.

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               Venkat Venkatraman is the David J. McGrath
               Professor at Boston University’s Questrom
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               both the information systems and strategy and
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               digital strategies. His latest book is Fusion
               Strategy: How Real-Time Data and AI Will
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